                                     Case: 24-3296, 12/20/2024, DktEntry: 7.1, Page 1 of 177

                         UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                             CIVIL APPEAL PRE-ARGUMENT STATEMENT (FORM C)

        1. SEE NOTICE ON REVERSE                           2 . PLEASE TYPE OR PRINT                    3. STAPLE ALL ADDITIONAL PAGES

 Case Caption:                                                           District Court or Agency:                 Judge:

 In re: Oral Phenylephrine Marketing and Sales                           Eastern District of New York Brian M. Cogan
 Practices Litigation
                                                                         Date the Order or Judgment Appealed       District Court Docket No.:
                                                                         from was Entered on the Docket:
                                                                                                                  1 :23-Md-3089
                                                                         1 1/12/2024
                                                                         Date the Notice of Appeal was Filed:      Is this a Cross Appeal?

                                                                         12/9/2024                               ljlyes            J No

 Attorney(s) for        Counsel's Name:              Address:                  Telephone No.:                   Fax No.:                  E-mail:
 Appellant(s):
                        Jonathan D. Selbin
»/ laintiff             250 Hudson Street, 8th Floor, New York, NY 10013
:Defendant              Telephone:(212) 355-9500, Fax: (212) 355-9592
                        jselbin@lchb.com
 Attorney(s) for        Counsel's Name:              Address:                  Telephone No.:                   Fax No.:                  E-mail:
 Appellee(s):
                        Andrew Soukup
:Plaintiff              850 Tenth St. NW, Washington, DC 20001
 »/ I efendant          Telephone: (202) 662-5066, Fax: (202) 778-5066
                        asoukup@cov.com

 Has Transcript
 Been Prepared?
                        Approx. Number of
                        Transcript
                                                 Number of
                                                 Exhibits
                                                                      Has this matter been before this Circuit previously?   E   Yes         »/ No

                        Pages :                  Appended to          If Yes, provide the following:
                                                 Transcript:
 Yes
                        60                                            Case Name:
                                                None
                                                                      2d Cir. Docket No.:               Reporter Citation: (i.e., F.3d or Fed. App.)


   ADDENDUM "A v: COUNSEL MUST ATTACH TO THIS FORM: (1) A BRIEF, BUT NOT PERFUNCTORY, DESCRIPTION OF THE
    NATURE OF THE ACTION; (2) THE RESULT BELOW; (3) A COPY OF THE NOTICE OF APPEAL AND A CURRENT COPY OF
   THE LOWER COURT DOCKET SHEET; AND (4) A COPY OF ALL RELEVANT OPINIONS/ORDERS FORMING THE BASIS FOR
           THIS APPEAL, INCLUDING TRANSCRIPTS OF ORDERS ISSUED FROM THE BENCH OR IN CHAMBERS.

  ADDENDUM 44899: COUNSEL MUST ATTACH TO THIS FORM A LIST OF THE ISSUES PROPOSED TO BE RAISED ON APPEAL,
                   AS WELL AS THE APPLICABLE APPELLATE STANDARD OF REVIEW FOR EACH PROPOSED ISSUE.

                                                               PART A: JURISDICTION

                     1 . Federal Jurisdiction                                               2. Appellate Jurisdiction

  [I     U.S. a party                »/ Diversity                    J    Final Decision                E     Order Certified by District Judge (i.e.,
                                                                                                              Fed . R. Civ. P. 54(b))
   ~/    Federal question
         (U.S. not a party)
                                   III Other (specify) :            III Appealable
                                                                        Interlocutory Decision
                                                                                    As of Right         III Other (specify) :
                              IMPORTANT. COMPLETE AND SIGN REVERSE SIDE OF THIS FORM.

FORM C (Rev. October 2016)
                                                Case: 24-3296, 12/20/2024, DktEntry: 7.1, Page 2 of 177

                                              PART B: DISTRICT COURT DISPOSITION (Check as many as aPPlY)

 1. Stage of Proceedings                                    2. Type of Judgment/Order Appealed                                               3. Relief

     Pre-trial                     la Default judgment                      Dismissal/otherjurisdiction                 J Damages:                          III Injunctions:
     During trial
     After trial
                                   III Dismissal/FRCP    12(b)(1)
                                       lack of subj ect matter uris.
                                                                           Dismissal/merit
                                                                           Judgment / Decision of the Court                  Sought: SB >$5,000,000               Preliminary
                                     »/ Dismissal/FRCP 12(b)(6)            Summary judgment                                  Granted: $                           Permanent
                                                                         _


                                   [I   failure to state a claim           Declaratoryjudgment
                                        Dismissal/28 U.S.C. § l9l5(e)(2) _ Jury verdict
                                        frivolous complaint              _ Judgment NOV
                                                                                                                             Denied: $                            Denied


                                   III  Dismissal/28 U.S.C. § l9l5(e)(2) _
                                        other dismissal
                                                                           Directed verdict
                                                                           Other (specify):



                                                                PART C: NATURE OF SUIT (Check as many as apply)

 1. Federal Statutes                                                                          2. Torts                   3. Contracts                 4. Prisoner Petitions

                                                                                            IIIAdmiralty/               IIIAdmiralty/
8    Antitrust
     Bankruptcy
                           Communications
                           Consumer Protection
                                                            4
                                                               Freedom of Information Act
                                                               Immigration                     Maritime
                                                                                            IIIAssault
                                                                                                                           Maritime
                                                                                                                                                          C ivil Rights
                                                                                                                                                          Habeas Corpus


 I
     Banks/Banking
     Civil Rights
     Commerce
                           4
                           Copyright U Patent
                           Trademark
                          SElection
                                                               Labor
                                                                OSHA
                                                                Securities                   CI FELA
                                                                                                       /
                                                                                               Defamation
                                                                                                                           Arbitration
                                                                                                                        8 Commercial
                                                                                                                        IIIEmployment
                                                                                                                                                          Mandamus
                                                                                                                                                          Parole
                                                                                                                                                          Vacate Sentence
     Energy                Soc Security                       I Tax                          I I I Products Liability      Insurance                      Other
    1Commodities ._. Environmental
    1Other (specify): RICO
                                                                                             IIIOther (Specify):        8Instruments
                                                                                                                           Negotiable

                                                                                                                        [IJ Other Specify

 5. Other                                                           6. General                                           7. Will appeal raise constitutional issue(s)?
     Hague Int'l Child Custody Cony.
      Forfeiture/Penalty
                                                                        [Arbitration
                                                                        I Attorney Disqualification
                                                                                                                          III  Yes             »/ No

      Real Property                                                        Class Action                                     Will appeal raise a matter of first
      Treaty (specify):                                                  l Counsel Fees                                     impression?
      Other (specify): Consumer Fraud I False Advertising                  Shareholder Derivative
                                                                         l Transfer                                       [I    Yes             »/ No



 1. Is any matter relative to this appeal still pending below? CIYes, specify:                                                                         »/ No

 2. To your knowledge, is there any case presently pending or about to be brought before this Court or another court or administrative agency
      which:
         (A)         Arises from substantially the same case or controversy as this appeal?                               IllYes                        /No

            (B)      Involves an issue that is substantially similar or related to an issue in this appeal?               Illyes                        /No
 If yes, state whether D "A," or O "B," or O both are applicable, and provide in the spaces below the following information on the other action(s):

 Case Name:                                                       Docket No.                 Citation :                               Court or Agency:


 Name of Appellant:


 Date: 12/20/2024                                                   Signature of Counsel of Record: /s Jonathan D. Selbin



                                                                          NOTICE TO COUNSEL
Once you have filed your Notice of Appeal with the District Court or the Tax Court, you have only 14 days in which to complete the following
important steps:
l. Complete this Civil Appeal Pre-Argument Statement (Form C), serve it upon all parties, and file it with the Clerk of the Second Circuit in accordance
with LR 25. l .
2. File the Court of Appeals Transcript Information/Civil Appeal Form (Form D) with the Clerk of the Second Circuit in accordance with LR 25. l .
3. Pay the$505 docketing fee to the United States District Court or the $500 docketing fee to the United States Tax Court unless you are authorized to
prosecute the appeal without payment.

             PLEASE NOTE: IF YOU DO NOT COMPLY WITH THESE REQUIREMENTS WITHIN 14 DAYS, YOUR APPEAL WILL BE
             DISMISSED. SEE LOCAL RULE 12.1.

FORM C (Rev. December 2016)
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                                FORM c, ADDENDUM A

1.          A brief description of the action.

            This appeal is taken from actions centralized for pretrial purposes

under 28 U.S.C. § 1407 (the individual actions involved are identified in

Exhibit A to the Notice of Appeal). Plaintiffs are consumers who purchased

over-the-counter cough and cold medicines containing the drug

phenylephrine. Plaintiffs allege that Defendants, manufacturers and retailers

of phenylephrine products, knew that phenylephrine was ineffective as a

nasal and sinus decongestant but produced, marketed, and sold products

containing phenylephrine anyway. Plaintiffs assert claims under state

consumer protection, false advertising, warranty, and unjust enrichment

laws, as well as a federal claim under the Racketeer Influenced and Corrupt

Organizations Act, 18 U.S.C. § 1962 et seq. (RICO).

2.          The result below.

            By agreement of the parties, Plaintiffs pleaded a "bellwether"

complaint asserting claims under RICO and New York law, with the

understanding that the District Court's resolution of Defendants' preemption

defense on that pleading would govern all other state-law claims in the

multidistrict litigation. The District Court granted Defendants' joint motion

to dismiss for failure to state a claim, determining that the state-law claims



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were preempted by the FDA's approval of phenylephrine as a "safe and

effective" nasal decongestant, and that Plaintiffs, as indirect purchasers,

lacked standing to bring RICO claims arising from the purchase of

phenylephrine products.




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Case: 24-3296, 12/20/2024, DktEntry: 7.1, Page 5 of 177




    NOTICE OF APPEAL
    AND DOCKET SHEET
                 Case: 24-3296, 12/20/2024, DktEntry: 7.1, Page 6 of 177




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK



IN RE: ORAL PHENYLEPHRINE                              no. 1:23-MD-3089-BMC
MARKETING AND SALES PRACTICES
LITIGATION                                             THIS DOCUMENT RELATES TO:

                                                             THE CASES IDENTIFIED IN
                                                             EXHIBIT A


                                     NOTICE OF APPEAL

       Notice is hereby given that the Plaintiffs Listed on Exhibit A, on behalf of themselves

and all others similarly situated, appeal to the United States Court of Appeals fer the Second

Circuit from the final judgment entered in this action and in the actions identified on Exhibit A,

on November 12, 2024 (Exhibit B) and from the district court's Memorandum Decision and

Order entered in this action on October 29, 2024 (Exhibit C).
                 Case: 24-3296, 12/20/2024, DktEntry: 7.1, Page 7 of 177




Dated: December 9, 2024                          Respectfully submitted,

  Bryan F. Aylstock                              /s/ Jonathan D. Selbin
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                                           _2_
            Case: 24-3296, 12/20/2024, DktEntry: 7.1, Page 8 of 177




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                                    _3_
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                                      _4_
Case: 24-3296, 12/20/2024, DktEntry: 7.1, Page 10 of 177




      EXHIBIT A
            Case: 24-3296, 12/20/2024, DktEntry: 7.1, Page 11 of 177




                          PLAINTIFFS APPEALING

       E.D.N.Y. CASE NUMBER                             PLAINTIFF(S)
1:23-md-03089-BMC                       Anntwanette Jones, Daniel Calzado, Keith
                                        Mortuiccio, and Pedro Urena
2:23-cv-06870-BMC                       Robyn Cronin
2:23-cv-07497-BMC                       Timothy Butler
1:23-cv-07311-BMC                       John Coyle
1:23-cv-06936-BMC                       Archanatep Boonparn
1:23-cv-09062-BMC                       Kaycie Coppock
1:23-cv-07395-BMC                       Chioma Ozuzu
1:23-cv-09057-BMC                       Kenneth Levi Pack and Min Ji Jung
1:23-cv-09059-BMC                       Steve Audelo
1:23-cv-09060-BMC                       Natalie Juneau
1:23-cv-09061-BMC                       Robert Fichera
1:23-cv-09065-BMC                       Kamonica McWhite
1:23-cv-09063-BMC                       Erin Barton, Kimberly Buscaglia, Francis W.
                                        Catanese, and Samuel Gallo
1:23-cv-09058-BMC                       Kristin Depaola
1:23-cv-09284-BMC                       Michael Walker
1:23-cv-09287-BMC                       Cathy Kleiman
1:23-cv-09288-BMC                       Richard Scoffier
1:23-cv-09289-BMC                       Annette Striegel
1:23-cv-09290-BMC                       Martha A. Page
1:23-cv-09317-BMC                       Emily Cohen
1:23-cv-09297-BMC                       Janet Jones
1:23-cv-09318-BMC                       Cathy Kleiman
1:23-cv-09279-BMC                       Lateef Murdock, Gwen Lewi, Marcel Perez
                                        Pirio, Layne Barter, Jose Cortez Hernandez,
                                        Robert Lundin, Jaedon Daniels, Mychael
                                        Willon, Amy Weinberg, Dimitri Lamdon,
                                        Elie El Rai, Tatyana Dekhtyar, Olivia
                                        Rodesta, Lauren Debeliso, and Lorette
                                        Kenney
1:23-cv-09282-BMC                       Daniel Heaghney
1:23-cv-09310-BMC                       Amanda Thoms and Scott Collier
1:23-cv-09283-BMC                       Andrew son
1:23-cv-09253-BMC                       John Jeffrey Bader, Brian Lloyd Fireng,
                                        Carrie Diane Huff, Joseph Samuel Sorge,
                                        Joshua Edward Sorge, and Christine Ann
                                        Waters
1:23-cv-09263-BMC                       Eduardo Flores
1:23-cv-09262-BMC                       Christopher McPhee and Justin Vorise
1:23-cv-09285-BMC                       Krista Wright
1:23-cv-09261-BMC                       Jordan Nelson and Regina Peralta
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1:23-cv-09292-BMC                         Randall Sygal, Regina Brookshier, Erzen
                                          Krica, Allison Sammarco, and Hollie Verdi
1:23-cv-09306-BMC                         Tiffany Travis
1:23-cv-09291-BMC                         Millard Adkins, Rosalyn Anderson, Eli
                                          Erlick, Donna Bailey, Rosalie Jackson, Recoa
                                          Russell, Frank Anderson, and Tina Haluszka
1:23-cv-09305-BMC                         Cathy Suleiman
1:23-cv-09278-BMC                         Heather Fong
1:23-cv-09313-BMC                         Tatiana Benjamin, Christine Contreras,
                                          Natasha Freeman, Robin Glauser, and
                                          Anthony Rogers
1:23-cv-09255-BMC                         Jamieka Holmes
1:23-cv-09256-BMC                         Mari Jones
1:23-cv-09312-BMC                         Michele Kasparie and Kimberly James
1:23-cv-09260-BMC                         Greg Enriquez
1:23-cv-09311-BMC                         Rachel Parker
1:23-cv-09265-BMC                         Darrell Wayne Grimsley, Jr.
1:23-cv-09281-BMC                         Krystal Rampalli
1:23-cv-09266-BMC                         Cody Morgan
1:23-cv-09275-BMC                         Anthony DeRosa
1:23-cv-09276-BMC                         Daryl Means
1:23-cv-09286-BMC                         Jacob Reinkraut
1:23-cv-09294-BMC                         Michael Lee, Toni Heuchan, Jonathan
                                          Brandman, Michelle Garza, and Cece
                                          Davenport
2:23-cv-06825-BMC                         Sandra Yousefzadeh
1:23-cv-09295-BMC                         Claudette Sanes, Daniel Flick, and Janis
                                          Zimmerman
1:24-cv-03136-BMC                         Rose Riccio
1:23-cv-09296-BMC                         Andrea Wilson
1:23-cv-09304-BMC                         Richard Chavez
1:23-cv-09314-BMC                         Kathleen Emmons and Nathan Jackson
1:23-cv-09315-BMC                         Rosalyn Anderson, Eli Erlick, Donna Bailey,
                                          Rosalie Jackson, Frank Anderson, and Tina
                                          Haluszka
1:23-cv-09274-BMC                         James Hsieh, Dominic Rio, Mohammad
                                          Abdelkarim, and Steven Checchia
1:23-cv-09316-BMC                         Tamula Chamberlain
1:23-cv-09280-BMC                         Stacy Rankin
1:23-cv-09277-BMC                         Harold Nyanjom
1:23-cv-09272-BMC                         Hannah De Priest, Frizell Johnson, and Ruben
                                          Varela
1:23-cv-09258-BMC                         Joy Taylor and Anthony Coleman
1:23-cv-09257-BMC                         Natasha Hernandez
1:23-cv-09320-BMC                         Jessica Thompson



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1:23-cv-09259-BMC                          Emily Hansen, Summer Milous, and Andrew
                                           Gutierrez
1:23-cv-09308-BMC                          Rebecca Lynn Reyes
1:23-cv-09309-BMC                          Sierra Vent
1:23-cv-09267-BMC                          Hector Valdes
1:23-cv-09268-BMC                          Joanne Silva
1:23-cv-09270-BMC                          Shelby Noviskis
1:23-cv-09319-BMC                          James Carrigan
1:23-cv-09303-BMC                          Shawn L. Thomas and Charles Geoffrey
                                           Woods
1:23-cv-09302-BMC                          John Jeffrey Ward, Ruta Taito, and Dr. Karen
                                           Schwartz
1:23-cv-09301-BMC                          Thomas Lewis and Dena Fichot
1:23-cv-09300-BMC                          Pamela Joyner
1:23-cv-09299-BMC                          Kristin Lawrence
1:23-cv-09298-BMC                          Sharon Rourk
1:24-cv-00041 -BMC                         Izabel Pena-Venegas and Beverly Ward
1:24-cv-00043-BMC                          Abby Jerkins, Bill Jerkins, and Archi Hipkins
1:23-cv-09264-BMC                          Krystal Rampalli
1:24-cv-00044-BMC                          Christine Harrison
1:24-cv-00230-BMC                          Viva Cohen and Joey Cohen
1:24-cv-00229-BMC                          Krystal Rampalli
1:24-cv-00040-BMC                          William Bryan, Jack Hinsberger, and Nancy
                                           Welharticky
1:24-cv-00123-BMC                          Robert Housman
1:24-cv-00124-BMC                          Jay Valinsky
1:24-cv-00269-BMC                          Rethea Morris and Robert Haid
1:24-cv-01102-BMC                          Michael Folks and Sharon Manier
1:24-cv-01099-BMC                          Jay Valinsky
1:24-cv-01105-BMC                          Stan Szrajer
1:24-cv-01100-BMC                          Achorea Tisdale
1:24-cv-01101-BMC                          Marisol Scharon
1:24-cv-01104-BMC                          Haley Hadden and Bonnie Van Noy
1:24-cv-02272-BMC                          John Boswell
1:24-cv-02739-BMC                          Mohamad Tlaib
1:24-cv-02748-BMC                          Donald Krist
1:24-cv-02787-BMC                          Tina Tuominen
1:24-cv-02795-BMC                          Rose Riccio, Paul Mateer, and William
                                           Mitchell
1:24-cv-02890-BMC                          Bethany Childers




                                     _3_
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                                   Case: 24-3296.             DktEntry: 7.1, Page 14 of 177
12/20/24, 11 :15 AM                                        Eastern District of New York - IVE Database 1.8 (Revision 1.8.1 )

                                                                                                                               APPEAL,MDL3089

                                                U.S. District Court
                                      Eastern District of New York (Brooklyn)
                                 CIVIL DOCKET FOR CASE #z 1:23-md-03089-BMC


  In Re: Oral Phenylephrine Marketing and Sales Practices Litigation Date Filed: 12/06/2023
  Assigned to: Judge Brian M. Cogan                                  Date Terminated: 11/12/2024
  Cause: 28: 1332 Diversity-Fraud                                    Jury Demand: Plaintiff
                                                                     Nature of Suit: 370 Fraud or Truth-In-
                                                                     Lending
                                                                     Jurisdiction: Diversity
  In Re
  In Re: Oral Phenylephrine Marketing
  and Sales Practices Litigation
  Plaintiff
  Sandra Yousefzadeh                                                    represented by Andrew Kaufman
                                                                                       Lieff Cabraser Heimann & Bernstein, LLP
                                                                                       Tennessee
                                                                                       222 2nd Avenue South
                                                                                       Suite 1640
                                                                                       Nashville, TN 37201
                                                                                       615-313-9000
                                                                                       Email: akaufman @ lchb .com
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

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                                                                                              Lieff Cabraser Heimann & Bernstein, LLP
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                                                                                              Fax: 404-537-3320
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                                                                                              DKAPLAN@KAPLANGORE.COM
                                                                                              LEAD ATTORNEY
                                                                                              ATTORNEY TO 8E NOTICED

https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?967724885477506-L_1 _1 -1                                                                 1/139
                                   Case: 24-3296.
                                   Case: 24-3296, 12/20/2024,
                                                  12/20/2024, DktEntr¥:
                                                              DktEntry: 7.1,
                                                                        7.1, Page
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12/20/24, 11 :15 AM                                        Eastern District of New York - IVE Database 1.8 (Revision 1.8.1 )
                                                                                              David S. Stellings
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                                                                                              Email: dstellings @1chb.com
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                                                                                              ATTORNEY TO BE NOTICED

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  Plaintiff
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  Plaintiff
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  Plaintiff
  Cathy Kleiman                                                       represented by Paul Doolittle
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  Plaintiff
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  Plaintiff
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  Plaintiff
  Marcel Perez Pirio                                                    represented by Reagan Charleston Thomas
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  Plaintiff
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  Plaintiff
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  Plaintiff
  Jaedon Daniels                                                      represented by Reagan Charleston Thomas
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  Plaintiff
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                                                                                              ATTORNEY TO 8E NOTICED

                                                                                              Zarrina Ozari
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

  Plaintiff
  Dimitri Lamdon                                                        represented by Reagan Charleston Thomas
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
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                                                                                              Shireen M. Clarkson
                                                                                              (See above for address)
                                                                                              LEAD ATTORNEY
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                                                                                              Glenn Danas , I
                                                                                              (See above for address)
                                                                                              PRO HAC VICE
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                                                                                              Ryan Clarkson
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                                                                                            YuQing Emily Min
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                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Zarrina Ozari
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  Plaintiff
  Elie E1 Rai                                                         represented by Reagan Charleston Thomas
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                                                                                     LEAD ATTORNEY
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                                                                                            Shireen M. Clarkson
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                                                                                            Glenn Danas , I
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                                                                                            Ryan Clarkson
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                                                                                            Zarrina Ozari
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  Plaintiff
  Tatyana Dekhtyar                                                    represented by Reagan Charleston Thomas
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                                                                                     LEAD ATTORNEY
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                                                                                            Shireen M. Clarkson
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                                                                                            LEAD ATTORNEY
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                                                                                            Glenn Danas , I
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                                                                                              Ryan Clarkson
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                                                                                              YuQing Emily Min
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                                                                                              Zarrina Ozari
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  Plaintiff
  Olivia Rodesta                                                        represented by Reagan Charleston Thomas
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                                                                                              Shireen M. Clarkson
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                                                                                              Glenn Danas , I
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                                                                                              Ryan Clarkson
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  Plaintiff
  Lauren Debeliso                                                       represented by Reagan Charleston Thomas
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                                                                                              Shireen M. Clarkson
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                                                                                              Glenn Danas , I
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                                                                                            Ryan Clarkson
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                                                                                            Zarrina Ozari
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  Plaintiff
  Lorette Kenney                                                      represented by Reagan Charleston Thomas
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                                                                                            Shireen M. Clarkson
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                                                                                            Glenn Danas , I
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                                                                                            Ryan Clarkson
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                                                                                            Zarrina Ozari
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  Plaintiff
  Daniel Heaghney                                                     represented by Benjamin Stephen Mclntosh
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  Plaintiff
  Scott Collier                                                       represented by M Ryan Casey
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  Plaintiff
  Amanda Thorns                                                       represented by M Ryan Casey
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  Plaintiff
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  Plaintiff
  John Jeffrey Bader                                                  represented by John Dean Curtis , II
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  Plaintiff
  Brian Lloyd Fireng                                                  represented by John Dean Curtis , II
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
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  Plaintiff
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  Carrie Diane Huff                                                     represented by John Dean Curtis , II
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
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                                                                                              YuQing Emily Min
                                                                                              (See above for address)
                                                                                              TERMINATED: 07/16/2024
                                                                                              ATTORNEY TO BE NOTICED

  Plaintiff
  Joseph Samuel Surge                                                   represented by John Dean Curtis , II
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
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                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
                                                                                              ATTORNEY TO BE NOTICED

  Plaintiff
  Joshua Edward Surge                                                   represented by John Dean Curtis , II
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO 8E NOTICED

                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
                                                                                              ATTORNEY TO BE NOTICED

  Plaintiff
  Christine Ann Waters                                                  represented by John Dean Curtis , II
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                              YuQing Emily Min
                                                                                              (See above for address)
                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Eduardo Flores                                                        represented by L. Timothy Fisher
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12/20/24, 11 :15 AM                                        Eastern District of New York - IVE Database 1.8 (Revision 1.8.1 )

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                                                                                              Sarah Westcot
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                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
                                                                                              ATTORNEY TO BE NOTICED

  Plaintiff
  Christopher McPhee                                                    represented by Andrew Daniel Bluth
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                              Christopher Ross Rodriguez
                                                                                              (See above for address)
                                                                                              LEAD ATTORNEY
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                                                                                              Kevin S. Hannon
                                                                                              (See above for address)
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                                                                                              Trent James Nelson
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Justin Vorise                                                         represented by Andrew Daniel Bluth
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                              Christopher Ross Rodriguez
                                                                                              (See above for address)
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                                                                                            LEAD ATTORNEY
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                                                                                            Kevin S. Hannon
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Trent James Nelson
                                                                                            (See above for address)
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                                                                                            YuQing Emily Min
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                                                                                            TERMINATED: 07/16/2024
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Jordan Nelson                                                       represented by Sarah Westcot
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                            Sarah Westcot
                                                                                            (See above for address)
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                                                                                            YuQing Emily Min
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                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Regina Peralta                                                      represented by Sarah Westcot
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     PRO HAC VICE
                                                                                     ATTORNEY TO BE NOTICED

                                                                                            Sarah Westcot
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                                                                                            YuQing Emily Min
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                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Krista Wright                                                       represented by Bradley D. Hon fold
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
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                                                                                            Joseph A. Kronawitter
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                                                                                            Kirk J. Gaza
                                                                                            (See above for address)
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                                                                                            Lindsey Scarcello
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                                                                                            Robert A. Horn
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                                                                                            Taylor Faye
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                                                                                            Thomas P. Cartmell
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                                                                                            YuQing Emily Min
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                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
  Tiffany Travis                                                      represented by Alyson Steele Beridon
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  Plaintiff
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  Plaintiff
  Regina Brookshier                                                   represented by Katrina Carroll
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     PRO HAC VICE
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                                                                                            Jennifer M French
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                                                                                            Scott G. Braden
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  Plaintiff
  Erzen Krica                                                         represented by Katrina Carroll
                                                                                     (See above for address)
                                                                                            LEAD ATTORNEY
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                                                                                            Jennifer M French
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                                                                                            Scott G. Braden
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  Plaintiff
  Allison Sammarco                                                    represented by Katrina Carroll
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
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                                                                                            PRO HAC VICE
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Jennifer M French
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                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Scott G. Braden
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                                                                                            YuQing Emily Min
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                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
  Hollie Verdi                                                        represented by Katrina Carroll
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  Plaintiff
  Cathy Kleiman                                                       represented by Andrew S Baker
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                                                                                            Paul Doolittle
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                                                                                            Jason P. Sultzer
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                                                                                            YuQing Emily Min
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                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
  Millard Adkins                                                      represented by Frederick S. Longer
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  Plaintiff

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  Rosalyn Anderson                                                      represented by Michael M. Weinkowitz
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                                                                                              Frederick S. Longer
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Eli Erlick                                                            represented by Michael M. Weinkowitz
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                                                                                              Frederick S. Longer
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  Plaintiff
  Donna Bailey                                                          represented by Michael M. Weinkowitz
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                                                                                              Frederick S. Longer
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                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Rosalie Jackson                                                       represented by Michael M. Weinkowitz
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                                                                                              Frederick S. Longer
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                                                                                            YuQing Emily Min
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  Plaintiff
  Recoa Russell                                                       represented by Michael M. Weinkowitz
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                                                                                            Frederick S. Longer
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                                                                                            YuQing Emily Min
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  Plaintiff
  Frank Anderson                                                      represented by Michael M. Weinkowitz
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                                                                                            Frederick S. Longer
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                                                                                            YuQing Emily Min
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                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
  Tina Haluszka                                                       represented by Michael M. Weinkowitz
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  Plaintiff


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  Tatiana Benjamin                                                      represented by Scott Alan George
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                                                                                              David R. Buchanan
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                                                                                              Jeffrey Scott Grand
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                                                                                              Stuart A. Davidson
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                                                                                              YuQing Emily Min
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                                                                                              Diogenes P. Kekatos
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                                                                                            Jeffrey Scott Grand
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                                                                                            Scott Alan George
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  Plaintiff
  Natasha Freeman                                                     represented by Scott A. George
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                                                                                            David R. Buchanan
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                                                                                            Scott Alan George
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                                                                                            Stuart A. Davidson
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  Plaintiff
  Robin Glauser                                                         represented by Scott A. George
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       PRO HAC VICE
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                                                                                              Christopher A. Seeger
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                                                                                              David R. Buchanan
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                                                                                              Diogenes P. Kekatos
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                                                                                              Jeffrey Scott Grand
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                                                                                              Scott Alan George
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Stuart A. Davidson
                                                                                              (See above for address)
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                                                                                              YuQing Emily Min
                                                                                              (See above for address)
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  Plaintiff
  Anthony Rogers                                                        represented by Scott A. George
                                                                                       (See above for address)
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                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                              Christopher A. Seeger
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                                                                                              David R. Buchanan
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                                                                                              Diogenes P. Kekatos
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                                                                                            ATTORNEY TO 8E NOTICED

                                                                                            Jeffrey Scott Grand
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                                                                                            Scott Alan George
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                                                                                            Stuart A. Davidson
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                                                                                            TERMINATED: 07/16/2024
                                                                                            ATTORNEY TO BE NOTICED
  Plaintiff
  Heather Fong                                                        represented by Bradley D. Hon fold
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                                                                                            Lindsey Scarcello
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                                                                                            Taylor Faye
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                                                                                            Tyler Hudson
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                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
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  Plaintiff
  Mari Jones                                                          represented by Allan Kanner
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                                  Case: 24-3296.             DktEntry: 7.1, Page 58 of 177
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  Plaintiff
  Michele Kasparie                                                    represented by Jeffrey A. Barrack
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  Plaintiff
  Kimberly James                                                      represented by Jeffrey A. Barrack
                                                                                     (See above for address)
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                                                                                     ATTORNEY TO BE NOTICED

                                                                                            YuQing Emily Min
                                                                                            (See above for address)
                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
  Greg Enriquez                                                       represented by Adam J. Zapala
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  Plaintiff
  Rachel Parker                                                       represented by Ruben Honik
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                                                                                     LEAD ATTORNEY
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                                                                                            David J. Stanoch
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  Plaintiff
  Krystal Rampalli                                                    represented by Blake G. Abbott
                                                                                     (See above for address)
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                                                                                            YuQing Emily Min
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  Plaintiff
  Cody Morgan                                                           represented by Kiley L. Grombacher
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                                                                                              Debra Nicole Guntner
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Anthony DeRosa                                                        represented by Elizabeth A. Fegan
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  Plaintiff
  Daryl Means                                                         represented by Benjamin Stephen Mclntosh
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  Plaintiff
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  Plaintiff
  Michael Lee                                                         represented by Katrina Carroll
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                                                                                            Jennifer M French
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                                                                                            Scott G. Braden
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  Plaintiff
  Toni Heuchan                                                        represented by Katrina Carroll
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  Plaintiff
  Michelle Garza                                                      represented by Katrina Carroll
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  Plaintiff
  Cece Davenport                                                      represented by Katrina Carroll
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  Plaintiff
  Claudette Sanes                                                     represented by Katrina Carroll
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                                                                                            Scott G. Braden
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  Plaintiff
  Daniel Flick                                                        represented by Katrina Carroll
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  Plaintiff
  Janis Zimmerman                                                     represented by Katrina Carroll
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  Plaintiff
  Andrea Wilson                                                       represented by Stephen J. Fearon , Jr.
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  Plaintiff
  Kathleen Emmons                                                     represented by Jeffrey W Golan
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  Plaintiff
  Nathan Jackson                                                      represented by Jeffrey W Golan
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  Plaintiff
  Rosalyn Anderson                                                    represented by Charles E. Schaffer
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  Plaintiff
  Eli Erlick                                                          represented by Charles E. Schaffer
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  Plaintiff
  Donna Bailey                                                        represented by Charles E. Schaffer
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  Plaintiff
  Rosalie Jackson                                                     represented by Charles E. Schaffer
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  Plaintiff
  Frank Anderson                                                      represented by Charles E. Schaffer
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  Plaintiff




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12/20/24, 11 :15 AM                                      Eastern District of New York - IVE Database 1.8 (Revision 1.8.1 )
  Tina Haluszka                                                       represented by Charles E. Schaffer
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  Plaintiff
  James Hsieh                                                         represented by Andrea Gold
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  Plaintiff
  Dominic Rio                                                         represented by Andrea Gold
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  Plaintiff
  Mohammad Abdelkarim                                                 represented by Andrea Gold
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  Plaintiff
  Steven Checchia                                                     represented by Andrea Gold
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                                                                                            YuQing Emily Min
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  Plaintiff
  Tamula Chamberlain                                                  represented by Jeffrey W Golan
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  Plaintiff
  Stacy Rankin                                                        represented by Kevin Ira Goldberg
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  Plaintiff
  Harold Nyanjom                                                      represented by Seth K. Jones
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  Plaintiff
  Hannah De Priest                                                    represented by Adam J. Levitt
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  Plaintiff
  Frizell Johnson                                                     represented by Adam J. Levitt
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                                                                                            Stuart A. Davidson
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                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
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                                                                                            Stuart A. Davidson
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  Plaintiff
  Joy Taylor                                                          represented by Mark Philip Pifko
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  Plaintiff
  Anthony Coleman                                                       represented by Mark Philip Pifko
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  Plaintiff
  Natasha Hernandez                                                     represented by L. Timothy Fisher
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                                                                                            LEAD ATTORNEY
                                                                                            PRO HAC VICE
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                                                                                            Sarah Westcot
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  Plaintiff
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  Plaintiff
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  Plaintiff
  Sommer Milous                                                       represented by William A. Kershaw
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  Plaintiff
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  Plaintiff
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  Plaintiff
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                                                                                            ATTORNEY TO 8E NOTICED

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  Plaintiff
  Sierra Vent                                                         represented by Andrew S Baker
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  Plaintiff
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  Plaintiff
  Shelby Noviskis                                                     represented by Ken B. Moll
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  Plaintiff
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  Plaintiff
  Charles Geoffrey Woods                                              represented by James E. Cecchi
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  Plaintiff
  John Jeffrey Ward                                                     represented by Katrina Carroll
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  Plaintiff
  Ruta Taite                                                            represented by Katrina Carroll
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  Plaintiff
  Dr. Karen Schwartz                                                    represented by Katrina Carroll
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                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
  Thomas Lewis                                                        represented by Katrina Carroll
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  Plaintiff
  Dena Fichot                                                         represented by Katrina Carroll
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  Plaintiff
  Pamela Joyner                                                       represented by Paul Doolittle
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  Plaintiff
  Kristin Lawrence                                                    represented by Paul Doolittle
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                                                                                            TERMINATED: 07/16/2024
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  Plaintiff
  Sharon Rourk                                                        represented by Paul Doolittle
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                                                                                            Philip Furia
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                                                                                            Jason P. Sultzer
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  Plaintiff
  Izabel Pena-Venegas                                                   represented by Christopher Ross Rodriguez
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  Plaintiff
  Beverly Ward                                                          represented by Christopher Ross Rodriguez
  an individual                                                                        (See above for address)
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                                                                                              Trent James Nelson
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              YuQing Emily Min
                                                                                              (See above for address)
                                                                                              TERMINATED: 07/16/2024
                                                                                              ATTORNEY TO 8E NOTICED

  Plaintiff
  Abby Jergins                                                          represented by Christopher Ross Rodriguez
  an individual                                                                        (See above for address)
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                                                                                              John Richard Ternieden
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                                                                                              Trent James Nelson
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                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Bill Jergins                                                          represented by Christopher Ross Rodriguez
  an individual                                                                        (See above for address)
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                                                                                       ATTORNEY TO 8E NOTICED

                                                                                              John Richard Ternieden
                                                                                              (See above for address)
                                                                                              LEAD ATTORNEY
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                                                                                              Andrew Daniel Bluth
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                                                                                              ATTORNEY TO 8E NOTICED

                                                                                              Kevin S. Hannon
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Trent James Nelson
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                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Archi Hipkins                                                         represented by Christopher Ross Rodriguez
  an individual on behalf of themselves and                                            (See above for address)
  all others similarly situated                                                        LEAD ATTORNEY
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                                                                                              John Richard Ternieden
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                                                                                              Andrew Daniel Bluth
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                                                                                              Kevin S. Hannon
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                                                                                              Trent James Nelson
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                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
                                                                                              ATTORNEY TO BE NOTICED

  Plaintiff
  Darrell Wayne Grimsley, Jr.                                           represented by Peter .I Mougey
                                                                                       (See above for address)
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                                                                                              Laura S Dunning
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                                                                                            (See above for address)
                                                                                            TERMINATED: 07/16/2024
                                                                                            ATTORNEY TO BE NOTICED

  Plaintiff
  Krystal Rampalli                                                    represented by Blake G. Abbott
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                                                                                            Roy T. Willey , IV
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                                                                                            YuQing Emily Min
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  Plaintiff
  Christine Harrison                                                  represented by Joshua B. Kons
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  Plaintiff

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  Viva Cohen                                                            represented by Jonathan Marc ,Iagher
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  Plaintiff
  Joey Cohen                                                            represented by Jonathan Marc ,Iagher
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                                                                                       LEAD ATTORNEY
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                                                                                            Nia-imara Atu Barberousse Binns
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                                                                                            Steven A. Kanner
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                                                                                            LEAD ATTORNEY
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                                                                                            William Henry London
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  Plaintiff
  William Bryan                                                       represented by Benjamin I. Siminou
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                                                                                            Andrew Daniel Bluth
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                                                                                            Kevin S. Hannon
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                                                                                            Trent James Nelson
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  Plaintiff
  Jack Hinsberger                                                       represented by Benjamin I. Siminou
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                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                              Christopher Ross Rodriguez
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                                                                                              Andrew Daniel Bluth
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                                                                                              Kevin S. Hannon
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                                                                                              Trent James Nelson
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Nancy Welharticky                                                     represented by Benjamin I. Siminou
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                                                                                       ATTORNEY TO BE NOTICED

                                                                                              Christopher Ross Rodriguez
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                                                                                              Andrew Daniel Bluth
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                                                                                              Kevin S. Hannon
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                                                                                              Trent James Nelson
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  Plaintiff
  Robert Housman                                                        represented by Robert Housman
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  Plaintiff
  Jay Valinsky                                                          represented by David Philip Milian
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  Plaintiff




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  Rethea Morris                                                         represented by Christopher Ross Rodriguez
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
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                                                                                              Kevin S. Hannon
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                                                                                              Trent James Nelson
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                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Robert Haid                                                           represented by Christopher Ross Rodriguez
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
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                                                                                              Kevin S. Hannon
                                                                                              (See above for address)
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                                                                                              Andrew Daniel Bluth
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                                                                                              YuQing Emily Min
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Plaintiffs                                                            represented by Michael A London
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                                                                                              TERMINATED: 07/16/2024
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  Plaintiff
  Michael Folks                                                         represented by Terence Richard Coates
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  Plaintiff
  Sharon Manier                                                         represented by Terence Richard Coates
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                                                                                       LEAD ATTORNEY
                                                                                              ATTORNEY TO 8E NOTICED

  Plaintiff
  Jay Valinsky                                                          represented by David Philip Milian
                                                                                       (See above for address)
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  Plaintiff
  Stan Szrajer                                                          represented by Bret Koch Pufahl
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  Plaintiff
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  Plaintiff
  Marisol Scharon                                                     represented by Bryan L. Clobes
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  Plaintiff
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  Plaintiff
  Bonnie Van Noy                                                        represented by Alison D Hawthorne
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                                                                                              Rebecca D Gilliland
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Demet Basar
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

  Plaintiff
  Jonathan Brandman                                                     represented by Jennifer M French
                                                                                       (See above for address)
                                                                                              ATTORNEY TO 8E NOTICED

  Plaintiff
  Gwen Lewi                                                             represented by Glenn Danas , I
                                                                                       (See above for address)
                                                                                              LEAD ATTORNEY
                                                                                              PRO HAC VICE
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Reagan Charleston Thomas
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                                                                                              LEAD ATTORNEY
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                                                                                              Ryan Clarkson
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                                                                                              Shireen M. Clarkson
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Zarrina Ozari
                                                                                              (See above for address)
                                                                                              LEAD ATTORNEY
                                                                                              ATTORNEY TO BE NOTICED
  Plaintiff
  John Boswell                                                          represented by Elizabeth Christine Chavez
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                              ATTORNEY TO BE NOTICED

  Plaintiff
  Mohamad Tlaib                                                         represented by Erin J. Ruben
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  Plaintiff
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  Daniel Calzado

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  Keith Mortuiccio

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  Defendant
  Merck

  Defendant
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                                                                                              LEAD ATTORNEY
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  Defendant


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  Glaxosmithkline Consumer Health and
  Holdings

  Defendant
  Target Corporation                                                    represented by Ann Elizabeth Motl
                                                                                       Greenberg Traurig, LLP
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                                                                                              Dale Goldstein
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                                                                                              Nilda Maria Isidro
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  Defendant
  Kenvue Inc.

  Defendant
  McNeil Consumer Healthcare

  Defendant
  Bayer Healthcare L.L.C.                                               represented by Cara Edwards
  a Delaware limited liability corporation                                             DLA Piper US LLP
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  Defendant
  Sanofi- Aventis U.S. LLC
  a Delaware limited liability corporation

  Defendant

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  Church & Dwight Co. Inc.                                              represented by Baldassare Vinti , PHV
  a Delaware corporation                                                               Proskauer Rose LLP
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  Defendant
  Walmart Inc,                                                          represented by Austin Evans
  a Delaware corporation                                                               (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                              Dale Goldstein
                                                                                              (See above for address)
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Mark Lesko
                                                                                              (See above for address)
                                                                                              ATTORNEY TO 8E NOTICED

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  Defendant
  CVS Pharmacy Inc.                                                   represented by Gregory Edward Ostfeld
  a Delaware corporation                                                             Greenberg Traurig, LLP
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                                                                                            Mark Lesko
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                                                                                            LEAD ATTORNEY
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                                                                                            Austin Evans
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                                                                                            ATTORNEY TO 8E NOTICED

                                                                                            Dale Goldstein
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                                                                                            Nilda Maria Isidro
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                                                                                              Sara K. Thompson
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Walgreen Co                                                           represented by Mark Lesko
  an Illinois corporation                                                              (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO 8E NOTICED

                                                                                              Austin Evans
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Dale Goldstein
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Nilda Maria Isidro
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Sara K. Thompson
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  Defendant
  Albertsons Companies, Inc.                                            represented by Mark Lesko
  a Delaware corporation                                                               (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                              Austin Evans
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                                                                                              Dale Goldstein
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                                                                                              Nilda Maria Isidro
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                                                                                              Sara K. Thompson
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  Defendant
  Rite Aid Corporation                                                  represented by Mark Lesko
  a Delaware corporation                                                               (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

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                                                                                              Dale Goldstein
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Sara K. Thompson
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  Defendant
  Amazon.com, Inc                                                       represented by Jennifer .Ianeira Nagle
  a Delaware corporation                                                               K&L Gates LLP
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https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?967724885477506-L_1 _1 -1                                                         100/139
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  Defendant
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  Defendant
  Valu Merchandisers Co.                                                represented by Paige Sensenbrenner
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                                                                                              Diana Cole Surprenant
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  Defendant
  Haleon Us Capital LLC                                                 represented by Jay P. Lefkowitz
  TERMINATED: 06/04/2024                                                               (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Jacob Rae
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Robyn E. Bladow
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  CVS Health Corporation

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  Defendant
  Haleon PLC                                                            represented by Haleon PLC
                                                                                       PRO SE

                                                                                              Jay P. Lefkowitz
                                                                                              (See above for address)
                                                                                              TERMINATED: 08/07/2024
                                                                                              LEAD ATTORNEY
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Jacob Rae
                                                                                              (See above for address)
                                                                                              TERMINATED: 08/07/2024
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Robyn E. Bladow
                                                                                              (See above for address)
                                                                                              TERMINATED: 08/07/2024
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Pfizer Inc.                                                           represented by Jay P. Lefkowitz
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO 8E NOTICED

                                                                                              Jacob Rae
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Robyn E. Bladow
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  Defendant
  Amazon.com Services LLC                                               represented by Jennifer .Ianeira Nagle
                                                                                       (See above for address)
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                                                                                              Robert W. Sparkes , III
                                                                                              (See above for address)
                                                                                              LEAD ATTORNEY
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                                                                                              Ruby A. Nagamine
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  Defendant
  DOES 1-200

  Defendant

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  Perrigo Company PLC

  Defendant
  GlaxoSmithKline Consumer Healthcare                                   represented by Jay P. Lefkowitz
  Holdings (US) LLC                                                                    (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

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                                                                                              Robyn E. Bladow
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  Defendant
  Procter & Gamble Co.                                                  represented by Andrew Soukup
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  Defendant
  Wal-Mart Stores East 1, LP                                            represented by Beth C. Boggs
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                                                                                              ATTORNEY TO BE NOTICED


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                                                                                            Dale Goldstein
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Ethan Price Davis
                                                                                            (See above for address)
                                                                                            TERMINATED: 03/27/2024
                                                                                            ATTORNEY TO 8E NOTICED

                                                                                            Livia M. Kiser
                                                                                            King & Spalding
                                                                                            King & Spalding LLP
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                                                                                            Mark Lesko
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                                                                                            ATTORNEY TO 8E NOTICED

                                                                                            Michael L. Resch
                                                                                            (See above for address)
                                                                                            TERMINATED: 03/27/2024
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Nilda Maria Isidro
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Rose .I Jones
                                                                                            (See above for address)
                                                                                            TERMINATED: 03/27/2024
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Sara K. Thompson
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  Wal-Mart Inc.                                                       represented by Beth C. Boggs
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                            Dale Goldstein
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Ethan Price Davis
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                                                                                              (See above for address)
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Livia M. Kiser
                                                                                              (See above for address)
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                                                                                              ATTORNEY TO 8E NOTICED

                                                                                              Mark Lesko
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Michael L. Resch
                                                                                              (See above for address)
                                                                                              TERMINATED: 03/27/2024
                                                                                              ATTORNEY TO 8E NOTICED

                                                                                              Nilda Maria Isidro
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                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Rose .I Jones
                                                                                              (See above for address)
                                                                                              TERMINATED: 03/27/2024
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Sara K. Thompson
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Walgreens Boots Alliance Inc.

  Defendant
  Helen of Troy Limited

  Defendant
  John Doe 1-200

  Defendant
  Publix Super Markets, Inc.                                            represented by Brian T. Guthrie
                                                                                       Saul Ewing LLP
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                                                                                       Email: bguthrie @ saulcom
                                                                                       LEAD ATTORNEY
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Daniel Brandon Rogers

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                                                                                              Shook, Hardy & Bacon L. L. P.
                                                                                              201 South Biscayne Boulevard
                                                                                              Suite 3200
                                                                                              Miami, FL 33131
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                                                                                              Fax: 305-358-7470
                                                                                              Email: drogers@ shb.com
                                                                                              LEAD ATTORNEY
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Michael Fitzgerald Healy
                                                                                              Shock, Hardy & Bacon L.L.P.
                                                                                              555 Mission Street
                                                                                              Suite 2300
                                                                                              San Francisco, CA 94105
                                                                                              415-544-1900
                                                                                              Fax: 415-391-0281
                                                                                              Email: mfhealy @ shb.com
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Costco Wholesale Corp.                                                represented by Mark Lesko
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                              ATTORNEY TO 8E NOTICED

                                                                                              Austin Evans
                                                                                              (See above for address)
                                                                                              ATTORNEY TO 8E NOTICED

                                                                                              Dale Goldstein
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Nilda Maria Isidro
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Sara K. Thompson
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Procter & Gamble Distributing, LLC,
  The

  Defendant
  Dierbergs Markets, Inc.                                               represented by Michael Klebanov
                                                                                       Husch Blackwell LLP
                                                                                       1801 Pennsylvania Avenue, NW
                                                                                       Suite 1000
                                                                                       Washington, DC 20006-3606
                                                                                       202-378-2363
                                                                                       Email:
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?967724885477506-L_1 _1 -1                                                      106/139
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                                                                                            michaelklebanov@huschblackwe11.com
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Tanner Cook
                                                                                            Husch Blackwell LLP
                                                                                            8001 Forsyth Boulevard
                                                                                            Suite 1500
                                                                                            St. Louis, MO 63105
                                                                                            314-480- 1500
                                                                                            Email: tanner.cook@huschblackwellcom
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

  Defendant
  The Procter & Gamble Company                                        represented by Alyssa Marie Gregory
                                                                                     Locke Lord LLP
                                                                                     111 S. Wacker Dr.
                                                                                     Chicago, IL 60606
                                                                                     (312) 443-0355
                                                                                     Fax: Not a member
                                                                                            Email: alyssa.gregory @1ockelord.com
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Andrew Soukup
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Andrew James Soukup
                                                                                            Covington & Burling LLP
                                                                                            One CityCenter
                                                                                            850 Tenth Street NW
                                                                                            Washington, DC 20001
                                                                                            202-662-5066
                                                                                            Fax: 202-778-5066
                                                                                            Email: asoukup@cov.com
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Phillip Russell Perdew
                                                                                            Locke Lord LLP
                                                                                            111 South Wacker Drive
                                                                                            Chicago, IL 60606
                                                                                            (312) 443-1712
                                                                                            Fax: Active
                                                                                            Email: rperdew @1ockelord.com
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            Laura Fla five Wu
                                                                                            Covington & Burling LLP
                                                                                            One City Center
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?967724885477506-L_1_1-1                                                            107/139
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                                                                                              850 Tenth Street, NW
                                                                                              Washington, DC 20001
                                                                                              202-662-5982
                                                                                              Email: lflahivewu @ cov.com
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Haleon US Holdings LLC                                                represented by Jay P. Lefkowitz
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Robyn E. Bladow
                                                                                              (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Bayer Corporation                                                     represented by Colleen Gulliver
                                                                                       (See above for address)
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Reckitt Benckiser Pharmaceuticals Inc.                                represented by Lauren Schultz Colton
  TERMINATED: 06/04/2024                                                               (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                              ATTORNEY TO BE NOTICED
  Defendant
  The Kroger Co.                                                        represented by Richard Fama
                                                                                       Cozen O'Connor
                                                                                       Cozen O'Connor
                                                                                       3 Wtc
                                                                                       175 Greenwich St
                                                                                       10007
                                                                                       New York, NY 10006
                                                                                       212-908-1229
                                                                                       Email: rfama@cozen.com
                                                                                              ATTORNEY TO BE NOTICED

  Defendant
  Harris Teeter, LLC                                                    represented by Karl Riley
                                                                                       Cozen O'Connor
                                                                                       Florida
                                                                                       200 South Biscayne Blvd., Suite 3000
                                                                                       Miami
                                                                                       Miami, FL 33131
                                                                                       305-358-0816
                                                                                              Email: koriley @ cozen.com
                                                                                              ATTORNEY TO BE NOTICED

                                                                                              Richard Fama
                                                                                              (See above for address)
                                                                                              ATTORNEY TO 8E NOTICED
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?967724885477506-L_1 _1 -1                                                      108/139
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  Defendant
  Harris Teeter Supermarkets, Inc.                                    represented by Karl Riley
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

                                                                                            Richard Fama
                                                                                            (See above for address)
                                                                                            ATTORNEY TO BE NOTICED
  Defendant
  The Kroger Co.                                                      represented by Karl Riley
                                                                                     (See above for address)
                                                                                     ATTORNEY TO BE NOTICED

  Defendant
  Dolgencorp, Inc.

  Defendant
  Family Dollar, LLC


   Date Filed             #    Docket Text
   12/06/2023              l JPMDL TRANSFER ORDER, In Re: Oral Phenylephrine Marketing and Sales Practices
                               Litigation, The actions listed en Schedule A and pending outside the Eastern District of
                               New York are transferred to the Eastern District of New York and, with the consent of that
                               court, assigned to the Honorable Brian M. Cogan for coordinated or consolidated pretrial
                               proceedings. IT IS FURTHER ORDERED that transfer of the "Maximum Strength"
                               Tuominem action listed on Schedule B is denied. (TLH) (Entered: 12/07/2023)
   12/11/2023              Z JPMDL Conditional Transfer Order (Schedule A): The actions listed on Schedule A and
                             pending outside the Eastern District of New York are transferred to the Eastern District of
                             New York and, with the consent of that court, assigned to the Honorable Brian M. Cogan
                             for coordinated or consolidated pretrial proceedings. (AF) (Entered: 12/1 1/2023)
   12/12/2023              3 NOTICE of Appearance by Philip J. Furia on behalf of Kamonica McWhite (aty to be
                             noticed) (Furia, Philip) (Entered: 12/12/2023)
   12/19/2023              4 JPMDL Conditional Transfer Order (CTO-1): Pursuant to Rule 7.1 of the Rules of
                             Procedure of the United States Judicial Panel on Multidistrict Litigation,the action(s) on
                             the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                             New York for the reasons stated in the order of December 6, 2023, and, with the consent
                             of that court, assigned tothe Honorable Brian M. Cogan. (AF) Assigned case numbers
                             updated. (Main Document 4 replaced on 1/11/2024) (AF). Modified on 1/11/2024 (AF) .
                             (Entered: 12/19/2023)
   12/21/2023              5 ORDER. The parties are directed to review the attached proposed Case Management
                             Order, which outlines the Court's preliminary rules for the process of this case. By
                             2/29/2024, the parties are directed to complete and file the attached proposed CMO. The
                             parties shall meet and confer in advance of that date and jointly file only one proposed
                             CMO that is agreed upon by all parties. With respect to the Initial Status Conference,
                             please provide three dates and times at which all relevant parties are available, and the
                             Court will determine the conference date upon filing. The proposed dates should fall
                             between 3/15/2024 and 4/15/2024. Ordered by Judge Brian M. Cogan on 12/21/2023 .
                             (PW) (Entered: 12/21/2023)
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   12/28/2023               Q MOTION to Appear Pro Hac Vice - Motion for Admission Pro Hoc Vice of Stuart A.
                                Davidson - Filing fee $ 150, receipt number NYEDC-17413795 by Erin Barton, Tatiana
                                Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Hannah De
                                Priest, Natasha Freeman, Samuel Gallo, Robin Glauser, Frizell Johnson, Anthony Rogers,
                                Ruben Varela. (Attachments: # l Affidavit of S. Davidson, # 2 Exhibit A, # Q Proposed
                                Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09063-BMC, l:23-cv-09272-
                                BMC, 1:23-cv-09313-BMC (Davidson, Stuart) (Entered: 12/28/2023)
   12/28/2023              1 NOTICE of Appearance by Melanie H. Muhlstock on behalf of Chioma Ozuzu (aty to be
                                noticed) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-07395-BMC (Muhlsteck,
                                Melanie) (Entered: 12/28/2023)
   12/28/2023               8 NOTICE of Appearance by Melanie H. Muhlstock on behalf of Robyn Cronin (aty to be
                              noticed) Associated Cases: 1:23-md-03089-BMC, 2:23-cv-06870-BMC (Muhlstock,
                              Melanie) (Entered: 12/28/2023)
   12/28/2023               2 NOTICE of Appearance by Jason Scott Goldstein on behalf of Robyn Cronin (aty to be
                              noticed) Associated Cases: 1:23-md-03089-BMC, 2:23-cv-06870-BMC (Goldstein,
                              Jason) (Entered: 12/28/2023)
   12/28/2023             m NOTICE of Appearance by Jason Scott Goldstein on behalf of Chioma Ozuzu (aty to be
                                noticed) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-07395-BMC (Goldstein,
                                Jason) (Entered: 12/28/2023)
   12/30/2023             L NOTICE of Appearance by Michael Robert Reese on behalf of Kamonica McWhite (aty
                                to be noticed) (Reese, Michael) (Entered: 12/30/2023)
   01/03/2024            L JPMDL Conditional Transfer Order (CTO-2): Pursuant to Rule 7.1 of the Rules of
                                Procedure of the United States Judicial Panel on Multidistrict Litigation,the action(s) on
                                the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                                Nev York for the reasons stated in the order of December 6, 2023, and, with the consent
                                of that court, assigned tothe Honorable Brian M. Cogan. (AF) (Entered: 01/03/2024)
   01/03/2024            L MOTION to Appear Pro Hac Vice MOTION TO ADMIT CARI CAMPEN LA UFENBERG
                                PRO HAC VICE Filing fee $ 150, receipt number nyEDc-17426336 by Martha A. Page,
                                Rebecca Lynn Reyes. (Attachments: # _1 Affidavit of Cari Laufenberg, # _2 Exhibit A -
                                Certificate of Good Standing, # Q Proposed Order) Associated Cases: 1:23-md-03089-
                                BMC, 1:23-cv-09290-BMC, 1:23-cv-09308-BMC (Laufenberg, Cari) (Entered:
                                01/03/2024)
   01/04/2024             M NOTICE of Appearance by Jonathan David Lindenfeld on behalf of Anthony DeRosa
                                (aty to be noticed) (Lindenfeld, Jonathan) (Entered: 01/04/2024)
   01/04/2024             Q NOTICE of Appearance by Christopher G. Campbell en behalf of Bayer Corporation,
                                Bayer Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health
                                Care, LLC, Bayer Corporation (aty to be noticed) Associated Cases: l:23-md-03089-
                                BMC et al. (Campbell, Christopher) (Entered: 01/04/2024)
   01/04/2024             M NOTICE of Appearance by Cara Edwards on behalf of Bayer Corporation, Bayer
                                Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health Care,
                                LLC, Bayer Corporation (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al.
                                (Edwards, Cara) (Entered: 01/04/2024)
   01/05/2024             Q MOTION to Appear Pro Hac Vice Motion to Admit Laura S. Dunning Pro I-Iac Vice
                                Filing fee $ 150, receipt number ANYEDC- 17433640 by Joy Taylor, Darrell Wayne
                                Grimsley, Jr.. (Attachments: # _1 Affidavit of Laura Dunning, # _2 Exhibit A - Certificate of
                                Good Standing, # Q Proposed Order) (Dunning, Laura) (Entered: 01/05/2024)

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   01/08/2024            L JPMDL Conditional Transfer Order (CTO-3): Pursuant to Rule 7.1 of the Rules of
                                Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s) on
                                the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                                New York for the reasons stated in the order of December 6, 2023, and, with the consent
                                of that court, assigned to the Honorable Brian M. Cowan. (AF) (Entered: 01/08/2024)
   01/08/2024                   ORDER granting Q L L Motions for Leave to Appear Pre Hac Vice. The attorneys shall
                                register for ECF, registration is available online at www.pacer.gov. Once registered, the
                                attorneys shall file a notice of appearance and ensure that they receive electronic
                                notification of activity in this case. Also, each attorney shall ensure the $150 admission
                                fee be submitted to the Clerks Office via filing the event Pro Has Wee Filing Fee.
                                Ordered by Judge Brian M. Cogan on 1/8/2024. (PW) (Entered: 01/08/2024)
   01/08/2024             8 NOTICE of Appearance by Cari Campen Laufenberg on behalf of Martha A. Page,
                                Rebecca Lynn Reyes (notification declined or already on case) Associated Cases: 1:23-
                                md-03089-BMC, 1:23-cv-09290-BMC, 1:23-cv-09308-BMC (Laufenberg, Cari)
                                (Entered: 01/08/2024)
   01/09/2024                   NOTICE of Appearance by Stuart A. Davidson on behalf of Erin Barton, Tatiana
                                Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Hannah De
                                Priest, Natasha Freeman, Samuel Gallo, Robin Glauser, Frizell Johnson, Anthony Rogers,
                                Ruben Varela (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, l:23-cv-
                                09063-BMC, 1:23-cv-09272-BMC, 1:23-cv-09313-BMC (Davidson, Stuart) (Entered:
                                01/09/2024)
   01/09/2024             4 NOTICE of Appearance by Rand Patrick Nolen on behalf of Andrew Gutierrez, Emily
                                Hansen, Summer Milous (notification declined or already on case) Associated Cases:
                                1:23-md-03089-BMC, 1:23-cv-09259-BMC (Nolen, Rand) (Entered: 01/09/2024)
   01/09/2024            Q MOTION to Appear Pre Hac Vice Filing fee $ 150, receipt number ANYEDC-17444202
                                by Anthony DeRosa. (Attachments: # _1 Affidavit in Support and Certificate of Good
                                Standing) (Fegan, Elizabeth) (Entered: 01/09/2024)
   01/10/2024             4 MOTION to Appear Pro Hac Vice Motion to Admit Peter J. Mougey Pro Hoc Vice Filing
                                fee $ 150, receipt number NYEDC- 17448412 by Anthony Coleman, Darrell Wayne
                                Grimsley, Jr., Joy Taylor. (Attachments: # _ Affidavit of Peter J . Mougey, #2 Exhibit A -
                                Certificate of Good Standing, # Q Proposed Order) Associated Cases: 1:23-md-03089-
                                BMC, 1:23-cv-09265-BMC (Mousey, Peter) (Entered: 01/10/2024)
   01/10/2024             4 NOTICE of Appearance by Ethan Price Davis on behalf of Walmart Inc,, Walmart Inc,,
                                Wal-Mart Inc., Wal-Mart Stores East l, LP, Wal-Mart Stores East, LP (aty to be noticed)
                                Associated Cases: 1:23-md-03089-BMC et al. (Davis, Ethan) (Entered: 01/10/2024)
   01/12/2024             4 JPMDL Conditional Transfer Order (CTO-4):Pursuant to Rule 7.1 of the Rules of
                                Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s) on
                                the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                                New York for the reasons stated in the order of December 6, 2023, and, with the consent
                                of that court, assigned to the Honorable Brian M. Cowan. (AF) (Entered: 01/12/2024)
   01/16/2024             4 MOTION to Appear Pro Hac Vice by Christopher Young Filing fee $ 150, receipt number
                                NYEDC- 17465148 by Bayer Corporation, Bayer Healthcare L.L.C., Bayer Healthcare
                                L.L.C., Bayer Healthcare LLC, Bayer Health Care, LLC, Bayer Corporation.
                                (Attachments: # 1 Affidavit of Christopher Young, # Z Certificate of Good Standing, # 3
                                Proposed Order) Associated Cases: 1:23-md-03089-BMC et al. (Young, Christopher)
                                (Entered: 01/16/2024)
   01/16/2024             4 NOTICE of Appearance by Laura Fla five Wu on behalf of The Procter & Gamble
                                Company (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al. (Fla five Wu,
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                                Laura) (Entered: 01/16/2024)

   01/17/2024             L MOTION to Appear Pro Hac Vice for Rose J. Jones Filing fee $ 150, receipt number
                                NYEDC- 17468353 by Walmart Inc,, Walmart Inc,, Wal-Mart Inc., Wal-Mart Stores East
                                l, LP, Wal-Mart Stores East, LP. (Attachments: # l Affidavit in Support, # _2 Exhibit A -
                                Certificate of Good Standing (GA), # Q Proposed Order, # 4 Certificate of Service)
                                Associated Cases: 1:23-md-03089-BMC et al. (Jones, Rose) (Entered: 01/17/2024)
   01/17/2024             2 MOTION to Appear Pro Hac Vice of Robert W Sparkes, III Filing fee $ 150, receipt
                                number NYEDC-17470064 by Amazon.com Services LLC, Amazoncom, Inc,
                                Amazon.com, Inc, Amazon.com, Inc.. (Attachments: # _1 Affidavit in Support of Robert
                                W. Sparkes, III, # 2 Exhibit Certificate of Good Standing (Massachusetts), # Q Proposed
                                Order) Associated Cases: 1:23-md-03089-BMC et al. (Sparkes, Robert) (Entered:
                                01/17/2024)
   01/17/2024                   MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17470274
                                by Eduardo Flores, Jordan Nelson, Regina Peralta, Natasha Hernandez. (Attachments: # l
                                Affidavit of Sarah N. Westcot, # Z Exhibit A, # Q Exhibit B, # 4 Proposed Order)
                                Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09257-BMC, 1:23-cv-09261-BMC,
                                1:23-cv-09263-BMC (Westcot, Sarah) (Entered: Ol/17/2024)
   01/17/2024             Q MOTION to Appear Pro Hac Vice for Benjamin S. Mclntosh Filing fee $ 150, receipt
                                number ANYEDC- 17470256 by Daniel Heaghney, Daryl Means. (Attachments: # l
                                Exhibit, # _2 Affidavit, #3 Proposed Order, # 4 Certificate of Service) (Mclntosh,
                                Benjamin) (Entered: Ol/17/2024)
   01/17/2024             Q MOTION to Appear Pro Hac Vice by Michael Reseh Filing fee $ 150, receipt number
                                NYEDC- 17471345 by Walmart Inc,, Walmart Inc,, Wal-Mart Inc., Wal-Mart Stores East
                                l, LP, Wal-Mart Stores East, LP. (Attachments: # 1 Declaration in Support by Michael
                                Resch, # _2 Exhibit A - Certificate of Good Standing (D.C.), # Q Exhibit B - Certificate of
                                Good Standing (Cal), # 4 Proposed Order, # Q Certificate of Service) Associated Cases:
                                1:23-md-03089-BMC et al. (Resch, Michael) (Entered: 01/17/2024)
   01/18/2024             0 NOTICE of Appearance by Mark Lesko on behalf of Albertsons Companies, Inc. (aty to
                                be noticed) (Lesko, Mark) (Entered: 01/18/2024)
   01/18/2024             M NOTICE of Appearance by Nilda Maria Isidro on behalf of Albertsons Companies, Inc.
                                (aty to be noticed) (Isidro, Nilda) (Entered: 01/18/2024)
   01/18/2024             0 NOTICE of Appearance by Dale Goldstein on behalf of Albertsons Companies, Inc. (aty
                                to be noticed) (Goldstein, Dale) (Entered: 01/18/2024)
   01/22/2024                   MOTION to Appear Pro Hac Vice of Diana Cole Surprenant Filing fee $ 150, receipt
                                number ANYEDC- 17483871 by Associated Wholesale Grocers Inc, Valu Merchandisers
                                Co.. (Attachments: # 1 Affidavit in Support Affidavit in support of Motion for PHV
                                admission, # 2 Appendix Certificate of Good Standing for Diana Surprenant) (Surprenant,
                                Diana) (Entered: 01/22/2024)
   01/22/2024             3     MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-l7484931
                                by Andrew Gutierrez, Emily Hansen, Summer Milous. (Attachments: # _1 Affidavit, # _2
                                Certificate of Good Standing, # 8 Proposed Order) Associated Cases: l:23-md-03089-
                                BMC, 1:23-cv-09259-BMC (Kershaw, William) (Entered: Ol/22/2024)
   01/22/2024             8 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17485079
                                by Andrew Gutierrez, Emily Hansen, Summer Milous. (Attachments: # l Affidavit, # Z
                                Certificate of Good Standing, # 3 Proposed Order) Associated Cases: l:23-md-03089-
                                BMC, 1:23-cv-09259-BMC (Barlow, Ian) (Entered: Ol/22/2024)


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   01/22/2024                   ORDER granting Q0488                                 Q        QB Motions for Leave to Appear Pre Hac
                                Vice. The attorney shall register for ECF, registration is available online at
                                www.pacer.gov. Once registered, the attorney shall file a notice of appearance and ensure
                                that s/he receives electronic notification of activity in this case. Also, the attorney shall
                                ensure the $150 admission fee be submitted to the Clerks Office via filing the event Pro
                                Has Vice Filing Fee. Ordered by Judge Brian M. Cogan on 1/22/2024. (PW) (Entered:
                                Ol/22/2024)
   01/23/2024                   NOTICE of Appearance by Robert W. Sparkes, III on behalf of Amazon.com Services
                                LLC, Amazoncom, Inc, Amazoncom, Inc, Amazoncom, Inc. (notification declined or
                                already on case) Associated Cases: 1:23-md-03089-BMC et al. (Sparkes, Robert)
                                (Entered: 01/23/2024)
   01/23/2024             8 NOTICE of Appearance by Jason P. Sultzer on behalf of Pamela Joyner, Cathy Suleiman,
                                Kristin Lawrence, Kamonica McWhite, Sharon Rourk, Annette Striegel (aty to be
                                noticed) (Sultzer, Jason) (Entered: 01/23/2024)
   01/23/2024             M MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17490570
                             by Wal-Mart Inc.. (Attachments: # _1 Affidavit Ethan Davis Declaration ISO Motion, # 2
                             Exhibit Exhibit A - DC Cert of GS, # Q Exhibit Exhibit B - CA Cert of GS, # 4 Exhibit
                             Exhibit C - NY Cert of GS, # Q Proposed Order Proposed Order, # Q Certificate of Service
                             Certificate of Service) (Davis, Ethan) (Entered: 01/23/2024)
   01/23/2024            Q MOTION to Appear Pro Hac Vice for Bryan F Aylstock Filing fee $ 150, receipt number
                                NYEDC- 17491332 by Kaycie Coppock, Steve Audelo. (Attachments: # _ Affidavit in
                                Support by Bryan F. Aylstock, # 2 Ex. A-Certificates of Good Standing, # 3 [Proposed }
                                Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09059-BMC, 1:23-cv-09062-
                                BMC (Aylstock, Bryan) (Entered: 01/23/2024)
   01/23/2024             8 MOTION to Appear Pro Hac Vice of Ruby Nagamine Filing fee $ 150, receipt number
                                NYEDC- 17491293 by Amazoncom Services LLC, Amazon.com, Inc, Amazoncom, Inc,
                                Amazon.com, Inc.. (Attachments: # 1 Affidavit, # _2 Admission Information Certificate of
                                Good Standing, # Q Proposed Order) Associated Cases: 1:23-md-03089-BMC et al.
                                (Nagamine, Ruby) (Entered: 01/23/2024)
   01/23/2024             8 NOTICE of Appearance by William A. Kershaw on behalf of Andrew Gutierrez, Emily
                                Hansen, Summer Milous (notification declined or already on case) Associated Cases:
                                1:23-md-03089-BMC, 1:23-cv-09259-BMC (Kershaw, William) (Entered: 01/23/2024)
                          @_
   01/23/2024                   NOTICE of Appearance by Ian Barlow on behalf of Andrew Gutierrez, Emily Hansen,
                                Summer Milous (notification declined or already on case) Associated Cases: l:23-md-
                                03089-BMC, 1:23-cv-09259-BMC (Barlow, Ian) (Entered: Ol/23/2024)
   01/24/2024             8 NOTICE of Appearance by Elizabeth A. Fegan on behalf of Anthony DeRosa
                                (notification declined or already on case) (Fegan, Elizabeth) (Entered: Ol/24/2024)
   01/24/2024             4 NOTICE of Appearance by Diana Cole Surprenant on behalf of Associated Wholesale
                                Grocers Inc, Valu Merchandisers Co. (notification declined or already en case) Associated
                                Cases: 1:23-md-03089-BMC, 1:23-cv-09061-BMC (Surprenant, Diana) (Entered:
                                Ol/24/2024)
   01/24/2024             8 NOTICE of Appearance by Mark Lesko on behalf of CVS Pharmacy Inc. (aty to be
                                noticed) (Lesko, Mark) (Entered: 01/24/2024)
   01/24/2024            8 NOTICE of Appearance by Mark Lesko on behalf of Target Corporation (aty to be
                                noticed) (Lesko, Mark) (Entered: 01/24/2024)


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   01/24/2024             x NOTICE of Appearance by Mark Lesko on behalf of Rite Aid Corporation (aty to be
                                noticed) (Lesko, Mark) (Entered: 01/24/2024)
   01/24/2024             Q NOTICE of Appearance by Mark Lesko on behalf of Costco Wholesale Corp. (aty to be
                          Q-_noticed) (Lesko, Mark) (Entered: Ol/24/2024)
   01/24/2024                   NOTICE of Appearance by Mark Lesko on behalf of Walgreen Co (aty to be noticed)
                                (Lesko, Mark) (Entered: 01/24/2024)
   01/24/2024             0 NOTICE of Appearance by Dale Goldstein on behalf of CVS Pharmacy Inc. (aty to be
                                noticed) (Goldstein, Dale) (Entered: Ol/24/2024)
   01/24/2024             M NOTICE of Appearance by Dale Goldstein on behalf of Target Corporation (aty to be
                                noticed) (Goldstein, Dale) (Entered: Ol/24/2024)
   01/24/2024             8 NOTICE of Appearance by Dale Goldstein on behalf of Rite Aid Corporation (aty to be
                                noticed) (Goldstein, Dale) (Entered: Ol/24/2024)
   01/24/2024             x NOTICE of Appearance by Dale Goldstein on behalf of Costco Wholesale Corp. (aty to
                                be noticed) (Goldstein, Dale) (Entered: Ol/24/2024)
   01/24/2024             3 NOTICE of Appearance by Dale Goldstein on behalf of Walgreen Co (aty to be noticed)
                                (Goldstein, Dale) (Entered: 01/24/2024)
   01/24/2024             3 NOTICE of Appearance by Nilda Maria Isidro on behalf of CVS Pharmacy Inc. (aty to be
                                noticed) (Isidro, Nilda) (Entered: 01/24/2024)
   01/24/2024             3 NOTICE of Appearance by Nilda Maria Isidro on behalf of Target Corporation (aty to be
                                noticed) (Isidro, Nilda) (Entered: 01/24/2024)
   01/24/2024            Q NOTICE of Appearance by Nilda Maria Isidro on behalf of Rite Aid Corporation (aty to
                                be noticed) (Isidro, Nilda) (Entered: 01/24/2024)
   01/24/2024             Q NOTICE of Appearance by Nilda Maria Isidro on behalf of Costco Wholesale Corp. (aty
                                to be noticed) (Isidro, Nilda) (Entered: 01/24/2024)
   01/24/2024            Q NOTICE of Appearance by Nilda Maria Isidro on behalf of Walgreen Co (aty to be
                                noticed) (Isidro, Nilda) (Entered: 01/24/2024)
   01/24/2024             Q MOTION to Appear Pro Hac Vice NOTICE OF MOTION TO ADMIT DEREK W
                                LOESER PRO HAC VICE Filing fee s 150, receipt number nyEDc-17497499 by Martha
                                A. Page, Rebecca Lynn Reyes. (Attachments: # _1 Affidavit of Derek Loeser, # 2 Exhibit
                                A - Certificates of Good Standing, # 3 Proposed Order) Associated Cases: 1:23-md-
                                03089-BMC, 1:23-cv-09290-BMC, 1:23-cv-09308-BMC (Loeser, Derek) (Entered:
                                01/24/2024)
   01/24/2024             M MOTION to Appear Pro Hao Vice Filing fee $ 150, receipt number ANYEDC-17497548
                             by Shawn L. Thomas, Charles Geoffrey Woods. (Attachments: # _1 Affidavit, # Z Exhibit
                             A - Certificate of Good Standing (PA), # Q Exhibit B - Certificate of Good Standing (NY),
                             # in Exhibit C - Certificate of Good Standing (DE), # Q Proposed Order) (Yeates, Melissa)
                             (Entered: Ol/24/2024)
   01/24/2024             Q MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17497589
                                by Shawn L. Thomas, Charles Geoffrey Woods. (Attachments: # l Affidavit, # 2 Exhibit
                                A - Certificate of Good Standing (PA), # Q Exhibit A - Certificate of Good Standing (CA),
                                # 4 Exhibit A - Certificate of Good Standing (VA)) (Jacobson, Jordan) (Entered:
                                01/24/2024)
   01/25/2024                   ORDER granting Q in case 1:23-md-03089 Motion for Leave to Appear Pre Hac Vice.
                                The attorney shall register for ECF, registration is available online at www.pacer.gov.
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                                Once registered, the attorney shall file a notice of appearance and ensure that s/he
                                receives electronic notification of activity in this case. Also, the attorney shall ensure the
                                $150 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
                                Filing Fee. Ordered by Judge Brian M. Cogan on 1/25/2024. Associated Cases: l:23-md-
                                03089-BMC, 1:23-cv-09290-BMC, 1:23-cv-09308-BMC (PW) (Entered: 01/25/2024)
   01/25/2024             @ NOTICE of Appearance by Benjamin Stephen Mclntosh on behalf of Daniel Heaghney,
                            Daryl Means (notification declined or already en case) Associated Cases: l:23-md-
                            03089-BMC, 1:23-cv-09276-BMC, 1:23-cv-09282-BMC (Mclntesh, Benjamin) (Entered:
                                01/25/2024)
   01/25/2024             Q NOTICE of Appearance by Derek W. Loeser on behalf of Martha A. Page, Rebecca Lynn
                                Reyes (notification declined or already en case) Associated Cases: 1:23-md-03089-BMC,
                                1:23-cv-09290-BMC, 1:23-cv-09308-BMC (Leeser, Derek) (Entered: 01/25/2024)
   01/26/2024             8 NOTICE of Appearance by Peter J Mousey on behalf of Anthony Coleman, Joy Taylor,
                                Darrell Wayne Grimsley, Jr. (notification declined or already on case) Associated Cases:
                                1:23-md-03089-BMC, 1:23-cv-09258-BMC, 1:23-cv-09265-BMC (Mougey, Peter)
                                (Entered: 01/26/2024)
                          Q__
   01/26/2024                   NOTICE of Appearance by Laura S Dunning on behalf of Anthony Coleman, Darrell
                                Wayne Grimsley, Jr., Joy Taylor (aty to be noticed) Associated Cases: l:23-md-03089-
                                BMC, 1:23-cv-09258-BMC, 1:23-cv-09265-BMC (Dunning, Laura) (Entered:
                                01/26/2024)
   01/29/2024             L0    MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17508216
                                by Daniel Flick, Claudette Sanes, Janis Zimmerman, Karen Schwartz, Ruta Taito, John
                                Jeffrey Ward, Regina Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle
                                Garza, Toni Heuchan, Erzen Krica, Michael Lee, Thomas Lewis, Allison Sammarco,
                                Claudette Sanes, Karen Schwartz, Randall Sygal, Ruta Taito, Hollie Verdi, John Jeffrey
                                Ward, Janis Zimmerman, Jonathan Brandman, Cece Davenport, Michelle Garza, Toni
                                Heuchan, Michael Lee, Dena Fichot, Thomas Lewis. (Attachments: # l Declaration, #2
                                Exhibit A: Certificate of Good Standing, # Q Proposed Order) Associated Cases: l:23-md-
                                03089-BMC et al. (Braden, Scott) (Entered: 01/29/2024)
   01/29/2024            1 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17509934
                                by Kristin Depaola. (Attachments: # _1 Affidavit, # 2 Exhibit, # 3 Exhibit) (Goldenberg,
                                Marlene) (Entered: 01/29/2024)
   01/29/2024             L2 MOTION to Appear Pro Hac Vice of Daniel 8. Rogers Filing fee $ 150, receipt number
                                ANYEDC- 17511688 by Publix Super Markets, Inc.. (Attachments: # l Affidavit of
                                Daniel B. Rogers, # 2 Proposed Order) (Rogers, Daniel) (Entered: 01/29/2024)
   01/29/2024                   ORDER granting L0 L1 L2 Motions for Leave to Appear Pro Hac Vice. The attorney shall
                                register for ECF, registration is available online at www.pacer.gov. Once registered, the
                                attorney shall file a notice of appearance and ensure that s/he receives electronic
                                notification of activity in this case. Also, the attorney shall ensure the $150 admission fee
                                be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered
                                by Judge Brian M. Cogan on 1/29/2024. (PW) (Entered: 01/29/2024)




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   01/29/2024             L3 NOTICE of Appearance by Scott G. Braden on behalf of Daniel Flick, Claudette Sanes,
                             Janis Zimmerman, Karen Schwartz, Ruta Taito, John Jeffrey Ward, Regina Brookshier,
                             Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica,
                             Michael Lee, Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen Schwartz,
                             Randall Sygal, Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman, Jonathan
                             Brandman, Cece Davenport, Michelle Garza, Toni Heuchan, Michael Lee, Dena Fichot,
                             Thomas Lewis (notification declined or already on case) Associated Cases: l:23-md-
                             03089-BMC et al. (Braden, Scott) (Entered: 01/29/2024)
   01/30/2024             L4 NOTICE of Appearance by Marlene Jaye Goldenberg on behalf of Kristin Depaola
                             (notification declined or already on case) (Goldenberg, Marlene) (Entered: 01/30/2024)
   01/30/2024                   ORDER granting 8 Q QB Q Motions for Leave to Appear Pro Hac Vice. The
                                attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                                registered, the attorney shall file a notice of appearance and ensure that s/he receives
                                electronic notification of activity in this case. Also, the attorney shall ensure the $150
                                admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing
                                Fee. Ordered by Judge Brian M. Cogan on 1/30/2024. (PW) (Entered: 01/30/2024)
   01/30/2024             L5 MOTION to Appear Pro Hac Vice of Michael Klebanov Filing fee $ 150, receipt number
                             ANYEDC- 17516604 by Dierbergs Markets, Inc.. (Attachments: # 1 Affidavit, # _2
                             Admission Information Certificates of Good Standing, # Q Proposed Order) (Klebanov,
                             Michael) (Entered: 01/30/2024)
   01/30/2024             L5 MOTION to Appear Pro Hac Vice Tanner Cook Filing fee $ 150, receipt number
                             ANYEDC-17516779 by Dierbergs Markets, Inc.. (Attachments: # _ Affidavit, # _2
                             Admission Information Certificate of Good Standing, # Q Proposed Order) (Cook,
                             Tanner) (Entered: 01/30/2024)
   01/30/2024             L     MOTION to Appear Pro Hac Vice for Livia M. Kiser Filing fee $ 150, receipt number
                                NYEDC- 17516314 by Walmart Inc,, Walmart Inc,, Wal-Mart Inc., Wal-Mart Stores East
                                l, LP, Wal-Mart Stores East, LP, Walmart Inc,. (Attachments: # 1 Declaration of Livia M.
                                Kiser, # _2 Exhibit A - Certificate of Good Standing (Cal), # Q Exhibit B - Certificate of
                                Good Standing (Ill), # 4 Proposed Order, # Q Certificate of Service) Associated Cases:
                                1:23-md-03089-BMC et al. (Kiser, Livia) (Entered: 01/30/2024)
   01/30/2024             LE MOTION to Appear Pre Hac Vice for David P Milian Filing fee $ 150, receipt number
                             ANYEDC-17517081 by Jay Valinsky. (Attachments: # l Exhibit) (Milian, David)
                             (Entered: 01/30/2024)
   01/30/2024             L9 NOTICE of Appearance by Michael L. Resch on behalf of Walmart Inc,, Walmart Inc,,
                             Wal-Mart Inc., Wal-Mart Stores East l, LP, Wal-Mart Stores East, LP, Walmart Inc, (aty
                             to be noticed) (Attachments: # l Certificate of Service) Associated Cases: l:23-md-
                             03089-BMC et al. (Resch, Michael) (Entered: 01/30/2024)
   01/30/2024             M     MOTION to Appear Pro Hac Vice Filing fee 35 150, receipt number ANYEDC-17517426
                                by Publix Super Markets, Inc.. (Attachments: # _ Declaration of Michael Healy ISO
                                Admission Pro Hac Vice, # 2 Proposed Order for Admission Pro Hac Vice of Michael
                                Healy) (Healy, Michael) (Entered: 01/30/2024)
   01/31/2024             8 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17520702
                                by Robert Fichera, Natalie Juneau, Harold Nyanjom, Archanatep Boonparn, Kristin
                                Depaola, Mari Jones, Natalie Juneau, Harold Nyanjem, Rachel Parker, Richard Scoffier,
                                Richard Sceffier, Kristin Depaola, Rachel Parker. (Attachments: # l Affidavit, # _2 Exhibit
                                Certificates of Good Standing) Associated Cases: 1:23-md-03089-BMC et al. (Stanoch,
                                David) (Entered: Ol/31/2024)


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   01/31/2024            Q MOTION to Appear Pro Hac Vice Tyler S. Grader Filing fee $ 150, receipt number
                                NYEDC-17521409 by Shawn L. Thomas, Charles Geoffrey Weeds. (Attachments: # _
                                Affidavit, # 2 Exhibit A - Certificate of Good Standing (PA), # Q Exhibit B - Certificate of
                                Good Standing (NJ), # 4 Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-
                                cv-09303-BMC (Graden, Tyler) (Entered: 01/31/2024)
   01/31/2024             8 NOTICE of Appearance by Sarah Westcot on behalf of Eduardo Flores, Jordan Nelson,
                                Regina Peralta, Natasha Hernandez (notification declined or already on case) Associated
                                Cases: 1:23-md-03089-BMC, 1:23-cv-09257-BMC, 1:23-cv-09261-BMC, l:23-cv-
                                09263-BMC (Westcot, Sarah) (Entered: 01/31/2024)
   01/31/2024             M MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17521882
                             by Associated Wholesale Grocers Inc, Valu Merchandisers Co.. (Attachments: # l
                             Affidavit, # Z Certificate of Good Standing) Associated Cases: 1:23-md-03089-BMC,
                             1:23-cv-09061-BMC (Sensenbrenner, Paige) (Entered: 01/31/2024)
   01/31/2024             8 NOTICE of Appearance by Daniel Brandon Rogers en behalf of Publix Super Market,
                                Inc., Publix Super Markets, Inc. (aty to be noticed) Associated Cases: l:23-md-03089-
                                BMC, 1:23-cv-09264-BMC, 1:23-cv-09272-BMC, l:24-cv-00124-BMC (Rogers, Daniel)
                                (Entered: 01/3 1/2024)
   02/01/2024             M NOTICE of Appearance by Bryan F. Aylstock on behalf of Kaycie Coppock, Steve
                                Audelo (notification declined or already on case) Associated Cases: l:23-md-03089-
                                BMC, 1:23-cv-09059-BMC, 1:23-cv-09062-BMC (Aylsteck, Bryan) (Entered:
                                02/01/2024)
   02/01/2024             M     NOTICE of Appearance by James Lawrence Bernard on behalf of Reckitt Benckiser
                                LLC, RB Health (US) LLC, RB Health (US) LLC, Reckitt Benckiser Pharmaceuticals
                                Inc., RB Health LLC, Reckitt Benckiser LLC, Reckitt & Benckiser LLC, Reckitt
                                Benckiser, LLC (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al.
                                (Bernard, James) (Entered: 02/01/2024)
   02/01/2024             Q MOTION to Appear Pro Hac Vice of Jennz]'er Nagle Filing fee $ 150, receipt number
                                NYEDC- 17525785 by Amazoncom Services LLC, Amazon.com, Inc, Amazoncom, Inc,
                                Amazon.com, Inc.. (Attachments: # _1 Affidavit In Support of Jennifer Nagle, # _2 Exhibit
                                Certificate of Good Standing (Massachusetts), # Q Exhibit Certificate of Good Standing
                                (New Jersey), # 4 Proposed Order) Associated Cases: 1:23-md-03089-BMC et al. (Nagle,
                                Jennifer) (Entered: 02/0 1/2024)
   02/02/2024             8     MOTION to Appear Pro Hac Vice ofR. Jason Richards Filing fee $ 150, receipt number
                                NYEDC- 17531125 by Kaycie Coppock, Steve Audelo. (Attachments: # 1 Affidavit in
                                Support by R. Jason Richards, # 2 Exhibit Ex. A-Certificates of Good Standing, # 8
                                Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09059-BMC, 1:23-cv-
                                09062-BMC (Richards, R.) (Entered: 02/02/2024)
   02/05/2024                   ORDER granting L5 L5 L LE 8 Motions for Leave to Appear Pre Hac Vice. The
                                attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                                registered, the attorney shall file a notice of appearance and ensure that s/he receives
                                electronic notification of activity in this case. Also, the attorney shall ensure the $150
                                admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing
                                Fee. Ordered by Judge Brian M. Cogan on 2/5/2024. (PW) (Entered: 02/05/2024)
   02/05/2024                   ORDER granting 8 Q M Motions for Leave to Appear Pro Hac Vice. The attorney shall
                                register for ECF, registration is available online at www.pacer.gov. Once registered, the
                                attorney shall file a notice of appearance and ensure that s/he receives electronic
                                notification of activity in this case. Also, the attorney shall ensure the $150 admission fee


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                                be submitted to the Clerks Office via filing the event Pro Has Vice Filing Fee. Ordered
                                by Judge Brian M. Cowan on 2/5/2024. (PW) (Entered: 02/05/2024)
   02/05/2024             M NOTICE of Appearance by Zarrina Ozari on behalf of Layne Barter, Jaedon Daniels,
                                Lauren Debeliso, Tatyana Deldltyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri
                                Lamdon, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Amy
                                Weinberg, Mychael Willon (aty to be noticed) (Ozari, Zarrina) (Entered: 02/05/2024)
   02/05/2024             8     NOTICE of Appearance by Ryan Clarkson on behalf of Layne Barter, Jaedon Daniels,
                                Lauren Debeliso, Tatyana Deldltyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri
                                Lamdon, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Olivia
                                Rodesta, Amy Weinberg, Mychael Willon (aty to be noticed) (Clarkson, Ryan) (Entered:
                                02/05/2024)
   02/06/2024             2 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17542415
                             by Andrew Gutierrez, Emily Hansen, Summer Milous. (Attachments: # _1 Exhibit 1 -
                             Certificate in Good Standing, # 2 Exhibit 2 - Affidavit in Support of Motion to Appear, #
                             Q Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09259-BMC
                             (Stokes, Kelsey) (Entered: 02/06/2024)
                          8__
   02/06/2024                   NOTICE of Appearance by Melissa L Yeates on behalf of Shawn L. Thomas, Charles
                                Geoffrey Woods (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, l:23-cv-
                                09303-BMC (Yeates, Melissa) (Entered: 02/06/2024)
   02/06/2024             % NOTICE of Appearance by Tyler Graden on behalf of Shawn L. Thomas, Charles
                                Geoffrey Woods (notification declined or already on case) Associated Cases: l:23-md-
                                03089-BMC, 1:23-cv-09303-BMC (Graden, Tyler) (Entered: 02/06/2024)
   02/06/2024             8 NOTICE of Appearance by Jordan Jacobson on behalf of Shawn L. Thomas, Charles
                                Geoffrey Woods (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-
                                09303-BMC (Jacobson, Jordan) (Entered: 02/06/2024)
   02/06/2024             % NOTICE of Appearance by Hannah Y Shay Chanoine on behalf of Johnson & Johnson
                                Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc.,
                                Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson &
                                Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
                                Consumer, Inc. (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al.
                                (Chanoine, Hannah Y) (Entered: 02/06/2024)
   02/07/2024             8     MOTION to Appear Pro Hac Vice of Frederick Longer Filing fee $ 150, receipt number
                                ANYEDC- 17546616 by Millard Adkins, Rosalyn Anderson. (Attachments: # 1 Affidavit
                                of Frederick S. Longer, # _2 Exhibit Certificate of Good Standing, # 3 Exhibit Certificate
                                of Good Standing, # 4 Proposed Order, # Q Certificate of Service) (Longer, Frederick)
                                (Entered: 02/07/2024)
   02/07/2024             M MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17548035
                                by Layne Barter, Jaedon Daniels, Lauren Debeliso, Tatyana Deldltyar, Jose Cortez
                                Hernandez, Lorette Kenney, Dimitri Lamdon, Gwen Lewi, Robert Lundin, Lateef
                                Murdock, Marcel Perez Pirio, Elie El Rai, Olivia Rodesta, Amy Weinberg, Mychael
                                Willon. (Attachments: # l Affidavit in Support of Glenn Danas, # 2 Exhibit A- Certificate
                                of Good Standing, # Q Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-
                                cv-09279-BMC (Danas, Glenn) (Entered: 02/07/2024)
   02/07/2024                   MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17548142
                                by Layne Barter, Jaedon Daniels, Lauren Debeliso, Tatyana Deldityar, Jose Cortez
                                Hernandez, Lorette Kenney, Dimitri Lamdon, Gwen Lewi, Robert Lundin, Lateef
                                Murdock, Marcel Perez Pirio, Elie El Rai, Olivia Rodesta, Amy Weinberg, Mychael
                                Willon. (Attachments: # l Affidavit in Support of Shireen M. Clarkson, # Z Exhibit A-
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                                Certificate of Good Standing, # Q Proposed Order) Associated Cases: 1:23-md-03089-
                                BMC, 1:23-cv-09279-BMC (Clarkson, Shireen) (Entered: 02/07/2024)
   02/08/2024           100 NOTICE of Appearance by Christopher Munro Young on behalf of Bayer Corporation,
                            Bayer Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health
                            Care, LLC, Bayer Corporation (notification declined or already on case) Associated
                            Cases: 1:23-md-03089-BMC et al. (Young, Christopher) (Entered: 02/08/2024)
   02/08/2024                   ORDER granting 88 8 %2 Motions for Leave to Appear Pro Hac Vice. The
                                attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                                registered, the attorney shall file a notice of appearance and ensure that s/he receives
                                electronic notification of activity in this case. Also, the attorney shall ensure the $150
                                admission fee be submitted to the Clerks Office via filing the event Pro Has Vice Filing
                                Fee. Ordered by Judge Brian M. Cogan on 2/8/2024. (PW) (Entered: 02/08/2024)
   02/08/2024           101 NOTICE of Appearance by Frederick S. Longer on behalf of Millard Adkins, Frank
                            Anderson, Rosalyn Anderson, Donna Bailey, Eli Erlick, Tina Haluszka, Rosalie Jackson,
                            Recoa Russell (aty to be noticed) (Attachments: # l Certificate of Service) (Longer,
                            Frederick) (Entered: 02/08/2024)
   02/08/2024           102 MOTION to Appear Pro Hac Vice re: Amy La u rendeau Filing fee $ 150, receipt number
                            NYEDC-17551372 by Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer
                            Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson &
                            Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
                            Consumer Inc., Johnson & Johnson Consumer, Inc.. (Attachments: # _1 Affidavit Affidavit
                            of Amy J. Laurendeau, # 2 Exhibit A - COGS, # Q Proposed Order) Associated Cases:
                            1:23-md-03089-BMC et al. (Laurendeau, Amy) (Entered: 02/08/2024)
   02/08/2024           103 MOTION to Appear Pro Hac Vice of Lauren S. Colton Filing fee $ 150, receipt number
                            NYEDC- 17551506 by Reckitt Benckiser LLC, Reckitt Benckiser Pharmaceuticals Inc.,
                            RB Health (US) LLC, RB Health (US) LLC, RB Health LLC, Reckitt Benckiser LLC,
                            Reckitt & Benckiser LLC, Reckitt Benckiser, LLC. (Attachments: # 1 Affidavit of Lauren
                            S. Colton, # 2 Exhibit A - Cerificate of Good Standing, # Q Proposed Order) Associated
                            Cases: 1:23-md-03089-BMC et al. (Colton, Lauren) (Entered: 02/08/2024)
   02/08/2024           104 NOTICE of Appearance by Michael Klebanov on behalf of Dierbergs Markets, Inc .
                            (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-
                            cv-09282-BMC (Klebanov, Michael) (Entered: 02/08/2024)
   02/08/2024           105 NOTICE of Appearance by Tanner Cook on behalf of Dierbergs Markets, Inc.
                            (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-
                            cv-09282-BMC (Cook, Tanner) (Entered: 02/08/2024)
   02/08/2024           106 NOTICE of Appearance by Glenn Danas, I on behalf of Layne Barter, Jaedon Daniels,
                            Lauren Debeliso, Tatyana Deldltyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri
                            Lamdon, Gwen Lewi, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai,
                            Olivia Rodesta, Amy Weinberg, Mychael Willon (notification declined or already on
                            case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09279-BMC (Danas, Glenn)
                            (Entered: 02/08/2024)
   02/08/2024           107     NOTICE of Appearance by Shireen M. Clarkson on behalf of Layne Barter, Jaedon
                                Daniels, Lauren Debeliso, Tatyana Deldltyar, Jose Cortez Hernandez, Lorette Kenney,
                                Dimitri Lamdon, Gwen Lewi, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie
                                El Rai, Olivia Rodesta, Amy Weinberg, Mychael Willon (notification declined or already
                                on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09279-BMC (Clarkson,
                                Shireen) (Entered: 02/08/2024)


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   02/09/2024           108 NOTICE of Appearance by Jennifer Janeira Nagle on behalf of Amazon.com Services
                            LLC, Amazoncom, Inc, Amazoncom, Inc, Amazoncom, Inc. (notification declined or
                            already on case) Associated Cases: 1:23-md-03089-BMC et al. (Nagle, Jennifer)
                            (Entered: 02/09/2024)
   02/09/2024           109 NOTICE of Appearance by Kelsey Stokes on behalf of Andrew Gutierrez, Emily Hansen,
                            Summer Milous (notification declined or already on case) Associated Cases: l:23-md-
                            03089-BMC, 1:23-cv-09259-BMC (Stokes, Kelsey) (Entered: 02/09/2024)
   02/09/2024            110 MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17556526
                             by Procter & Gamble Ce.. (Attachments: # _1 Declaration, # _2 Exhibit A. Certificate of
                             Good Standing DC, # 3 Exhibit B. Certificate of Good Standing Ill., # in Proposed Order)
                             (Soukup, Andrew) (Entered: 02/09/2024)
   02/09/2024            111 MOTION to Appear Pre Hac Vice OF CORTLIN H. LANNIN Filing fee $ 150, receipt
                                number ANYEDC- 17556764 by Procter & Gamble Co.. (Attachments: # l Declaration, #
                                2 Exhibit A. Certificate of Good Standing Cal., # 3 Proposed Order) (Soukup, Andrew)
                                (Entered: 02/09/2024)
   02/09/2024            112 NOTICE of Appearance by Jay P. Lefkowitz on behalf of GlaxoSmithKline Consumer
                             Healthcare Holdings (US) LLC, GlaxoSmithKline LLC, Haleon PLC, Haleon Us Capital
                             LLC, Pfizer Inc. (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al.
                             (Lefkowitz, Jay) (Entered: 02/09/2024)
   02/09/2024            113 NOTICE of Appearance by Jacob Rae on behalf of GlaxoSmithKline Consumer
                             Healthcare Holdings (US) LLC, GlaxoSmithKline LLC, Haleon PLC, Haleon Us Capital
                             LLC, Pfizer Inc. (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al. (Rae,
                             Jacob) (Entered: 02/09/2024)
   02/09/2024            114 MOTION to Appear Pro Hac Vice of Robyn E. Bladow Filing fee $ 150, receipt number
                             ANYEDC-17557933 by GlaxoSmithKline Consumer Healthcare Holdings (US) LLC,
                             GlaxoSmithKline LLC, Haleon PLC, Haleon Us Capital LLC, Pfizer Inc.. (Attachments:
                             # l Declaration in Support, # _2 Exhibit - Certificate of Good Standing (CA), # Q
                             Certificate of Service, # 4 Proposed Order) (Bladow, Robyn) (Entered: 02/09/2024)
   02/09/2024            115 MOTION to Appoint Counsel by Plaintiffs. (Attachments: # _1 Memorandum in Support,
                             # _2 Proposed Order, # Q Exhibit B. List of Firms Supporting Slate, # 4 Exhibit C.
                             Declaration of Michael A. London, # Q Exhibit D. Declaration of Bryan A. Aylstock, # Q
                             Exhibit E. Declaration of James E. Cecchi, # 1 Exhibit F. Declaration of Kiley L.
                             Grombacher, # 8 Exhibit G. Declaration of Adam J. Levitt, # Q Exhibit H. Declaration of
                             Elizabeth A. Fegan, # M Exhibit I. Declaration of Jonathan D. Selbin, # L Exhibit J.
                             Declaration of Christopher A. Seeger, # L Exhibit K. Declaration of Jason P. Sultzer, #
                             L Exhibit L. Declaration of Lindsey N. Scarcello, # L Exhibit M. Declaration of Sarah
                             N. Wescot, # L Exhibit N. Declaration of Michael A. Sacchet, # M Exhibit O.
                             Declaration of Shireen M. Clarkson, # L Exhibit P. Declaration of Alexander E. Barnett,
                             #    Exhibit Q. Declaration of Kelsey L. Stokes, # L Exhibit R. Declaration of Darren E.
                             Kaplan, # Exhibit S. Declaration of Jordan E. Jacobson, #4 Exhibit T. Declaration of
                             Laura S. Dunning, # Q Exhibit U. Declaration of Fred S. Longer, # Q Exhibit V.
                             Declaration of Marlene J. Goldenberg, # M Exhibit W. Declaration of Stuart A. Davidson,
                             # 8 Exhibit X. Declaration of Melanie H. Muhlstock) (London, Michael) (Entered:
                             02/09/2024)
   02/12/2024            116    NOTICE of Appearance by Ruby A. Nagamine on behalf of Amazoncom Services LLC,
                                Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc. (notification declined or already
                                on case) Associated Cases: 1:23-md-03089-BMC et al. (Nagamine, Ruby) (Entered:
                                02/12/2024)

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   02/12/2024           117     NOTICE of Appearance by YuQing Emily Min on behalf of All Plaintiffs (aty to be
                                noticed) Associated Cases: 1:23-md-03089-BMC et al. (Min, YuQing) (Entered:
                                02/12/2024)
   02/12/2024           118     MOTION to Appear Pro Hac Vice YuQing Min Filing fee $ 200, receipt number NYEDC-
                                17561420 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
                                Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack,
                                William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby
                                Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                                Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # l Exhibit
                                Certificate of Standing, # 2 Proposed Order) Associated Cases: 1:23-md-03089-BMC et
                                al. (Min, YuQing) (Entered: 02/12/2024)
   02/12/2024            119    NOTICE of Appearance by Andrew Daniel Bluth on behalf of Robert Haid, Rethea
                                Morris, William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena-Venegas ,
                                Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert
                                Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee,
                                Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard
                                Chavez (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al. (Bluth, Andrew)
                                (Entered: 02/12/2024)
   02/12/2024           120 MOTION to Appear Pro Hac Vice Andrew D. Blush Filing fee $ 200, receipt number
                            NYEDC- 17562848 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger,
                            Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi
                            Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
                            Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                            Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # l Exhibit
                            Certificate of Standing, # 2 Proposed Order) Associated Cases: 1:23-md-03089-BMC et
                            al. (Bluth, Andrew) (Entered: 02/12/2024)
   02/12/2024           121 NOTICE of Appearance by Christopher Ross Rodriguez on behalf of Robert Haid, Rethea
                            Morris, William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena-Venegas ,
                            Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert
                            Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee,
                            Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard
                            Chavez (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al. (Rodriguez,
                            Christopher) (Entered: 02/12/2024)
   02/12/2024           122 MOTION to Appear Pro Hac Vice Christopher R. Rodriguez Filing fee $ 200, receipt
                            number NYEDC-17562985 by Robert Haid, Rethea Morris, William Bryan, Jack
                            Hinsberger, Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung,
                            Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi
                            Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise,
                            Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # l
                            Exhibit Certificate of Standing, # 2 Proposed Order) Associated Cases: l:23-md-03089-
                            BMC et al. (Rodriguez, Christopher) (Entered: 02/12/2024)
   02/12/2024           123 NOTICE of Appearance by Kevin S. Hannon on behalf of Robert Haid, Rethea Morris,
                            William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward,
                            Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack
                            Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea
                            Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez
                            (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al. (Hannon, Kevin)
                            (Entered: 02/12/2024)



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   02/12/2024           124 MOTION to Appear Pro Hac Vice Kevin S. Hannon Filing fee $ 200, receipt number
                            NYEDC- 17563285 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger,
                            Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi
                            Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
                            Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                            Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # l Exhibit
                            Certificate of Standing, # 2 Proposed Order) Associated Cases: 1:23-md-03089-BMC et
                            al. (Hannon, Kevin) (Entered: 02/12/2024)
   02/13/2024           125 JPMDL Conditional Transfer Order (CTO-5): Pursuant to Rule 7.1 of the Rules of
                            Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s) on
                            the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                            New York for the reasons stated in the order of December 6, 2023, and, with the consent
                            of that court, assigned to the Honorable Brian M. Cowan. (AF) (Entered: 02/13/2024)
   02/13/2024           126 NOTICE of Appearance by Trent James Nelson on behalf of Robert Haid, Rethea Morris,
                            William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby
                            Jergins, Bill Jergins, Min Ji Jung, Christopher McPhee, Rethea Morris, Kenneth Levi
                            Pack, Izabel Pena-Venegas, Justin Vorise, Beverly Ward, Nancy Welharticky (aty to be
                            noticed) Associated Cases: 1:23-md-03089-BMC, l:24-cv-00269-BMC (Nelson, Trent)
                            (Entered: 02/13/2024)
   02/13/2024           127     MOTION to Appear Pro Hac Vice Trent J. Nelson Filing fee $ 200, receipt number
                                NYEDC- 17565496 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger,
                                Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi
                                Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
                                Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                                Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez. (Attachments: # l Exhibit
                                Certificate of Standing, # 2 Proposed Order) Associated Cases: 1:23-md-03089-BMC et
                                al. (Nelson, Trent) (Entered: 02/13/2024)
   02/13/2024           128 JPMDL Conditional Transfer Order (CTO-6): Pursuant to Rule 7.1 of the Rules of
                            Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s) on
                            the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                            New York for the reasons stated in the order of December 6, 2023, and, with the consent
                            of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered: 02/13/2024)
   02/13/2024                   ORDER denying Motions for Leave to Appear Pre Hac Vice as to 118 YuQing Min, 120
                                Andrew D. Bluth, 122 Christopher R. Rodriguez, 124 Kevin S. Hannon, 127 Trent J.
                                Nelson, without prejudice to renewal upon compliance with Local Civil Rule 1.3(c) (1)
                                and (2) which requires that in order to be admitted pro hac vice, the applicant must file an
                                affidavit stating whether he/she has been the subject of a criminal conviction and/or
                                disciplinary sanction. Ordered by Judge Brian M. Cogan on 2/13/2024. (PW) (Entered:
                                02/13/2024)
   02/13/2024                   ORDER granting 102 103 110 111 114 Motions for Leave to Appear Pro Hac Vice. The
                                attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                                registered, the attorney shall file a notice of appearance to ensure electronic notification
                                of activity in this case. Also, the attorney shall ensure the $200 admission fee be
                                submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered by
                                Judge Brian M. Cogan on 2/13/2024. (PW) (Entered: 02/13/2024)
   02/13/2024           129 DECLARATION re (l2l in 1:23-md-03089-BMC) Notice of Appearance,, re 122 Motion
                            to Admit Counsel Pro Hoc Vice by Robert Haid, Rethea Morris, William Bryan, Jack
                            Hinsberger, Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung,
                            Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi

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                               Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise,
                               Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez Associated Cases:
                               1:23-md-03089-BMC et al. (Rodriguez, Christopher) (Entered: 02/13/2024)
   02/13/2024           130 DECLARATION re (119 in 1:23-md-03089-BMC) Notice of APP€all2ll'1C€,, 120 Motion to
                            Admit Counsel Pro Hoc Vice by Robert Haid, Rethea Morris, William Bryan, Jack
                            Hinsberger, Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung,
                            Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi
                            Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise,
                            Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez Associated Cases :
                            1:23-md-03089-BMC et al. (Bluth, Andrew) (Entered: 02/13/2024)
   02/13/2024           131 DECLARATION re (123 in 1:23-md-03089-BMC) Notice of Appearance, 124 Motion to
                            Admit Counsel Pro Hoc Vice by Robert Haid, Rethea Morris, William Bryan, Jack
                            Hinsberger, Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung,
                            Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi
                            Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise,
                            Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez Associated Cases:
                            l:23-md-03089-BMC et al. (Hannon, Kevin) (Entered: 02/13/2024)
   02/13/2024           132 DECLARATION re (126 in 1:23-md-03089-BMC) Notice of Appearance, 127 Motion to
                            Admit Counsel Pro Hoc Vice by Robert Haid, Rethea Morris, William Bryan, Jack
                            Hinsberger, Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung,
                            Kenneth Levi Pack, William Bryan, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby
                            Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
                            Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez Associated Cases: l:23-md-
                            03089-BMC et al. (Nelson, Trent) (Entered: 02/13/2024)
   02/13/2024           133 DECLARATION re (117 in 1:23-md-03089-BMC) Notice of Appearance 118 Motion to
                            Admit Counsel Pro Hoc Vice by Robert Haid, Rethea Morris, William Bryan, Jack
                            Hinsberger, Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung,
                            Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi
                            Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise,
                            Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez Associated Cases:
                            1:23-md-03089-BMC et al. (Min, YuQing) (Entered: 02/13/2024)
   02/14/2024           134 NOTICE of Appearance by R. Jason Richards on behalf of Kaycie Coppock, Steve
                            Audelo (notification declined or already on case) Associated Cases: l:23-md-03089-
                            BMC, 1:23-cv-09059-BMC, 1:23-cv-09062-BMC (Richards, R.) (Entered: 02/14/2024)
   02/14/2024           135 Amended MOTION to Appoint Counsel by Plaintiffs. (Attachments: # _1 Memorandum in
                            Support Amended, # _2 Proposed Order Amended, # 3 Exhibit Exhibit B. List of Firms
                            Supporting Slate, # 4 Exhibit Exhibit C. Declaration of Michael A. London, # Q Exhibit
                            Exhibit D. Declaration of Bryan A. Aylstock, # Q Exhibit Exhibit E. Declaration of James
                            E. Cecchi, # 1 Exhibit Exhibit F. Declaration of Kiley L. Grombacher, # 8 Exhibit Exhibit
                            G. Declaration of Adam J. Levitt, # Q Exhibit Exhibit H. Declaration of Elizabeth A.
                            Fegan, # M Exhibit Exhibit I. Declaration of Jonathan D. Selbin, # L Exhibit Exhibit J.
                            Declaration of Christopher A. Seeger, # L Exhibit Exhibit K. Declaration of Jason P.
                               Sultzer, # Q Exhibit Exhibit L. Declaration of Lindsey N. Scarcello, # L Exhibit Exhibit
                               M. Declaration of Sarah N. Wescot, # M Exhibit Exhibit N. Declaration of Michael A.
                               Sacchet, # L Exhibit Exhibit O. Declaration of Shireen M. Clarkson, # L Exhibit
                               Exhibit P. Declaration of Alexander E. Barnett, # L Exhibit Exhibit Q. Declaration of
                               Kelsey L. Stokes, # L Exhibit Exhibit R. Declaration of Darren E. Kaplan, # Exhibit
                               Exhibit S. Declaration of Cari Laufenberg, #4 Exhibit Exhibit T. Declaration of Jordan
                               E. Jacobson, # Q Exhibit Exhibit U. Declaration of Laura S. Dunning, # Q Exhibit
                               Exhibit V. Declaration of Fred S. Longer, # M Exhibit Exhibit W. Declaration of Marlene

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                                J. Goldenberg, #0 Exhibit Exhibit X. Declaration of Melanie H. Muhlstock, #4
                                Exhibit Exhibit Y Declaration of Stuart A. Davidson) (London, Michael) (Entered:
                                02/14/2024)
   02/14/2024                   ORDER. The Court has reviewed Declarations of YuQing Min 133 , Trent J. Nelson 132                9

                                Kevin S. Hannon 131 , Andrew D. Bluth 130 , Christopher R. Rodriguez 129 , and finds
                                that they have complied with Local Rule 1.3(c). Counsels' motions to appear pro hac are
                                therefore granted. The attorney shall register for ECF, registration is available online at
                                www.pacer.gov. Once registered, the attorney shall file a notice of appearance to ensure
                                electronic notification of activity in this case. Also, each attorney shall ensure the $200
                                admission fee be submitted to the Clerk's Office via filing the event Pro Hac Vice Filing
                                Fee. Ordered by Judge Brian M. Cogan on 2/14/2024. (PW) (Entered: 02/14/2024)
   02/15/2024                   ORDER terminating 115 Motion to Appoint Counsel as superseded by 135 Amended
                                Motion to Appoint Counsel. Ordered by Judge Brian M. Cogan on 2/15/2024. (PW)
                                (Entered: 02/15/2024)
   02/15/2024           136 NOTICE of Appearance by Cortlin Hall Lannin on behalf of Procter & Gamble Co. (aty
                                to be noticed) (Lannin, Certlin) (Entered: 02/15/2024)
   02/15/2024           137     NOTICE of Appearance by Demet Basal on behalf of Haley Hadden, Bonnie Van Noy
                                (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-BMC (Basar,
                                Demet) (Entered: 02/15/2024)
   02/15/2024           138 NOTICE of Appearance by Andrew Soukup on behalf of Procter & Gamble Co.
                            (notification declined or already on case) (Soukup, Andrew) (Entered: 02/15/2024)
   02/15/2024           139 MOTION to Appear Pro Hac Vice of Rebecca Gilliland Filing fee $ 200, receipt number
                            NYEDC-17575621 by Haley Hadden, Bonnie Van Noy. (Attachments: # _1 Declaration
                            Declaration in Support of Pro Hac, # _2 Exhibit Certificate of Good Standing, # Q
                            Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-BMC (Basar,
                                Demet) (Entered: 02/15/2024)
   02/16/2024           140 NOTICE of Appearance by Robyn E. Bladow on behalf of GlaxoSmithKline Consumer
                            Healthcare Holdings (US) LLC, GlaxoSmithKline LLC, Haleon US Holdings LLC,
                            Haleon Us Capital LLC, Pfizer Inc. (aty to be noticed) Associated Cases: l:23-md-03089-
                            BMC et al. (Bladow, Robyn) (Entered: 02/16/2024)
   02/16/2024           141 NOTICE of Appearance by Lauren Schultz Colton on behalf of Reckitt Benckiser LLC,
                            RB Health (US) LLC, RB Health (US) LLC, Reckitt Benckiser Pharmaceuticals Inc., RB
                            Health LLC, Reckitt & Benckiser LLC, Reckitt Benckiser, LLC (aty to be noticed)
                            Associated Cases: 1:23-md-03089-BMC et al. (Colton, Lauren) (Entered: 02/16/2024)
   02/16/2024           142 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC-l7578754
                            by Jamieka Holmes, Pamela Joyner, Cathy Suleiman, Kristin Lawrence, Kamonica
                            McWhite, Krystal Rampalli, Sharon Rourk, Annette Striegel, Sierra Vent. (Attachments: #
                            l Affidavit In support of Motion Pro Has Vice, # 2 Proposed Order, # 3 Exhibit
                            Certificate of Good Standing SC) (Doolittle, Paul) (Entered: 02/16/2024)
   02/16/2024           143 MOTION to Appoint Counsel as to Leadership by Haley Hadden, Bonnie Van Noy.
                            (Attachments: # _1 Exhibit Resume of Gilliland, # 2 Exhibit Firm Bio, # Q Exhibit Order)
                            (Basar, Demet) (Entered: 02/16/2024)
   02/20/2024           144 NOTICE of Appearance by Daniel Brandon Rogers on behalf of Publix Supermarkets,
                            Inc. (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01099-BMC
                                (Rogers, Daniel) (Entered: 02/20/2024)
   02/20/2024           145 NOTICE of Appearance by Emilie W. Hamilton on behalf of Johnson & Johnson
                            Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc.,
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?967724885477506-L_1 _1 -1                                                      124/139
                                  Case: 24-3296,
                                  Case: 24-3296, 12/20/2024,
                                                 12/20/2024, DktEntry:
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                                Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson &
                                Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
                                Consumer, Inc. (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al.
                                (Hamilton, Emilie) (Entered: 02/20/2024)
   02/20/2024           146 NOTICE of Appearance by David Philip Milian on behalf of Jay Valinsky (notification
                            declined or already on case) Associated Cases: 1:23-md-03089-BMC, l:24-cv-00124-
                                BMC (Milian, David) (Entered: 02/20/2024)
   02/21/2024           147     NOTICE of Appearance by Colleen Gulliver on behalf of Bayer Corporation, Bayer
                                Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health Care,
                                LLC, Bayer Corporation (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al.
                                (Gulliver, Colleen) (Entered: 02/21/2024)
   02/22/2024           148 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17593061
                            by Haley Hadden, Bonnie Van Ney. (Attachments: # _1 Declaration Declaration in Support
                            of Motion for Pro Hac, # 2 Exhibit Certificate of Good Standing, # Q Proposed Order Pro
                                Hac Order for Jessica Haynes) Associated Cases: 1:23-md-03089-BMC, l:24-cv-0ll04-
                                BMC (Haynes, Jessica) (Entered: 02/22/2024)
   02/27/2024           149 Proposed Scheduling Order Case Management Order #I by Plaintiffs (Attachments: # _l
                            Proposed Order) (London, Michael) (Entered: 02/27/2024)
   02/28/2024           150 NOTICE by Haley Hadden, Bonnie Van Noy re 143 MOTION to Appoint Counsel as to
                            Leadership withdrawal (Baser, Demet) (Entered: 02/28/2024)
   02/28/2024                   ORDER terminating 143 Motion to Appoint Counsel as withdrawn. Ordered by Judge
                                Brian M. Cogan on 2/28/2024. (PW) (Entered: 02/28/2024)
   02/28/2024           151 RESPONSE to Motion re 135 Amended MOTION to Appoint Counsel / Defendants '
                            Joint Response to PlaintQ§'s 'Amended Motion for on Order Appointing Plaint's '
                            Proposed Leadership Structure and Appointing Interim Class Counsel filed by Albertsons
                            Companies, Inc., Amazon.com Services LLC, Amazon.com, Inc, Associated Wholesale
                            Grocers Inc, Bayer Healthcare L.L.C., CVS Pharmacy Inc., Costco Wholesale Corp.,
                            Dierbergs Markets, Inc., Haleon US Holdings LLC, Johnson & Johnson Consumer Inc.,
                            Procter & Gamble Co., Publix Super Markets, Inc., RB Health (US) LLC, Rite Aid
                            Corporation, Target Corporation, Valu Merchandisers Co., Wal-Mart Inc., Wal-Mart
                            Stores East l, LP, Walgreen Co. (Lefkowitz, Jay) (Entered: 02/28/2024)
   02/28/2024                   ORDER granting 139 142 148 Motions for Leave to Appear Pro Hac Vice. The attorney
                                shall register for ECF, registration is available online at www.pacer.gov. Once registered,
                                the attorney shall file a notice of appearance to ensure electronic notification of activity in
                                this case. Also, each attorney shall ensure the $200 admission fee be submitted to the
                                Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered by Judge Brian M.
                                Cogan on 2/28/2024. (PW) (Entered: 02/28/2024)
   02/28/2024           152 NOTICE of Appearance by Rebecca D Gilliland on behalf of Haley Hadden, Bonnie Van
                            Ney (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC,
                            1:24-cv-01104-BMC (Gilliland, Rebecca) (Entered: 02/28/2024)
   02/28/2024           153 NOTICE of Appearance by Rebecca D Gilliland on behalf of Haley Hadden, Bonnie Van
                            Ney (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC,
                            l:24-cv-01104-BMC (Gilliland, Rebecca) (Entered: 02/28/2024)
   02/28/2024           154 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17616324
                            by Daniel Flick, Claudette Sanes, Janis Zimmerman, Karen Schwartz, Ruta Taito, John
                            Jeffrey Ward, Regina Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle
                            Garza, Toni Heuchan, Erzen Krica, Michael Lee, Thomas Lewis, Allison Sammarco,

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                                  Case: 24-3296,
                                  Case: 24-3296, 12/20/2024,
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                                Claudette Sanes, Karen Schwartz, Randall Sygal, Ruta Taito, Hollie Verdi, John Jeffrey
                                Ward, Janis Zimmerman, Jonathan Brandman, Cece Davenport, Michelle Garza, Toni
                                Heuchan, Michael Lee, Dena Fichot, Thomas Lewis. (Attachments: # _l Declaration, # 2
                                Exhibit A: Certificate of Good Standing, # Q Proposed Order) Associated Cases: l:23-md-
                                03089-BMC et al. (French, Jenn) (Entered: 02/28/2024)
   02/28/2024           155 NOTICE of Appearance by Richard Fama on behalf of The Kroger Co., Harris Teeter,
                            LLC, Harris Teeter Supermarkets, Inc. (aty to be noticed) (Fama, Richard) (Entered:
                                02/28/2024)
   02/28/2024           156 MOTION to Appear Pro Hac Vice (also #led by The Kroger Co. ) Filing fee $ 200, receipt
                            number ANYEDC-17616685 by Harris Teeter Supermarkets, Inc., Harris Teeter, LLC.
                            (Attachments: # _1 Affidavit, # 2 Proposed Order) (Fama, Richard) (Entered: 02/28/2024)
   02/28/2024           157     NOTICE of Appearance by Michael Fitzgerald Healy en behalf of Publix Super Markets ,
                                Inc. (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC,
                                1:23-cv-09264-BMC, 1:23-cv-09272-BMC, 1:24-cv-00124-BMC (Healy, Michael)
                                (Entered: 02/28/2024)
   02/28/2024           158 RESPONSE to Motion re 135 Amended MOTION to Appoint Counsel filed by Regina
                            Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni Heuchan,
                            Erzen Krica, Michael Lee, Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen
                            Schwartz, Randall Sygal, Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman,
                            Jonathan Brandman. (Attachments: # l Declaration of Jennifer M. French) (Braden,
                                Scott) (Entered: 02/28/2024)
   02/29/2024           159 MOTION to Appear Pro Hac Vice Filing fee S 200, receipt number NYEDC-17617701
                            by Haley Hadden, Bonnie Van Noy. (Attachments: # _1 Declaration Declaration in Support
                            of Pro Hac Vice, # _2 Exhibit Certificate of Good Standing- Alabama, # Q Exhibit
                            Certificate of Good Standing- Georgia, # 4 Proposed Order) Associated Cases: l:23-md-
                                03089-BMC, 1:24-cv-0ll04-BMC (Hawthorne, Alison) (Entered: 02/29/2024)
   02/29/2024           160 Letter Letter to Judge Cogon and Amended Proposed Order on Pro Hoe Vice of Karl O.
                            Riley by Harris Teeter Supermarkets, Inc., Harris Teeter, LLC, The Kroger Co.
                            (Attachments: # _1 Proposed Order) (Fama, Richard) (Entered: 02/29/2024)
   02/29/2024           161 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17619250
                            by Haley Hadden, Bonnie Van Noy. (Attachments: # _1 Declaration Declaration in Support
                            of Pro Hac Vice, # 2 Exhibit Certificate of Good Standing- Alabama, # Q Proposed Order)
                            Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-BMC (Miles, Wilson) (Entered:
                                02/29/2024)
   02/29/2024           162 CASE MANAGEMENT ORDER, SCHEDULING ORDER. First, the Court hereby
                            adopts the parties' proposed Case Management Order No. 1 with minor revisions, which
                            is attached. Second, an initial status conference is set for 4/2/2024 at 6:00 pm EST. A
                            Zoon Gov link will be emailed to counsel of record. The parties are directed to review
                            Section V for instructions regarding who shall attend the initial status conference. The
                            parties are reminded that, if they wish to propose agenda items for the initial conference,
                            they must do so by 3/29/2024. Third, the parties are directed to review the revisions to the
                                pro hac vice application process in Section IV.

                                Finally, regarding the appointment of lead plaintiffs' counsel, the Consensus Plaintiffs are
                                ordered to meet and confer with the LC Plaintiffs. By 3/8/2024, the LC Plaintiffs are
                                ordered to either (l) notify the Court of their intent to join the Consensus Plaintiffs'
                                motion 135 , or (2) file their own motion to appoint lead plaintiffs' counsel. Ordered by
                                Judge Brian M. Cogan on 2/29/2024. (PW) (Entered: 02/29/2024)


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   02/29/2024                   Email Notification Test - DO NOT REPLY (AM) (Entered: 02/29/2024)
   03/01/2024           163 NOTICE of Appearance by Alison D Hawthorne on behalf of Haley Hadden, Bonnie Van
                            Noy (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC,
                            1:24-cv-0ll04-BMC (Hawthorne, Alison) (Entered: 03/01/2024)
   03/05/2024                   ORDER granting 154 156 159 161 Motions for Leave to Appear Pro Hac Vice. The
                                attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                                registered, the attorney shall file a notice of appearance to ensure electronic notification
                                of activity in this case. Also, the attorney shall ensure the $200 admission fee be
                                submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered by
                                Judge Brian M. Cogan on 3/5/2024. (PW) (Entered: 03/05/2024)
   03/05/2024           164 NOTICE of Appearance by Wilson D. Miles en behalf of Haley Hadden, Bonnie Van Noy
                            (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:24-
                            cv-01104-BMC (Miles, Wilson) (Entered: 03/05/2024)
   03/05/2024           165 NOTICE of Appearance by Jenn French on behalf of Daniel Flick, Claudette Sanes, Janis
                            Zimmerman, Karen Schwartz, Ruta Taito, John Jeffrey Ward, Jonathan Brandman, Regina
                            Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni Heuchan,
                            Erzen Krica, Michael Lee, Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen
                            Schwartz, Randall Sygal, Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman,
                            Jonathan Brandman, Cece Davenport, Michelle Garza, Toni Heuchan, Michael Lee, Dena
                            Fichot, Thomas Lewis (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al.
                            (French, Jenn) (Entered: 03/05/2024)
   03/06/2024           166 NOTICE of Appearance by Karl Riley on behalf of Harris Teeter Supermarkets, Inc.,
                            Harris Teeter, LLC, The Kroger Co. (aty to be noticed) (Riley, Karl) (Entered:
                            03/06/2024)
   03/08/2024           167 First MOTION to Appear Pre Hac Vice for Sophie A. Zavaglia Filing fee $ 200, receipt
                            number ANYEDC- 17647053 by Daniel Heaghney, Daryl Means. (Attachments: # _l
                            Exhibit, # _2 Affidavit, # Q Proposed Order, # 4 Certificate of Service) (Zavaglia, Sophie)
                            (Entered: 03/08/2024)
   03/08/2024           168 NOTICE by Jonathan Brandman, Regina Brookshier, Cece Davenport, Dena Fichot,
                            Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica, Michael Lee, Thomas Lewis,
                            Allison Sammarco, Claudette Sanes, Karen Schwartz, Ruta Taito, Hollie Verdi, John
                            Jeffrey Ward, Janis Zimmerman re Order,, 162 Scheduling Order,,,, LC Plaint's '
                            Response to Case Management Order No. I and Notice of lntent to Join Consensus
                            Plaint's' Motion for Appointment (Braden, Scott) (Entered: 03/08/2024)
   03/11/2024           169 REPLY in Support re 135 Amended MOTION to Appoint Counsel , 151 Response to
                            Motion,, filed by Plaintiffs. (London, Michael) (Entered: 03/11/2024)
   03/11/2024                   ORDER granting 167 Sophie A. Zavaglia Motion's for Leave to Appear Pro Hac Vice.
                                The attorney shall register for ECF, registration is available online at www.pacer.gov.
                                Once registered, the attorney shall file a notice of appearance to ensure electronic
                                notification of activity in this case. Also, the attorney shall ensure the $200 admission fee
                                be submitted to the Clerks Office via filing the event Pro Has Vice Filing Fee. Ordered
                                by Judge Brian M. Cogan on 3/11/2024. (PW) (Entered: 03/11/2024)
   03/11/2024                   ORDER deferring ruling on 135 Amended Motion to Appoint Counsel. Because the
                                deadline for the parties to file a motion to appoint counsel passed on 3/8/2024, the Court
                                will not consider any further motions. However, the Court defers ruling on 135 pending
                                discussion at the Initial Status Conference. Ordered by Judge Brian M. Cogan on
                                3/11/2024. (PW) (Entered: 03/11/2024)

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   03/14/2024            170 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17668153
                             by Cody Morgan. (Attachments: # _1 Affidavit of Michael A. Sachet with Exhibit 1)
                             Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09266-BMC (Sacchet, Michael)
                             (Entered: 03/14/2024)
   03/22/2024            171 NOTICE of Appearance by Scott Alan George on behalf of Erin Barton, Tatiana
                             Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                             Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (George,
                             Scott) (Entered: 03/22/2024)
   03/22/2024            172 NOTICE of Appearance by Christopher A. Seeger on behalf of Erin Barton, Tatiana
                             Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                             Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (Seeger,
                             Christopher) (Entered: 03/22/2024)
   03/22/2024            173 NOTICE of Appearance by David R. Buchanan on behalf of Erin Barton, Tatiana
                             Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                             Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (Buchanan,
                             David) (Entered: 03/22/2024)
   03/22/2024            174 NOTICE of Appearance by Diogenes P. Kekatos on behalf of Erin Barton, Tatiana
                             Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                             Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (Kekatos,
                             Diogenes) (Entered: 03/22/2024)
   03/25/2024            175 NOTICE of Appearance by Lindsey Scarcelle on behalf of Heather Fong, Michael
                             Walker, Krista Wright (aty to be noticed) (Scarcello, Lindsey) (Entered: 03/25/2024)
   03/26/2024            176 Consent MOTION to Substitute Attorney by Wal-Mart Inc., Wal-Mart Stores East 1, LP,
                             Walmart Inc,. (Goldstein, Dale) (Entered: 03/26/2024)
   03/26/2024            177 Consent MOTION to Substitute Attorney by Wal-Mart Inc., Wal-Mart Stores East 1, LP,
                             Walmart Inc,. (Lesko, Mark) (Entered: 03/26/2024)
   03/26/2024            178 Consent MOTION to Substitute Attorney by Wal-Mart Inc., Wal-Mart Stores East 1, LP,
                             Walmart Inc,. (Isidro, Nilda) (Entered: 03/26/2024)
   03/26/2024            179 JPMDL Conditional Transfer Order (CTO-7):Pursuant to Rule 7.1 of the Rules of
                             Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s) on
                             the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                             New York for the reasons stated in the order of December 6, 2023, and, with the consent
                             of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered: 03/28/2024)
   03/27/2024                    ORDER granting 176 177 178 Motions to Substitute Attorney. Attorneys Livia M. Kiser,
                                 Michael L. Resch, Ethan Price Davis and Rose J Jones terminated as attorneys for
                                 defendant Walmart Inc .

                                 Attorneys Dale Rose Goldstein, Mark J Lesko, Nilda M Isidro shall file their Notices of
                                 Appearance on behalf defendant Walmart Inc. to ensure they receive electronic
                                 notification of activity in this case. Ordered by Judge Brian M. Cogan on 3/27/2024.
                                 (PW) (Entered: 03/27/2024)
   03/27/2024                    ORDER granting 170 Michael A. Sacchet's Motion for Leave to Appear Pro Hac Vice.
                                 The attorney shall register for ECF, registration is available online at www.pacer.gov.
                                 Once registered, the attorney shall file a notice of appearance to ensure electronic
                                 notification of activity in this case. Also, the attorney shall ensure the $200 admission fee
                                 be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered
                                 by Judge Brian M. Cogan on 3/27/2024. (PW) (Entered: 03/27/2024)
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   03/28/2024           180 MOTION to Withdraw Reference , MOTION to Withdraw as Attorney Motion for Leave
                            to Withdraw Nia Barberousse Binns as Counsel by Joey Cohen, Viva Cohen. (Kanner,
                            Steven) (Entered: 03/28/2024)
   03/28/2024           181 NOTICE of Appearance by Dale Goldstein on behalf of Wal-Mart Inc., Wal-Mart Stores
                            East 1, LP, Walmart Inc, (notification declined or already en case) (Goldstein, Dale)
                            (Entered: 03/28/2024)
   03/28/2024           182 NOTICE of Appearance by Nilda Maria Isidro on behalf of Wal-Mart Inc., Wal-Mart
                            Stores East 1, LP, Walmart Inc, (notification declined or already on case) (Isidro, Nilda)
                            (Entered: 03/28/2024)
   03/28/2024           183 NOTICE of Appearance by Mark Lesko on behalf of Wal-Mart Inc., Wal-Mart Stores East
                            1, LP, Walmart Inc, (notification declined or already on case) (Lesko, Mark) (Entered:
                            03/28/2024)
   03/28/2024                   ORDER granting 180 Motion to Withdraw as Attorney. Attorney Nia-imara Atu
                                Barberousse Binns terminated. Ordered by Judge Brian M. Cogan on 3/28/2024. (PW)
                                (Entered: 03/28/2024)
   03/28/2024           184 STATUS REPORT Proposed Agenda by Plaintiffs (London, Michael) (Entered:
                            03/28/2024)
   03/28/2024           190 MOTION to Appear Pro Hac Vice Vice Filing fee $200, receipt number ANYEDC-
                            I77]5615 by Heather Fong. (Attachments: # _1 Affidavit, # 2 Exhibit Certificate of Good
                            Standing, # Q Exhibit Certificate of Good Standing) Associated Cases: 1:23-md-03089-
                            BMC et al. (TLH) (Entered: 04/04/2024)
   03/28/2024           191 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt numberANYEDC-I7715729
                            by Michael Walker. (Attachments: # _1 Affidavit, # ; Exhibit Certificate of Good Standing,
                            #3 Exhibit Certificate of Good Standing) (TLH) (Entered: 04/04/2024)
   03/28/2024           192 MOTION to Appear Pre Hac Vice Vice Filing fee $200, receipt number ANYEDC-
                            I77]5642 by Krista Wright. (Attachments: # _1 Affidavit, # 2 Exhibit Certificate of Good
                            Standing, # Q Exhibit Certificate of Good Standing) (TLH) (Entered: 04/04/2024)
   03/29/2024           185 STATUS REPORT Defendants' Proposed Additional Agenda Items by Albertsons
                            Companies, Inc., Amazon.com Services LLC, Amazon.com, Inc, Associated Wholesale
                            Grocers Inc, Bayer Healthcare L.L.C., CVS Pharmacy Inc., Costco Wholesale Corp.,
                            Dierbergs Markets, Inc., Haleon US Holdings LLC, Harris Teeter Supermarkets, Inc.,
                            Harris Teeter, LLC, Johnson & Johnson Consumer Inc., Publix Super Markets, Inc., RB
                            Health (US) LLC, Rite Aid Corporation, Target Corporation, The Kroger Co., The Procter
                            & Gamble Company, Valu Merchandisers Co., Wal-Mart Inc., Wal-Mart Stores East l,
                            LP, Walgreen Co (Soukup, Andrew) (Entered: 03/29/2024)
   04/01/2024           186 NOTICE of Appearance by Michael A. Sacchet en behalf of Cody Morgan (notification
                            declined or already on case) Associated Cases: 1:23-md-03089-BMC, l:23-cv-09266-
                            BMC (Sacchet, Michael) (Entered: 04/01/2024)
   04/01/2024           187     MOTION to Appear Pro Hac Vice Daniel R. Schwartz Filing fee $ 200, receipt number
                                ANYEDC- 17728548 by Erin Barton. (Attachments: # _1 Affidavit Affidavit in Support of
                                Motion to Adrnit Counsel Pro Hac Vice, # _2 Exhibit State of Illinois Certificate of Good
                                Standing, # Q Exhibit State of New York Certificate of Good Standing, # 4 Proposed
                                Order Proposed Order) (Schwartz, Daniel) (Entered: 04/01/2024)
   04/01/2024           188 MOTION to Appear Pro Hac Vice for Sara K. Thompson Filing fee $ 200, receipt number
                            ANYEDC-17729690 by Albertsons Companies, Inc., CVS Pharmacy Inc., Costco
                            Wholesale Corp., Rite Aid Corporation, Target Corporation, Wal-Mart Inc., Wal-Mart

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                                Stores East 1, LP, Walgreen Co. (Attachments: # _1 Affidavit, # Z Exhibit A - Certificates
                                of Good Standing, # Q Proposed Order, # 4 Certificate of Service) (Goldstein, Dale)
                                (Entered: 04/01/2024)
   04/02/2024                   ORDER granting 187 188 Motions for Leave to Appear Pro Hac Vice. The attorney shall
                                register for ECF, registration is available online at www.pacer.gov. Once registered, the
                                attorney shall file a notice of appearance to ensure electronic notification of activity in
                                this case. Also, each attorney shall ensure the $200 admission fee be submitted to the
                                Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered by Judge Brian M.
                                Cogan on 4/2/2024. (PW) (Entered: 04/02/2024)
   04/02/2024                   ORDER. Members of the public may join today's 6:00 pm conference in a listen-only
                                mode by calling 571-353-2301 and entering Meeting ID: 208955910#. Ordered by Judge
                                Brian M. Cogan on 4/2/2024. (PW) (Entered: 04/02/2024)
   04/03/2024                   Minute Entry and Order for Initial Status Conference held before Judge Brian M. Cogan
                                on 4/2/2024. Counsel for Interim Class Counsel and defendants appeared via Zoom. First,
                                plaintiffs' amended motion to appoint counsel 135 is granted. Second, plaintiffs must file
                                their bellwether complaint by 5/3/2024. Third, the parties shall exchange Rule 26(a)
                                initial disclosures by 5/17/2024. Finally, the Court will hold a status conference on
                                5/23/2024 at 10:00 am via Zoom. A Zoon Gov link will be emailed to counsel for
                                defendants, members of the Plaintiffs' Executive Committee, and members of the
                                Plaintiffs' Steering Committee. See transcript for details (Court Reporter: Rivka Teich) .
                                (PW) (Entered: 04/03/2024)
   04/04/2024           189 NOTICE of Appearance by Tyler Hudson on behalf of Heather Fong, Michael Walker,
                            Krista Wright (notification declined or already on case) (Hudson, Tyler) (Entered:
                            04/04/2024)
   04/04/2024                   ORDER granting 190 in case 1:23-md-03089, Tyler Hudson's Motion for Leave to
                                Appear Pre Hac Vice. The attorney shall register for ECF, registration is available online
                                at www.pacer.gov. Once registered, the attorney shall file a notice of appearance to ensure
                                electronic notification of activity in this case. Also, the attorney shall ensure the $200
                                admission fee be submitted to the Clerks Office via filing the event Pro Has Vice Filing
                                Fee. Ordered by Judge Brian M. Cogan on 4/4/2024. Associated Cases: l:23-md-03089-
                                BMC et al. (PW) (Entered: 04/04/2024)
   04/04/2024           193 NOTICE of Appearance by Daniel Schwartz on behalf of Erin Barton (notification
                            declined or already on case) (Schwartz, Daniel) (Entered: 04/04/2024)
   04/05/2024           194 NOTICE of Appearance by Laura Fla five Wu on behalf of The Procter & Gamble
                            Company (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, 2:23-cv-06870-
                            BMC (Fla five Wu, Laura) (Entered: 04/05/2024)
   04/11/2024           195 JPMDL Conditional Transfer Order (Schedule A): Pursuant to Rule 7.1 of the Rules of
                            Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s) on
                            the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                            New York for the reasons stated in the order of December 6, 2023, and, with the consent
                            of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered: 04/15/2024)
   04/16/2024           196 Letter MOTION to Amend/Correct/Supplementfor Entry of a Proposed Order Governing
                            Complaint and Dismissal Process by Plaintiffs. (Attachments: # _1 Proposed Order)
                            (London, Michael) (Entered: 04/16/2024)
   04/17/2024           197 ORDER granting re: 196 Governing Complaint and Dismissal Process. ( Ordered by
                            Judge Brian M. Cogan on 4/16/2024 ) (RG) (Entered: 04/17/2024)


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   04/18/2024           198 JPMDL Conditional Transfer Order (CTO-8):Pursuant to Rule 7.1 of the Rules of
                            Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s) on
                            the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                            New York for the reasons stated in the order of December 6, 2023, and, with the consent
                            of that court, assigned to the Honorable Brian M. Cowan. (AF) (Entered: 04/18/2024)
   04/26/2024           199 JPMDL Conditional Transfer Order (CTO-9):Pursuant to Rule 7.1 of the Rules of
                            Procedure of the United States Judicial Panel on Multidistrict Litigation, the action(s) on
                            the attached schedule are transferred under 28 U.S.C. § 1407 to the Eastern District of
                            New York for the reasons stated in the order of December 6, 2023, and, with the consent
                            of that court, assigned to the Honorable Brian M. Cogan. (AF) (Entered: 04/26/2024)
   05/02/2024                   Email Notification Test - DO NOT REPLY (EF) (Entered: 05/02/2024)
   05/03/2024           200 AMENDED COMPLAINT against All Defendants, Supplemental COMPLAINT
                               INTITIAL STREAMLINED CONSOLIDATED NEW YORK BELLWETHER CLASS
                               ACTION COMPLAINT, filed by Plaintiffs. (Attachments: # l Exhibit A, # _2 Exhibit A
                               (Contd.), # ; Exhibit A (Contd.), # 4 Exhibit A (Contd.), # Q Exhibit A (Contd.), # Q
                               Exhibit A (Contd.), # 1 Exhibit A (Contd.), # 8 Exhibit A (Contd.), # 2 Exhibit A (Contd.),
                               # M Exhibit A (Contd.), # n Exhibit A (Contd.), # L Exhibit A (Contd.), # Q Exhibit A
                               (Contd.), # L Exhibit A (Contd.), # L Exhibit A (Contd.), # M Exhibit A (Contd.), # L
                               Exhibit A (Contd.), # L Exhibit A (Contd.), # L Exhibit A (Contd.), #4 Exhibit A
                               (Contd.), # 4 Exhibit A (Contd.), # 4 Exhibit A (Contd.), #0 Exhibit A (Contd.), #4
                                Exhibit A (Contd.), # 8 Exhibit A (Contd.)) (London, Michael) (Entered: 05/03/2024)
   05/06/2024           201 Proposed Summons. Re 200 Amended Complaint,,,, Supplemental Complaint999 by
                            Plaintiffs (London, Michael) (Entered: 05/06/2024)
   05/06/2024                  ORDER granting 191 192 Tyler Hudson's Motions for Leave to Appear Pro Hac Vice as
                               counsel for plaintiffs Michael Walker and Krista Wright. Ordered by Judge Brian M.
                               Cogan on 5/6/2024. (PW) (Entered: 05/06/2024)
   05/10/2024           202 Summons Issued as to Perrigo Company PLC. (RG) (Entered: 05/10/2024)
   05/16/2024           203    Letter MOTION to Amend/Correct/Supplement 197 Order on Motion to
                               Amend/Correct/Supplement Order Governing Complaint and Dismissal Process by
                               Albertsons Companies, Inc., Amazon.com Services LLC, Amazon.com, Inc, Associated
                               Wholesale Grocers Inc, Bayer Healthcare L.L.C., CVS Pharmacy Inc., Costco Wholesale
                               Corp., Dierbergs Markets, Inc., Haleon US Holdings LLC, Harris Teeter Supermarkets,
                               Inc., Harris Teeter, LLC, Johnson & Johnson Consumer Inc., Publix Super Markets, Inc.,
                               RB Health (US) LLC, Rite Aid Corporation, Target Corporation, The Kroger Co., The
                               Procter & Gamble Company, Valu Merchandisers Co., Wal-Mart Stores East l, LP,
                               Walgreen Co, Walmart Inc,. (Attachments: # l Exhibit A (Proposed Order)) (Soukup,
                               Andrew) (Entered: 05/16/2024)
   05/16/2024           204 ORDER granting 203 Motion to Amend/Correct/Supplement, AMENDED ORDER
                               GOVERNING INITIAL STREAMLINED CONSOLIDATED CLASS ACTION
                               COMPLAINT AND DEFENDANTS' MOTION TO DISMISS IN RESPONSE. ( Ordered
                               by Judge Brian M. Cogan on 5/16/2024 ) (RG) (Entered: 05/16/2024)
   05/16/2024                  SCHEDULING ORDER: In lieu of the upcoming status conference, the Court directs the
                               parties to submit a joint discovery status report not to exceed 3 pages. The 5/23/2024
                               status conference is adjourned. Upon review of the parties' status report, the Court will set
                               a date for a further status conference. Ordered by Judge Brian M. Cogan on 5/16/2024.
                               (PW) (Entered: 05/16/2024)
   05/17/2024           205    CORRECTED CASE MANAGEMENT ORDER NO. 1. The Court amends its prior
                               order regarding motions for admission pro has vice. Ordered by Judge Brian M. Cogan
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                                on 5/17/2024. (pw) (Entered: 05/17/2024)
   05/17/2024           206 SUMMONS Returned Executed by Plaintiffs. Perrigo Company PLC served on
                                5/15/2024, answer due 6/5/2024. (London, Michael) (Entered: 05/17/2024)
   05/17/2024           207     NOTICE of Appearance by Sara K. Thompson on behalf of Albertsons Companies, Inc.,
                                CVS Pharmacy Inc., Costco Wholesale Corp., Rite Aid Corporation, Target Corporation,
                                Wal-Mart Inc., Wal-Mart Stores East l, LP, Walgreen Co (aty to be noticed) (Thompson,
                                Sara) (Entered: 05/17/2024)
   05/21/2024           208     NOTICE of Appearance by Melissa S. Weiner on behalf of Donald Krist, Paul Mateer,
                                William Mitchell, Rose Riccie, Mohamad Tlaib, Tina Tuominen (aty to be noticed)
                                (Weiner, Melissa) (Entered: 05/21/2024)
   05/23/2024           209 STATUS REPORT Joint Discovery Status Report by Plaintiffs (London, Michael)
                                (Entered: 05/23/2024)
   06/03/2024                   SCHEDULING ORDER re: 209 . The Court will hold a status conference to discuss the
                                issues raised in the parties' joint letter on June II, 2024 at 11:00 am. A Zoon Gov link will
                                be emailed to counsel for defendants, members of the Plaintiffs' Executive Committee,
                                and members of the Plaintiffs' Steering Committee. By June 17, 2024, the parties are
                                directed to submit the agreed-upon protective and ESI orders, or if the parties cannot
                                reach agreement, a joint submission that clearly indicates areas of agreement and
                                disagreement as to both orders and provides the parties' respective arguments for the
                                same. Ordered by Judge Brian M. Cogan on 6/3/2024. (PW) (Entered: 06/03/2024)
   06/03/2024           210     NOTICE of Voluntary Dismissal by Plaintiffs of Defendant Haleon US Capital LLC Only
                                without Prejudice in the Initial Streamlined Consolidated New York Bellwether Class
                                Action Complaint (London, Michael) (Entered: 06/03/2024)
   06/03/2024            211 NOTICE of Voluntary Dismissal by Plaintiffs of Defendants Reckitt Benckiser
                             Pharmaceuticals Inc., and Reckitt 8enckiser LLC Only without Prejudice in the Initial
                             Streamlined Consolidated New York Bellwether Class Action Complaint (London,
                             Michael) (Entered: 06/03/2024)
   06/03/2024           212 MOTION to Dismiss for Failure to State a Claim by Bayer Healthcare L.L.C., CVS
                                Pharmacy Inc., Haleon US Holdings LLC, Johnson & Johnson Consumer Inc., RB Health
                                (US) LLC, Target Corporation, The Procter & Gamble Company, Wal-Mart Inc.,
                                Walgreen Co. (Soukup, Andrew) (Entered: 06/03/2024)
   06/03/2024           213     MEMORANDUM in Support re 212 MOTION to Dismiss for Failure to State a Claim
                                filed by Bayer Healthcare L.L.C., CVS Pharmacy Inc., Haleon US Holdings LLC,
                                Johnson & Johnson Consumer Inc., RB Health (US) LLC, Target Corporation, The
                                Procter & Gamble Company, Wal-Mart Inc., Walgreen Co. (Soukup, Andrew) (Entered:
                                06/03/2024)
   06/06/2024           214     NOTICE of Appearance by Sara Castronuova on behalf of Plaintiffs (aty to be noticed)
                                (Castronuova, Sara) (Entered: 06/06/2024)
   06/06/2024           215     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 04/02/24,
                                before Judge COGAN. Court Reporter/Transcriber RIVKA TEICH, Telephone number
                                (718)613-2268. Email address: RIVKATEICH@GMAIL.COM. Transcript may be
                                viewed at the court public terminal or purchased through the Court Reporter/Transcriber
                                before the deadline for Release of Transcript Restriction. After that date it may be
                                obtained through PACER.File redaction request using event "Redaction Request -
                                Transcript" located under "Other Filings - Other Documents". Redaction Request due
                                6/27/2024. Redacted Transcript Deadline set for 7/8/2024. Release of Transcript
                                Restriction set for 9/4/2024. (Teich, Rivka) (Entered: 06/06/2024)

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   06/06/2024           216     NOTICE of Appearance by Debra Nicole Gunner on behalf of Cody Morgan (aty to be
                                noticed) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09266-BMC (Guntner, Debra)
                                (Entered: 06/06/2024)
   06/07/2024           217     NOTICE of Appearance by Jeffrey Scott Grand en behalf of Erin Barton, Tatiana
                                Benjamin, Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha
                                Freeman, Samuel Gallo, Robin Glauser, Anthony Rogers (aty to be noticed) (Grand,
                                Jeffrey) (Entered: 06/07/2024)
   06/07/2024           218     NOTICE of Appearance by Jennifer M. Hoekstra on behalf of Kaycie Coppock
                                (notification declined or already on case) (Hoekstra, Jennifer) (Entered: 06/07/2024)
   06/10/2024                   ORDER. Members of the public may join the conference scheduled for June 11, 2024 at
                                11:00 am in a listen-only mode by calling 571-353-2301 and entering Meeting ID:
                                208955910#. Ordered by Judge Brian M. Cogan on 6/10/2024. (PW) (Entered:
                                06/10/2024)
   06/10/2024           219     NOTICE of Appearance by Jeffrey A. N. Kopczynski on behalf of Johnson & Johnson
                                Consumer Inc. (aty to be noticed) (Kopczynski, Jeffrey) (Entered: 06/10/2024)
   06/11/2024           220 Minute Entry and Order for Status Conference held before Judge Brian M. Cogan on
                                6/11/2024. Counsel for the Interim Class and defendants appeared via Zoom. First, the
                                parties may begin to hold Rule 26(f) conferences. Second, the parties are permitted to
                                serve discovery requests on one another, but they are not obligated to produce discovery
                                until the Court rules on defendants' initial motion to dismiss. Third, the Court will post as
                                "Court's Exhibit l" the list of plaintiffs' attorneys identified by Interim Class Counsel
                                (attached to this Order). Finally, the Court sets a further conference on 8/20/2024 at 11:00
                                am. A Zoon Gov link will be emailed to counsel of record. See transcript for details
                                (Court Reporter: Victoria Torres-Butler). (PW) (Entered: 06/11/2024)
   06/11/2024           221 TRANSCRIPT REQUEST by Johnson & Johnson Consumer Companies, Inc, Johnson &
                            Johnson Consumer Inc. for proceedings held on 06/11/2024 before Judge Cogan.
                            (Hamilton, Emilie) (Entered: 06/11/2024)
   06/11/2024           222 MOTION to Appear Pro Hac Vice NOTICE OF MOTION TO ADMIT ERIC LOMBARDO
                            PRO HAC VICE Filing fee $ 200, receipt number ANYEDC-17967197 by Martha A.
                                Page, Rebecca Lynn Reyes. (Attachments: # _1 Affidavit of Eric Lombardo, # _2 Exhibit A
                                - Certificate of Good Standing, # Q Proposed Order) (Lombardo, Eric) (Entered:
                                06/11/2024)
   06/12/2024                   ORDER granting 222 Motion for Leave to Appear Pro Hac Vice. The attorney shall
                                register for ECF, registration is available online at www.pacer.gov. Once registered, the
                                attorney shall file a notice of appearance to ensure electronic notification of activity in
                                this case. Also, the attorney shall ensure the $200 admission fee be submitted to the
                                Clerks Office via filing the event Pro Has Wee Filing Fee. Ordered by Judge Brian M.
                                Cogan on 6/12/2024. (PW) (Entered: 06/12/2024)
   06/12/2024           223     NOTICE of Appearance by Eric Lombardo on behalf of Martha A. Page, Rebecca Lynn
                                Reyes (notification declined or already on case) (Lombardo, Eric) (Entered: 06/12/2024)
   06/14/2024           224 Letter MOTION for Extension of Time to File Proposed ESI Protocol and Protective
                                Order until August I, 2024 (Joint Motion) by Plaintiffs. (London, Michael) (Entered:
                                06/14/2024)
   06/17/2024                   ORDER granting 224 . The parties will file their agreed-to or competing ESI and
                                Protective Orders by August 1, 2024. Ordered by Judge Brian M. Cogan on 6/17/2024.
                                (PW) (Entered: 06/17/2024)

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   07/15/2024           225    MEMORANDUM in Opposition re 212 MOTION to Dismiss for Failure to State a Claim
                               filed by All Plaintiffs. (Selbin, Jonathan) (Entered: 07/15/2024)
   07/16/2024           226    NOTICE by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
                               Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack,
                               Mohammad Abdelkarim, Millard Adkins, Frank Anderson, Rosalyn Anderson, Steve
                               Audelo, John Jeffrey Bader, Donna Bailey, Layne Barter, Erin Barton, Tatiana Benjamin,
                               Archanatep Boonpam, John Boswell, Jonathan Brandman, Regina Brookshier, William
                               Bryan, Kimberly Buscaglia, Timothy Butler, James Carrigan, Francis W. Catanese,
                               Tamula Chamberlain, Richard Chavez, Steven Checchia, Bethany Childers, Emily Cohen,
                               Joey Cohen, Viva Cohen, Anthony Coleman, Scott Collier, Christine Contreras, Kaycie
                               Coppock, John Coyle, Robyn Cronin, Jaedon Daniels, Cece Davenport, Hannah De
                               Priest, Anthony DeRosa, Lauren Debeliso, Tatyana Deldityar, Kristin Depaola, Kathleen
                               Emmons, Greg Enriquez, Eli Erlick, Robert Fichera, Dena Fichot, Brian Lloyd Fireng,
                               Daniel Flick, Eduardo Flores, Michael Folks, Heather Fong, Natasha Freeman, Samuel
                               Gallo, Michelle Garza, Robin Glauser, Darrell Wayne Grimsley, Jr., Andrew Gutierrez,
                               Haley Hadden, Robert Haid, Tina Haluszka, Emily Hansen, Christine Harrison, Daniel
                               Heaghney, Jose Cortez Hernandez, Natasha Hernandez, Toni Heuchan, Jack Hinsberger,
                               Archi Hipkins, Jamieka Holmes, Robert Housman, James Hsieh, Carrie Diane Huff,
                               Andrew son, Nathan Jackson, Rosalie Jackson, Kimberly James, Abby Jergins, Bill
                               Jergins, Frizell Johnson, Janet Jones, Mari Jones, Pamela Joyner, Natalie Juneau, Michele
                               Kasparie, Lorette Kenney, Cathy Kleiman, Erzen Krica, Donald Krist, Dimitri Lamdon,
                               Kristin Lawrence, Michael Lee, Gwen Lewi, Thomas Lewis, Robert Lundin, Sharon
                               Manier, Paul Mateer, Christopher McPhee, Kamonica McWhite, Daryl Means, Sommer
                               Milous, William Mitchell, Cody Morgan, Rethea Morris, Lateef Murdock, Jordan Nelson,
                               Newton's Pharmacy, Inc., Rhonda Nitto, Shelby Noviskis, Bonnie Van Noy, Harold
                               Nyanjom, Chioma Ozuzu, Martha A. Page, Rachel Parker, Regina Peralta, Marcel Perez
                               Pirio, Plaintiffs, Elie El Rai, Krystal Rampalli, Stacy Rankin, Jacob Reinkraut, Rebecca
                               Lynn Reyes, Rose Riccio, Dominic Rio, Olivia Rodesta, Anthony Rogers, Sharon Rourk,
                               Recoa Russell, Allison Sammarco, Claudette Sanes, Marisol Scharon, Karen Schwartz,
                               Richard Scoffier, Joanne Silva, Joseph Samuel Sorge, Joshua Edward Sorge, Annette
                               Striegel, Randall Sygal, Stan Szrajer, Ruta Taito, Joy Taylor, Gwen Thomas, Shawn L.
                               Thomas, Jessica Thompson, Amanda Thorns, Achorea Tisdale, Mohamad Tlaib, Tiffany
                               Travis, Tina Tuominen, Hector Valdes, Jay Valinsky, Ruben Varela, Sierra Vent, Hollie
                               Verdi, Justin Vorise, Michael Walker, John Jeffrey Ward, Christine Ann Waters, Amy
                               Weinberg, Nancy Welharticky, Mychael Willon, Andrea Wilson, Charles Geoffrey Woods,
                               Krista Wright, Sandra Yousefzadeh, Janis Zimmerman, Archi Hipkins, Abby Jergins,
                               Richard Chavez re (ll7 in l:23-md-03089-BMC) Notice of Appearance Withdrawal of
                               Appearance Associated Cases: 1:23-md-03089-BMC et al. (Min, YuQing) (Entered:
                               07/16/2024)
   07/19/2024           227 SUMMONS Returned Executed by Plaintiffs. Haleon PLC served on 7/3/2024, answer
                               due 7/24/2024. (London, Michael) (Entered: 07/19/2024)
   07/19/2024           228 SUMMONS Returned Executed by Plaintiffs. Perrigo Company PLC served on
                               6/20/2024, answer due 7/11/2024. (London, Michael) (Entered: 07/19/2024)
   08/01/2024           229    Letter MOTION for Extension of Time to File proposed ESI Order (Joint Motion) by
                               Plaintiffs. (London, Michael) (Entered: 08/01/2024)
   08/01/2024           230    Letter enclosing proposed Protective Order by Plaintiffs (Attachments: # l Proposed
                               Order) (London, Michael) (Entered: 08/01/2024)
   08/02/2024           231 CASE MANAGEMENT ORDER NO. 2: Qualified Protective Order and Agreed
                            Confidentiality Order. ( Ordered by Judge Brian M. Cegan on 8/1/2024 ) (RG) (Entered:
                            08/02/2024)
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   08/02/2024                   ORDER granting 229 . The parties shall file their agreed-to or competing ESI Order by
                                August 15, 2024. Ordered by Judge Brian M. Cogan on 8/2/2024. (PW) (Entered:
                                08/02/2024)
   08/05/2024           232 REPLY in Support re 212 MOTION to Dismiss for Failure to State a Claim filed by
                                Bayer Healthcare L.L.C., CVS Pharmacy Inc., Haleon US Holdings LLC, Johnson &
                                Johnson Consumer Inc., RB Health (US) LLC, Target Corporation, The Procter &
                                Gamble Company, Wal-Mart Inc., Walgreen Co. (Soukup, Andrew) (Entered: 08/05/2024)
   08/06/2024           233 SUMMONS Returned Executed by Sharon Rourk. (Furia, Philip) (Entered: 08/06/2024)

   08/06/2024           234 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC-18150136
                                by Sandra Yousefzadeh. (Attachments: # _1 Affidavit in Support of Motion to Admit
                                Counsel Pro Hac Vice, # 2 Appendix Certificate of Good Standing (NY), #3 Appendix
                                Certificate of Good Standing (TN), # 4 Appendix Certificate of Good Standing (WI))
                                (Kaufman, Andrew) (Entered: 08/06/2024)
   08/07/2024                   ORDER granting 234 Andrew Kaufman's Motion for Leave to Appear Pro Hac Vice. The
                                attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                                registered, the attorney shall file a notice of appearance to ensure electronic notification
                                of activity in this case. Also, the attorney shall ensure the $200 admission fee be
                                submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered by
                                Judge Brian M. Cogan on 8/7/2024. (PW) (Entered: 08/07/2024)
   08/07/2024           235     Letter to Judge Cogan to remove Kirkland & Ellis LLP and its attorneys Jay R Lefkowitz,
                                Jacob Rae, and Robyn E. Bladow as counsel for Defendant Haleon plc. by Haleon US
                                Holdings LLC (Bladow, Robyn) (Entered: 08/07/2024)
   08/07/2024                   ORDER re: 235 . Attorneys Jacob Rae, Robyn E. Bladew and Jay P. Lefkewitz
                                terminated as counsel fer Haleon PLC. Ordered by Judge Brian M. Cegan on 8/7/2024.
                                (PW) (Entered: 08/07/2024)
   08/14/2024                   ORDER. Members of the public may join the conference scheduled fer August 20, 2024
                                at 11:00 am in a listen-only mede by calling 571-353-2301 and entering Meeting ID:
                                208955910#. Ordered by Judge Brian M. Cogan on 8/14/2024. (PW) (Entered:
                                08/14/2024)
   08/15/2024           236     Letter enclosing proposed ESI Protocol Order by Plaintiffs (Attachments: # _1 Proposed
                                Order) (London, Michael) (Entered: 08/15/2024)
   08/15/2024           237 STATUS REPORT /Joint Proposed Agenda by Plaintiffs (London, Michael) (Entered:
                                08/15/2024)
   08/19/2024           238     CASE MANAGEMENT ORDER no. 3

                                ORDER REGARDING PROTOCOL FOR PRODUCTION OF HARD COPY
                                DOCUMENTS AND ELECTRONICALLY STORED INFORMATION. ( Ordered by
                                Judge Brian M. Cowan on 8/19/2024 ) (RG) (Entered: 08/19/2024)
   08/20/2024           239     Minute Entry and Order for Status Conference held before Judge Brian M. Cogan on
                                8/20/2024. Counsel fer the Interim Class and defendants appeared via Zoom. First, the
                                Court scheduled Oral Argument on Defendants' Motion to Dismiss Plaintiffs' Bellwether
                                Complaint 212 , to be followed by a status conference, for 9/23/2024 at l 2pm. A
                                Zoon Gov link will be emailed to counsel of record. Second, the Court will post as
                                "Court's Exhibit 2" the list of plaintiffs' attorneys identified by Interim Class Counsel
                                (attached to this Order). See transcript for details. (Court Reporter: Andronikh Barna.)
                                (PW) (Entered: 08/20/2024)

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   08/20/2024            240 TRANSCRIPT REQUEST by Johnson & Johnson Consumer Inc. for proceedings held on
                                 August 20, 2024 before Judge Brian M. Cogan. (Hamilton, Emilie) (Entered: 08/20/2024)
   08/20/2024                    ORDER re: 240 . Transcript requests should not be filed on the docket. They will not be
                                 acted on. Ordered by Judge Brian M. Cogan on 8/20/2024. (PW) (Entered: 08/20/2024)
   08/26/2024            241 NOTICE of Appearance by Andrew Kaufman on behalf of Sandra Yousefzadeh
                             (notification declined or already on case) (Kaufman, Andrew) (Entered: 08/26/2024)
   09/10/2024            242 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC-18264653
                                 by Sandra Yousefzadeh. (Attachments: # _1 Affidavit in Support of Motion to Admit
                                 Counsel Pro Hac Vice, # 2 Appendix Certificate of Good Standing (CA)) (Lewis, Faith)
                                 (Entered: 09/10/2024)
   09/11/2024                    ORDER granting 242 Motion for Leave to Appear Pro Hac Vice. The attorney shall
                                 register for ECF, registration is available online at www.pacer.gov. Once registered, the
                                 attorney shall file a notice of appearance to ensure electronic notification of activity in
                                 this case. Also, the attorney shall ensure the $200 admission fee be submitted to the
                                 Clerks Office via filing the event Pro Has Wee Filing Fee. Ordered by Judge Brian M.
                                 Cogan on 9/11/2024. (PW) (Entered: 09/11/2024)
   09/12/2024            243     NOTICE of Appearance by Faith E. A. Lewis on behalf of Sandra Yousefzadeh
                                 (notification declined or already on case) (Lewis, Faith) (Entered: 09/12/2024)
   09/17/2024                    ORDER. Members of the public may join the hearing scheduled for September 23, 2024
                                 at 12 noon in a listen-only mode by calling 571-353-2301 and entering Meeting ID:
                                 208955910#. Ordered by Judge Brian M. Cogan on 9/17/2024. (PW) (Entered:
                                 09/17/2024)
   09/23/2024            244 MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC-18310682
                                 by Albertsons Companies, Inc., CVS Pharmacy Inc., Costco Wholesale Corp., Rite Aid
                                 Corporation, Target Corporation, Wal-Mart Stores East l, LP, Walgreen Co, Walmart Inc,.
                                 (Attachments: # l Exhibit A, # _2 Declaration of Austin A. Evans in Support of Motion for
                                 Admission Pro Hac Vice, # Q Certificate of Service, # 4 Proposed Order for Admission
                                 Pro Hac Vice of Austin A. Evans) (Evans, Austin) (Entered: 09/23/2024)
   09/24/2024                    ORDER granting 244 Austin A. Evans' Motion for Leave to Appear Pro Hac Vice. The
                                 attorney shall register for ECF, registration is available online at www.pacer.gov. Once
                                 registered, the attorney shall file a notice of appearance to ensure electronic notification
                                 of activity in this case. Also, the attorney shall ensure the $200 admission fee be
                                 submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee. Ordered by
                                 Judge Brian M. Cogan on 9/24/2024. (PW) (Entered: 09/24/2024)
   09/26/2024                    Minute Entry and Order for Oral Argument on Defendants' Motion to Dismiss based on
                                 Preemption 212 and Status Conference held before Judge Brian M. Cogan on 9/24/2024.
                                 Counsel for the Interim Class and defendants appeared via Zoom. The Court heard
                                 argument on the motion and reserved decision. The Court deferred setting a further
                                 schedule until it issues decision on the pending motion. See transcript for details (Court
                                 Reporter: Victoria Torres-Butler). (PW) (Entered: 09/26/2024)
   09/27/2024            245     NOTICE by Rite Aid Corporation of Notice of Permanent Injunction and Discharge
                                 (Attachments: # l Exhibit A - Confirmation Order and Plan, # _2 Exhibit B - 2024-09-03
                                 Notice Doc# 4800) (Goldstein, Dale) (Entered: 09/27/2024)
   09/30/2024            246     NOTICE of Appearance by Austin Evans on behalf of Albertsons Companies, Inc., CVS
                                 Pharmacy Inc., Costco Wholesale Corp., Rite Aid Corporation, Target Corporation, Wal-
                                 Mart Stores East l, LP, Walgreen Co, Walmart Inc, (notification declined or already on
                                 case) (Evans, Austin) (Entered: 09/30/2024)
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   10/02/2024           247      Letter to Judge Cogon by Sandra Yeusefzadeh (Selbin, Jonathan) (Entered: 10/02/2024)
   10/03/2024                   ORDER STRIKING 247 . This is an ill-advised submission. The Court did not request
                                this commentary, and since it was present at the argument, it heard what everyone said. In
                                addition, counsel is advised that in the future, any letter filed in this action must include
                                in the ECF entry line a brief description of the subject matter of the letter, e.g., "Letter
                                regarding Plaintiffs' RICO claims" not simply "Letter", so that the docket remains
                                intelligible. Do not refile. Ordered by Judge Brian M. Cogan on 10/3/2024. (PW)
                                (Entered: 10/03/2024)
   10/07/2024                   ORDER re: 245 . Rite Aid Corporation has filed a "notice" requesting that this Court
                                "administratively terminate" these cases as to it and certain unnamed affiliates and
                                subsidiaries based on proceedings in the New Jersey Bankruptcy Court. The Court is
                                unsure what Rite Aid means by "administratively terminate", and the Court does not rule
                                on claims based on "notices," Rite Aid has been sued and there are pending claims against
                                it before this Court. If its position is that those claims have been discharged by the New
                                Jersey Bankruptcy Court, as it appears to be, it needs to file a stipulation or motion to
                                dismiss those claims without prejudice to their treatment under the Bankruptcy Court's
                                Orders. Dismissal, not "administrative termination," is the appropriate disposition of
                                claims that have been discharged in bankruptcy. Ordered by Judge Brian M. Cogan on
                                10/7/2024. (PW) (Entered: 10/07/2024)
   10/08/2024           248 Corporate Disclosure Statement by Bayer Healthcare L.L.C. identifying Other Affiliate
                                Bayer Essure Inc., Other Affiliate Bayer Consumer Care Holdings LLC, Other Affiliate
                                Bayer West Coast Corporation, Other Affiliate NippoNex Inc., Other Affiliate Bayer
                                Medical Care Inc., Other Affiliate Bayer Healthcare US Funding LLC for Bayer
                                Healthcare L.L.C.. (Campbell, Christopher) (Entered: 10/08/2024)
   10/29/2024           249 MEMORANDUM DECISION AND ORDER dated 10/29/24 re: that defendants' motion
                                to dismiss the streamlined complaint is GRANTED. ( Ordered by Judge Brian M. Cogan
                                on 10/29/2024 ) (RG) (Entered: 10/29/2024)
   10/29/2024                   SCHEDULING ORDER: An in-person Status Conference will be held on 11/21/2024 at
                                1:00 PM in Courtroom loA South. Ordered by Judge Brian M. Cogan on 10/29/2024.
                                (PW) (Entered: 10/29/2024)
   11/06/2024                   ORDER. The Court gives the parties the option to appear either in-person in Courtroom
                                10A South, by audio, or by video at the Status Conference scheduled for 11/21/2024 at
                                1:00 pm. A Zoon Gov link will be emailed to all counsel of record. By 11/20/2024, the
                                parties will email a list of speakers to Tasha_townsend@nyed.uscourts.gov. Ordered by
                                Judge Brian M. Cowan on 11/6/2024. (PW) (Entered: 11/06/2024)
   11/06/2024           250 Letter MOTION for Leave to File Document/ Letter Motion to Judge Cogon Regarding
                                Entry of ./udgment by Haleon US Holdings LLC. (Attachments: # _1 Proposed Judgment)
                                (Lefkowitz, Jay) (Entered: 11/06/2024)
   11/08/2024           251 Letter (Joint) Regarding Recent FDA Announcement by Plaintiffs (London, Michael)
                            (Entered: 11/08/2024)
   11/12/2024                   ORDER granting 250 . The Court has considered plaintiffs' subsequent request that the
                                Court hold entry of final judgment "in abeyance" pending further interparty and intraparty
                                discussions and has considered defendants' opposition to delaying entry of judgment. The
                                Court is going to enter judgment now. The Court does not see how, even if the FDA
                                amends the monograph at some unknown point in the future (which it well may not do), it
                                would have any impact on this Court's decision. At all times relevant to the consolidated
                                cases, the FDA's monograph for nasal decongestants remained the same. If the FDA
                                amends the monograph in the future, and defendants' labels at that point have to be
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                                changed but are not, perhaps individuals who then buy defendants' products containing
                                phenylephrine will experience harm that creates the basis of a new claim against
                                defendants. But, as the Court explained in its opinion, defendants' labels conform to the
                                current federal regulations, and those regulations preempt plaintiffs' state law claims. The
                                fact that the FDA might change the monograph in the future would not change this
                                analysis. The Court therefore will enter the parties proposed judgment. The status
                                conference scheduled for 11/21/2024 is canceled. So Ordered by Judge Brian M. Cogan
                                on 11/12/2024. (TLH) (Entered: 11/12/2024)
   11/12/2024           252 JUDGMENT, All claims in the complaints transferred into the above-captioned master
                                docket are dismissed with prejudice. The Clerk is instructed to enter JUDGMENT
                                dismissing all claims in any complaint in this multidistrict litigation. This is a final,
                                appealable judgment that resolves all of the claims in all of the cases in this multidistrict
                                litigation. The in-person Status Conference currently scheduled for 1:00 p.m. ET on
                                November 21, 2024, is hereby adjourned. So Ordered by Judge Brian M. Cogan on
                                11/12/2024. Associated Cases: 1:23-md-03089-BMC et al. (TLH) (Entered: ll/l2/2024)
   11/15/2024           253     MOTION to Alter Judgment pursuant to Federal Rule of Civil Procedure 60(b), for
                                Partial Relief from the Order Entering Judgment entered by this Court on November 12,
                                2024, and for Remand ofits individual lawsuit to the Federal District Court for the
                                Southern District of Ohio by Newton's Pharmacy, Inc.. (Attachments: # _1 Memorandum
                                in Support, # 2 Exhibit A - Complaint, # Q Exhibit B - Conditional Transfer Order)
                                (Beridon, Alyson) (Entered: 11/15/2024)
   11/18/2024           254 MOTION to Withdraw as Attorney by Johnson & Johnson Consumer Inc.. (Hamilton,
                                Emilie) (Entered: 11/18/2024)
   11/18/2024                   ORDER granting 254 Motion to Withdraw as Attorney. Attorney Emilie W. Harnilton
                                terminated. Ordered by Judge Brian M. Cogan on 11/18/2024. (PW) (Entered:
                                11/18/2024)
   11/27/2024           255 MEMORANDUM in Opposition re 253 MOTION to Alter Judgment pursuant to Federal
                            Rule of Civil Procedure 60(b), for Partial Relief from the Order Entering Judgment
                            entered by this Court on November 12, 2024, and for Remand of its individual lawsuit to
                            the Federal District Court for t]9led by The Procter & Gamble Company, Haleon US
                            Holdings LLC, Johnson & Johnson Consumer Inc., RB Health (US) LLC. (Soukup,
                            Andrew) (Entered: ll/27/2024)
   12/04/2024           256 REPLY in Support re 253 MOTION to Alter Judgment pursuant to Federal Rule of Civil
                            Procedure 60(b), for Partial Relief from the Order Entering Judgment entered by this
                            Court on November 12, 2024, and for Remand of its individual lawsuit to the Federal
                            District Court for tailed by Newton's Pharmacy, Inc.. (Attachments: # L Exhibit I - April
                            2, 2024, Hearing Transcript) (Beridon, Alyson) (Entered: 12/04/2024)
   12/09/2024           257     NOTICE OF APPEAL as to 252 Judgment99 249 Order on Motion to Dismiss for Failure
                                to State a Claim by Plaintiffs. Filing fee $ 605, receipt number ANYEDC-18563090
                                Appeal Record due by 12/23/2024. (Selbin, Jonathan) (Entered: 12/09/2024)
   12/09/2024                   Electronic Index to Record on Appeal sent to US Court of Appeals. 257 Notice of Appeal
                                Documents are available via Pacer. For docket entries without a hyperlink or for
                                documents under seal, contact the court and we'll arrange for the document(s) to be made
                                available to you. (VJ) (Entered: 12/09/2024)
   12/11/2024           258     NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 8/20/2024,
                                for hearing type Status Conference, before Judge Brian M. Cogan. Court
                                Reporter/Transcriber Andronikh Barna, Telephone number 718-613-2178. Email address:
                                ambarna.crr@ gmail.com. Transcript may be viewed at the court public terminal or
                                purchased through the Court Reporter/Transcriber before the deadline for Release of
https://ecf.nyed.uscourts.gov/cgi-bin/DktRpt.pl?967724885477506-L_1 _1 -1                                                      138/139
                                  Case: 24-3296,
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                                Transcript Restriction. After that date it may be obtained through PACER.File redaction
                                request using event "Redaction Request - Transcript" located under "Other Filings - Other
                                Documents". Redaction Request due 1/2/2025. Redacted Transcript Deadline set for
                                1/13/2025. Release of Transcript Restriction set for 3/11/2025. (Barna, Andronikh)
                                (Entered: 12/11/2024)
   12/16/2024           259 MEMORANDUM DECISION AND ORDER dated 12/13/24 denying 253 Motion to
                                Alter Judgment re: Plaintiff Newton's Pharmacy, Inc., ("NPI") has moved for
                                reconsideration of the Court's dismissal of its Lanham Act claim. Reasoning that the
                                Court's order dismissing the initial streamlined complaint does not apply to federal false-
                                advertising claims, NPI seeks a remand of its claim to the Southern District of Ohio. The
                                Motion is Denied. ( Ordered by Judge Brian M. Cogan on 12/13/2024 ) (RG) (Entered:
                                12/16/2024)



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                                     Billable Pages: H30                | Cost:             | 3.00                    |




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RELEVANT OPINIONS AND ORDERS
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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


 In re: Oral Phenylephrine Marketing and
 Sales Practices Litigation                             Case No. 1:23-md-03089-BMC

 This document relates to:                              Hon. Brian M. Cowan

 All actions.


                                ORDER ENTERING JUDGMENT

       WHEREAS, on May 3, 2024, Interim Class Counsel filed "an Initial Streamlined

Consolidated Complaint under New York law alleging representative examples of the conduct and

claims they allege to be at issue in this Multidistrict Litigation relating, among other things, to the

marketing and labeling of oral phenylephrine products." ECF No. l9T at l.

       WHEREAS, the parties agreed and the Court ordered "that to the extent the Court grants or

denies Defendants' motion to dismiss based on preemption ardor primary jurisdiction ardor any

initial RICO argument(s) raised, the order will apply to all cases in this multidistrict litigation or

otherwise subject to transfer into this multidistrict litigation." ECF No. 204 at 2.

       WHEREAS, Plaintiffs also "represent[ed] that they have filed sufficient representative

examples of the conduct and claims that they allege to be wrongful that a motion to dismiss based on

preemption and»*or primary jurisdiction ardor initial RICO arguments will, if such arguments prevail,

resolve this litigation in its entirety, regardless of additional specific examples of wrongful conduct,

additional products named, additional Plaintiff-related allegations, or additional state-law claims that

are pled or could be pled in a future Full Master Consolidated Complaint." ECF No. 204 at 3.

       WHEREAS, on June 3, 2024, Defendants moved to dismiss Plaintiffs' Initial Streamlined

Consolidated Class Action Complaint based on arguments that (i) Plaintiffs' state claims are


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preempted by the Federal Food, Drug, and Cosmetic Act ("FDCA"), (ii) Plaintiffs lack standing to

assert the RICO claim, and (iii) Plaintiffs' RICO claim is precluded by the FDCA. ECF No. 212,

        WHEREAS, on July 15, 2024, Plaintiffs filed their Opposition to Defendants' Motion to

Dismiss. ECF No. 225.

        WHEREAS, on August 5, 2024, Defendants filed their Reply Memorandum in support of their

Motion to Dismiss. ECF No. 232.

        WHEREAS, on September 23, 2024, the Court held oral argument on Defendants' Motion to

Dismiss. 9/'26/'24 Minute Entry.

        WHEREAS, on October 29, 2024, the Court issued a Memorandum Decision and Order,

granting Defendants' Motion to Dismiss the Streamlined Complaint, ECF No. 249.



        THEREFORE, it is hereby ORDERED, ADJUDGED, AND DECREED as follows:

        l.       All claims in the complaints transferred into the above-captioned master docket are

dismissed with prejudice.


        2.       The Clerk is instructed to enter JUDGMENT dismissing all claims in any complaint in

this multidistrict litigation,


        3.       This is a final, appealable judgment that resolves all of the claims in all of the cases in

this multidistrict litigation. 1


        4.       The in-person Status Conference currently scheduled for 1:00 p.m. ET on November

21, 2024, is hereby adjourned.



I
    The Court has not decided, and Defendants have expressly preserved, any issues related lo "any Defendants'
    persons! jurisdiction defense." ECF No. 204 at 3.

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                                             SO (]R[)E RE D.


       Brooklyn, NY
Dated: November 12, 2024                           3'4824 744 6004
                                             THE HONORABLE BRIAN M. COGAN
                                             UNITED STATES DISTRICT JUDGE




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                          X


   IN RE: ORAL PHENYLEPHRINE MARKETING
   AND SALES PRACTICES LITIGATION
                                                              23-md-3089-BMC

   THIS DOCUMENT APPLIES TO :                                 MEMORANDUM DECISION AND
                                                              ORDER
   ALL CASES

                                                          X

  COGAN, District Judge.

         Before the Court is defendants' motion to dismiss plaintiffs' Initial Streamlined

  Consolidated New York Bellwether Class Action complaint. Plaintiffs bring nearly one hundred

  cases, consolidated in this multidistrict litigation, against defendant retailers and manufacturers

  of over the counter ("OTC") cough and cold medicines containing the drug phenylephrine

  ("PE"). Plaintiffs, purchasers of these medicines, allege that defendants knew that PE was

  ineffective as a nasal and sinus decongestant but produced, marketed, and sold products

  containing PE to consumers anyway.

         The parties agreed that plaintiffs would file this streamlined complaint, and defendants

  would move to dismiss it, to test claims and defenses common across the consolidated cases. As

  its title suggests, the complaint brings various claims under New York state law, as well as a

  civil Racketeer Influenced and Corrupt Organizations Act ("RICO") claim. Defendants contend

  that the state claims are preempted by the Federal Food, Drug, and Cosmetic Act (the "FDCA"),

  that plaintiffs lack standing to assert the RICO claim, and that the RICO claim is precluded by

  the FDCA. For the reasons set forth below, defendants' motion is granted.
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                         SUMMARY OF STREAMLINED COMPLAINT

          The Food and Drug Administration (the "FDA") has approved PE as a "safe and

   effective" nasal decongestant since 1985. In 2007, three individuals petitioned the FDA to

   increase the allowed maximum dose of PE because a meta-analysis of existing studies indicated

   that, at the current dosage level, PE was likely no better than a placebo. The FDA's

   Nonprescription Drug Advisory Committee ("NDAC") reviewed the petition but, finding further

   study was needed, did not recommend that the FDA declassify PE as "safe and effective" or

   change any regulations governing the labeling and dosage of PE products.

          Around this time, plaintiffs allege, a group of manufacturers - Bayer Healthcare LLC,

   Haleon PLC, Haleon U.S. Holdings L.L.C., Perrigo Company, Proctor & Gamble Co., RB

   Health LLC, Kenvue, Inc., and Johnson & Johnson (the "RICO defendants") - began to associate

   with one another, including through the Phenylephrine Task Group of the Consumer Healthcare

   Products Association, to defend the effectiveness of PE. Plaintiffs allege that the task group

   provided deliberately misleading submissions to the NDAC on multiple occasions and

   disseminated similarly misleading information to the public in the form of press releases, studies,

   and surveys.

          Based on studies conducted after 2007, plaintiffs assert that "by 2016, there was ne doubt

   that oral phenylephrine is ne better than placebo at relieving congestion," and defendants knew

   it. Indeed, in 2023, the NDAC found that scientific data did not support the use of PE as a

   decongestant. Despite these developments, with one exception, defendants have continued to

   manufacture, market, and sell PE products without change. Defendant Johnson & Johnson added

   a message on its website next to pictures of all its PE products stating that the NDAC had




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   reviewed the efficacy of PE and linking the FDA's statement. Yet Johnson & Johnson, like the

   other defendants, continues to market and sell PE products .

            Plaintiffs allege that they relied on defendants' representations regarding the products '

   efficacy and would have paid significantly less, Cr would not have purchased the products at all,

   had they been aware of PE's ineffectiveness. Plaintiffs also seek to represent several different

   classes made up of individuals who, between 2016 and the present, purchased an oral nasal

   decongestant containing PE manufactured by defendants .

                                              DISCUSSION

      1.       Standard of Review

            "To survive a motion to dismiss, a complaint must contain sufficient factual matter,

   accepted as true, to 'state a claim to relief that is plausible on its face."' Ashcroft v. Iqbal, 556

   U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). A

   plaintiff must allege "factual content that allows the court to draw the reasonable inference that

   the defendant is liable fer the misconduct alleged."       (cleaned up) .

      II.      State Law Claims

            The streamlined complaint asserts state claims under New York's consumer-protection

   and false-advertising statutes, the New York commercial code, and New York common law .

   Because the claims are all expressly preempted, I need not reach defendants' implied- and

   obstacle-preemption arguments.

               A.     Legal Framework

                        i. Preemption

            The Supremacy Clause dictates that "the Laws of the United States ... shall be the

   supreme Law of the Land ... any Thing in the Constitution or Laws of any state to the Contrary




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   notwithstanding." U.S. Const. Art. VI, cl. 2. As a corollary, when "state and federal law directly

   conflict," federal law preempts state law. PLIVA, Inc. v. Mensing, 564 U.S. 604, 617 (2011).

   The Supreme Court has recognized various types of preemption, but "all of them work in the

   same way: Congress enacts a law that imposes restrictions or confers rights on private actors, a

   state law confers rights or imposes restrictions that conflict with the federal law, and therefore

   the federal law takes precedence and the state law is preempted." N.J. Thoroughbred

   Horsemen's Ass'n V. Nat'l Collegiate Athletic Ass'n, 584 U.S. 453, 477 (2018).

          Whether a federal law preempts a state law is a question of Congressional intent. If

   Congress is silent, courts presume that Congress did not intend to displace state law, and litigants

   can rebut that presumption in only limited circumstances. Wyeth V. Levine, 555 U.S. 555, 575

   (575). FOI instance, a litigant can demonstrate "impossibility" preemption by showing that it is

   impossible to comply with both state and federal law. See PLIVA, 564 U.S. at 617. Sometimes,

   though, Congress explicitly states its intention fer certain federal law to preempt state law. In

   these cases of "express preemption," there is no presumption against preemption because

   Congress has spoken clearly. Puerto Rico v. Franklin Cal. Tax-Free Tr., 579 U.S. 115, 125

   (2016). An express preemption clause often preempts state law that extends beyond federal law

   in any respect, meaning that federal law acts as a floor and a ceiling fer state requirements. See

   Riegel v. Medtronic, 552 U.S. 312, 316 (2008).

          The FDCA selectively employs this form of express preemption. Generally, state law

   may supplement the FDCA so long as there is no direct conflict between the state and federal

   regulations. But, in certain areas, Congress sought to create a "uniform - and federally-led -

   regulatory scheme." Critcher V. L'Orea1 USA, Inc., 959 F.3d 31, 38 (Zd Cir. 2020). To do se, it

   inserted various preemption clauses throughout the statute. See, e.g., Riegel, 552 U.S. at 316.




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         OTC drug labeling is one such area. The applicable preemption clause, aptly titled

  "National uniformity for nonprescription drugs," provides that "no State or political subdivision

  of a State may establish or continue in effect any requirement ... that is different from or in

  addition to, or that is otherwise net identical with, a requirement under" the FDCA's OTC drug

  provisions. 21 U.S.C. § 379r. The parties do not dispute the import of § 379r: that outside of

  some enumerated exceptions, a state OTC drug labeling requirement is preempted if it expands

  upon or dilutes federal law - or, in short, that state law must parallel federal law. Plaintiffs also

  do net argue that their claims fall within § 379r's "savings clause," which exempts from the

  express preemption "any action or the liability of any person under the product liability law of

  any State." 4 § 379r(e). Whether the state claims are preempted therefore turns on whether

  they would enforce a requirement different the federal OTC drug labeling requirements .

                     ii. Federal OTC Drug Regulations

         Congress enacted the FDCA in the early twentieth century to address "c0ncem[s] about

  unsafe drugs and fraudulent marketing." Wyeth v. Levine, 555 U.S. 555, 556 (2009). The

  FDCA empowers the FDA to carry out this task, requiring that "[n]0 drug can enter interstate

  commerce 'unless [the] FDA determines that it is generally recognized as safe and effective

  for the particular use described in its product labeling." In re Acetaminophen - ASD-ADHD

  Prod. Liab. Litig., No. 22-md-3042, 2022 WL 17348351, at *3 (S.D.N.Y. Nov. 14, 2022)

  (quoting Nat. Res. Def. Council, Inc. v. FDA, 710 F.3d 71, 75 (Zd Cir. 2013)).

         The FDA uses two systems to determine whether OTC drugs are safe and effective: the

  New Drug Application ("NDA") system, and the monograph system. The NDA system operates

  precisely how it sounds. A drug manufacturer submits an NDA to the FDA, the FDA reviews




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  the application, and if the FDA is satisfied that the new drug is safe and effective for the uses on

  the label, it approves the drug.

           The monograph system provides a more streamlined route. For certain OTC drugs, the

  FDA issues a regulation - a monograph - detailing "the FDA-approved active ingredients ...

  and ... the conditions under which each active ingredient is" safe and effective. Nat. Res. Def.

  Council, 710 F.3d at 75. A manufacturer can sell an OTC drug without individualized FDA

  review when the drug and its label conform to the monograph. An OTC drug distributed under a

  monograph "is generally recognized as safe and effective and is net misbranded if it meets each

  of the conditions contained" in the general regulation applicable to all OTC drug monographs, 21

  C.F.R. § 3301, "and each of the conditions contained in any applicable monograph.        as
                                                                                                4 Each
  monograph regulates four types of information - the statement of identity, which describes "the

  general pharmacological category(ies) of the drug or the principal intended action(s) of the

  drug,"     § 201.61(b), indications for use, which explain the effects of the drug, warnings, and

  directions - and provides sample language fer each.

             B.      Mislabeling Claims

           To determine whether plaintiffs' claims are preempted, must first determine the scope

  of the state duties plaintiffs seek to enforce. See Mut. Pharm. Co. V. Bartlett, 570 U.S. 472, 480

  (2013). I begin with the claims plaintiffs admit are predicated entirely on defendants' labels

  before addressing what remains.

           The complaint contains broad allegations that defendants misled consumers by labellings

  their PE products as nasal decongestants despite knowing that PE was no more than a placebo,

  but plaintiffs' brief drastically cabins their labeling claims. Plaintiffs target only the

  "indications" section of the labels, which state that PE was an effective nasal decongestant.




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   They argue that defendants should have updated their indications to "truthfully describe] PE

   products' efficacy," although they never clarify whether that means simply removing the

   indications, or updating the indications to state that PE is an ineffective decongestant.

   Regardless, this circumscribed duty has no coordinate in federal law.

            Both the PE monograph and the general monograph regulation give manufacturers some

   flexibility in describing the indications of a PE product. The PE monograph allows

   manufacturers to use a "phrase listed in paragraph (b)(1) of this section," - either "Fer the

   temporary relief of nasal congestion" or "Temporarily relieves nasal congestion." - "as

   appropriate.aa] 4 § 34l.80(b). But it also allows manufacturers to use alternative language

   instead:

            Other truthful and nonmisleading statements, describing only the indications for
            use that have been established and listed in paragraphs (b)(]) and (b)(2) of this
            section, may also be used, as provided in § 330.l(c)(2) of this chapter, subject to
            the provisions of section 502 of the Federal Food, Drug, and Cosmetic Act (the
            act) relating to misbranding and the prohibition in section 30l(d) of the act
            against the introduction or delivery for introduction into interstate commerce of
            unapproved new drugs in violation of section 505(a) of the act.

   4 § 34l.80(b) (emphasis added). The general monograph regulation is structured similarly. In

   addition to requiring that "[t]he product is labeled in compliance with chapter V" of the FDCA,

       § 330.1(c)(1), it provides that

            [t]he "Uses" section of the label and labeling of the product shall contain the
            labeling describing the "Indications" that have been established in an applicable
            OTC drug monograph or alternative truthful and nonmisleading statements
            describing only those indications for use that have been established in an
            applicable monograph, subject to the provisions of section 502 of the act relating
            to misbranding ....

   4 § 330.1(c)(2) (emphasis added).



   1 Manufacturers may add additional phrases listed in subsection (b)(2), such as "for the temporary relief of nasal
   stuffiness." 434l.80(b)(2).

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         The text's plain meaning is clear that manufacturers must include "indications" on their

  labels, and they may do so in one of two ways: either by using the monograph language or using

  truthful and non-misleading statements describing the monograph language. Nothing in the PE

  monograph or the general monograph suggests that manufacturers have a freestanding duty to

  update their indications in response to new scientific information. Indeed, it's unclear if

  manufacturers could do so here without misbranding the product: if they updated the "Uses"

  section to indicate that PE is net an effective nasal decongestant, they would be using

  "alternative language describing" exactly the opposite of "those indications for use that have
                                                            59
  been established in the applicable OTC drug monograph.

          If the text was not enough, this interpretation is confirmed by the 1986 Final Rule adding

  the relevant sections of the general monograph regulation. Before the Rule, the FDA followed

  an "exclusivity policy" for OTC drug labeling, under which "any OTC drug product containing

  labeling with claims or representations other than those established in the monograph, or using

  differing terminology, would have been a new drug and/or misbranded." Labeling of Drug

  Products for Over-the-Counter Human Use, 51 Fed. Reg. 16258-01, 16258. The 1986

  amendments discarded this practice in favor of the current "flexibility policy. 4 The new
                                                                                 59




  policy, the Rule stated, "allow[s] manufacturers the opportunity to change label information

  without complying with unnecessary FDA procedures, ... provide[s] for regional differences in

  the way people refer to the same condition, e.g., acid stomach versus upset stomach, and ...
                                59
  provide[s] greater flexibility.    4
         The Rule does not suggest that the new language imposes some obligation on

  manufacturers to update efficacy claims on OTC drug labels, instead, the FDA merely touted the

  efficiency gained by allowing manufacturers to tweak the monograph language. And the Rule




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                                                                                                          59
   even sheds light on the phrase "subject to section 502 of the act relating to misbranding.

   Throughout the notice-and-cemment precess, many interested parties criticized the flexibility

   policy as "a license for manufacturers of OTC drug products to use words that are misleading

   and confusing."     4 at 16259. The FDA seemingly included the "subject to ..." proviso to allay
   these fears, not to impose on manufacturers a duty to update their drugs' indications .

           As they must, plaintiffs oppose this reading of the text. They first point out that,

   crediting their allegations, PE is no more effective than a placebo. Thus, to the extent that

   defendants used alternative language describing the monograph indications, they violated the

   monograph because that language was not "truthful and nonmisleading." 21 C.F.R. 330. 1(c)(2) .

   Plaintiffs even claim that labels using the monograph language itself were misbranded because

   the FDCA's misbranding provision prohibits labels that are "false or misleading in any

   particular," 21 U.S.C. § 352(a), and the general monograph regulation requires that a label

   comply with chapter V of the FDCA, which includes § 352. See 21 C.F.R. § 330.1(c)(1).

           This interpretation is strained. Most obviously, whether a drug is "effective" is a term of

   art under the FDCA, and the statute empowers the FDA, not manufacturers, to make that

   determination. See Nat. Res. Def. Council, 710 F.3d at 75. SO, even taking plaintiffs'

   allegations as true, nothing on the labels was false or misleading - unless and until the FDA

   amends the monograph in response to the NDAC' s findings, it is not misleading to state that PE

   is an effective nasal decongestant.2 Plaintiffs also do not explain why federal law would require

   defendants to update only the indications section. Indeed, such a result would be nonsensical.

   As plaintiffs recognize, the FDA regulations straightforwardly require a manufacturer to use the

   "statement of identity" listed in the monograph, meaning a manufacturer must label a PE product


   2 The same applies to the statements on some labels that the products were "maximum strength" or suited for
   "severe" symptoms. Those statements are only false arld misleading if PE is ineffective.


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as a "nasal decongestant." 21 C.F.R. § 34l.80(a) ("The labeling of the product ... identifies the

product as a 'nasal decongestant."'), see also 4 § 330.1 ("[T]he statement of identity of the

product shall be the term or phrase used in the applicable OTC drug monograph established in

 this part." (emphasis added)). Under plaintiffs' reading of the regulations, PE manufacturers

 would still be allowed to sell products labelled as "nasal decongestants," so long as the products'

labels do not state that the products are effective .

        Further still, the Second Circuit already rejected a near-identical argument in Critcher V

L'Orea1 USA Inc., 959 F.3d 31 (Zd Cir. 2020). The court there dismissed state claims alleging

that a manufacturer mislabeled one of its liquid cosmetics products by failing to disclose that

censurers could not dispense all the liquid. The plaintiffs admitted that an express preemption

clause applied and that the cosmetic's label complied with the FDA's specific labelling

requirements, but they argued that the manufacturer violated § 352(a) because the net weight on

 the label was misleading. The Second Circuit rejected the preposition that § 352 was a vehicle

 through which states could impose additional labeling requirements on products regulated by the

 FDCA. It recognized that because "[t]he [FDA] regulations have ... stated, with specificity,

what information is necessary to avoid misleading consumers," a cosmetic in compliance with

 the FDA labeling regulations cannot be misbranded.

        Critcher rests on a straightforward application of administrative law. The FDCA

generally commands that a drug's label cannot be false OI' misleading and, in tum, vests authority

in the FDA to determine whether a label is false or misleading. And, so long as there is an

applicable preemption clause, that authority is exclusive. Here, by promulgating the monograph

regulation, the FDA determined that it is neither false nor misleading to represent that PE is an

effective decongestant. Cf. Becker v. E.T. Browne Drug Co., No. 20-cv-03166, 2021 WL




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4340489, at *7 (S.D.N.Y. Sept. 23, 2021) (finding no preemption where the drugs were not

deemed effective by the FDA).

        Yet plaintiffs attempt to do exactly what Critcher prohibited. They attempt to circumvent

 the Second Circuit's holding by arguing that, unlike the labeling regulations in Critcher, the PE

monograph expressly incorporates the rule they seek to enforce. But, as explained above, their

argument is completely divorced from the text of the regulations, which does not reference any

duty to revise indications based on newly discovered scientific information. And for good

reason. The FDCA empowers the FDA, not drug manufacturers, to determine whether a drug is

effective. 3

        Of course, the FDCA imposes some duties on drug manufacturers that depend on newly

acquired scientific information. For instance, the misbranding statute requires a manufacturer to

"pull even an FDA-appreved drug" from the market when the drug "is 'dangerous to health'

even if 'used in the dosage or manner, or with the frequency or duration prescribed,

recommended, or suggested in the labeling thereof."' Bartlett, 570 U.S. at 477 n.4 (quoting 21

U.S.C. § 352(j)). There is no similar provision in § 352 for ineffective drugs.

        Similarly, the savings clause in § 379r(e) imposes limited state labeling obligations on

manufacturers. For this reason, the cases cited by plaintiff that allow state law challenges to

OTC drug labels are inapposite. See, e.g., Wyeth v. Levine, 555 U.S. 555 (2009), In re

Acetaminophen, 2022 WL 17348351. In both cases, the plaintiffs alleged that the label

misrepresented whether a drug was safe for use and asserted state tort claims against the

manufacturers. Because § 379r(e) exempts product liability law from the preemption clause, the



3 This same rationale applies to drugs approved under an NDA, like Haleon's PE product. The FDA determined that
the drug was not misbranded, and there is no apparent federal duty to update labels. Indeed, plaintiffs even admit
that Haleon "can," not must, update its products' indications through the Changes Being Effected regulation. See 21
C.F.R. § 3l4.70(c)(6)(iii)(D).


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plaintiffs' claims were preempted only if compliance with both state and federal law was

impossible. Wyeth, 555 U.S. at 563, In re Acetaminophen, 2022 WL 1734835, at *6-7. And it

was not - the FDCA contains many provisions allowing manufacturers to "strengthen" the

warnings on their label. See, e.g., 21 C.F.R. §§ 3 l4.70(c)(6)(iii)(A), (C) (applicable to the OTC

drugs approved under an NDA in Wyeth) and § 201.63 (applicable to the OTC drugs approved

under a monograph in In re Acetaminophen).4 This distinction between safety- and efficacy-

focused state law was an intentional legislative choice. By excepting state product-liability law

from express preemption in § 379r(e), Congress allowed states to layer additional state

protections atop federal ones, but only when those protections relate to safety, whether a drug is

effective remains within the exclusive purview of the FDA. This division reflects a balance

between twin aims of the FDCA: safety and uniformity.

         Plaintiffs' final alternative argument fails for this same reason. Plaintiffs argue that, even

if defendants' drugs were otherwise properly labeled, the FDCA imposes "an independent

obligation to update their labels to reflect new scientific information." In support, they cite

passages from three Supreme Court cases - Wyeth, Albrecht, and Bartlett. See Merck Sharp &

Dohme Corp. v. Albrecht, 587 U.S. 299, 303 (2019), Bartlett, 570 U.S. at 487, Wyeth, 555 U.S.

at 571. In those cases, the Court dealt with safety challenges, not efficacy challenges, and

therefore was determining whether a manufacturer could update their labels to reflect new

scientific information under federal law, not whether they had to update their labels. Indeed,



4 Nor do I find merit in plaintiffs' appeal to In re Zantac (Ranitidine) Prod. Liab. Litig., 546 F. Supp. 3d 1284 (S.D.
Fla. 2021). To plaintiffs' credit, the court in In re Zantac, unlike in Wyeth and In re Acetaminophen, held that
certain misbranding claims were parallel to federal law not preempted by § 379r.          at 1305. But the claims there
were focused on the warnings of an OTC drug, not the indications, and therefore do not run into the same structural
and textual problems as plaintiffs' claims. See        Further, the ruling was preliminary - the court held that
defendants could later demonstrate preemption after argument on "state-specific matters." 4 at 1309. Perhaps
most importantly, though, the court did not have to grapple with circuit precedent like Critcher, if it did, I do not see
how it could have reached the same conclusion.


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plaintiffs reveal their hand by cobbling together quotations from Wyeth to argue that a

manufacturer must update its label to reflect new scientific information so the drug's labellings

"remain[s] adequate as long as the drug is on the market." Wyeth, 555 U.S. at 571. Wyeth in

fact says that the FDCA charges manufacturers "both with crafting an adequate label and

ensuring that its warnings remain adequate as long as the drug is on the market."        (emphasis

added). The full passage reaffirms the key flaw with plaintiffs' claims: because the state claims

focus on efficacy, not safety, they run headlong into § 379r.

           c.      Remaining Claims

        Plaintiffs attempt to save their false-advertising, false-concealment, and express-warranty

claims claims from § 379r by arguing that they do not implicate federal labeling requaements .

Like with the mislabeling claims, must first determine the scope of the state duties plaintiffs

seek to enforce. See Bartlett, 570 U.S. at 480. Because each duty would have required

defendants to update the labels of their PE products or step selling the products altogether, the

claims are preempted.

        Crediting plaintiffs' allegations, defendants could not have advertised their products

truthfully without updating the labels to disclaim PE's effectiveness. See Smith v.

GlaxoSmithKline Consumer Healthcare Holdings (US) LLC, 660 F. Supp. 3d 863, 873-74 (N.D.

Cal. 2023), Kuiper v. American Cyanamid Co., 131 F.3d 656, 662 (7th Cir. 1997). The same is

 true for the false-concealment and express-warranty claims. Although plaintiffs point to

omissions outside of the label which they claim constitute false concealments and statements

outside of the label which they claim constitute express warranties, defendants would have had

 to update their label to avoid liability under either theory. And, despite plaintiffs' arguments to

 the contrary, New York considers purely economic express-warranty claims to arise out of




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contract law, not product-liability law. See Goldstein V. Walmart, Inc., 637 F. Supp. 3d 95, 113

n.7 (S.D.N.Y. 2022), Restatement (Third) of Torts: Prod. Liab. § 21 (1998). Accordingly,

plaintiffs' state claims are preempted in their entirety.

    III.      RICO Claim

           In addition to their state law claims, plaintiffs allege that the RICO defendants violated

RICO by engaging in numerous acts of mail and wire fraud in furtherance of a scheme to defraud

 the public and mislead the FDA into believing that PE is an effective decongestant. Defendants

move to dismiss plaintiffs' civil RICO claim for lack of statutory standing and preclusion by the

 FDCA.

           "Courts have described civil RICO as an unusually potent weapon - the litigation

equivalent of a thermonuclear device." Moss v. BMO Harris Bank, N.A., 258 F. Supp. 3d 289,

297 (E.D.N.Y. 2017) (internal quotation marks and quotation omitted). The "mere assertion of a

RICO claim has an almost inevitable stigmatizing effect on those named as defendants," yet

"plaintiffs wielding RICO almost always miss the mark."            (cleaned up). Plaintiffs here are no

exception. As indirect purchasers of the PE products, they lack standing to bring a RICO claim.5

           The Supreme Court, in interpreting federal antitrust law, has applied a "direct purchaser"

rule: a standing doctrine that bars downstream indirect purchasers from bringing an antitrust

claim. See Ill. Brick Co. v. Illinois, 431 U.S. 720 (1977). "[I]ndirect purchasers who are two or

more steps removed from the antitrust violator in a distribution chain may net sue. By contrast,

direct purchasers - that is, those who are 'the immediate buyers from the alleged antitrust

 violators' - may sue." Apple Inc. v. Pepper, 587 U.S. 273, 280 (2019) (quoting Kansas v.

UtiliCorp United Inc., 497 U.S. 199, 207 (1990)). Plaintiffs do not dispute that they are indirect



5 Because plaintiffs lack standing, I need not reach preclusion.


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purchasers, the question for this Court is whether the direct-purchaser rule applies to civil RICO

claims .

           Although the Supreme Court and Second Circuit have not directly addressed the issue,

 the Supreme Court has explained that Congress, in enacting the RICO statute with the same

language used in antitrust legislation, "intended [the words in the RICO statute] to have the same

meaning that courts had already given them" in the antitrust context. Holmes v. Sec. Inv. Pret.

Corp., 503 U.S. 258, 268 (1992). Thus, the same standing requirements established in antitrust

cases apply to RICO cases. See            , McCarthy v. Recordex Serv., Inc., 80 F.3d 842, 855 (3d Cir.

1996) ("[A]ntitrust standing principles apply equally to allegations of RICO violations." (citing

Holmes, 503 U.S. at 270)). This is no less true for the direct-purchaser requirement. The direct-

purchaser requirement applies in the civil RICO context and bars plaintiffs' RICO claim.6

           The Supreme Court's analysis in Sedima, S.P.R.L. v. lurex Co., 473 U.S. 479 (1985),

does not change the application of the direct-purchaser requirement in the context of civil RICO

claims. Sedima did not apply the "antitrust injury" rule to a civil RICO case, but that was

"because 'RICO injury' would be an unintelligible requirement, not because there is no parallel

between the two statutes." Carter, 777 F.2d at 1176 (citing Sedima, 473 U.S. at 489 & n.8).

Where an antitrust standing requirement is easily intelligible in the civil RICO context, such as




6 "Every circuit to have considered the issue has held that the [direct purchaser] rule also applies to civil RICO
actions, and that indirect purchasers therefore do not have standing to assert RICO claims." Humana, Inc. v.
Biogen, Inc., 666 F. Supp. 3d 135, 141 (D. Mass. 2023), reconsideration denied, No. 21-cv-11578, 2023 WL
8374584 (D. Mass. Dec. 4, 2023). The Sixth, Third, and Seventh Circuit Courts of Appeals have all applied the
direct-purchaser rule to civil RICO claims. See Trollinger v. Tyson Foods, Inc., 370 F.3d 602, 616 (6th Cir. 2004)
("[I]ndirect purchasers lack standing under RICO and the antitrust laws to sue for overcharges passed on to them by
middlemen." (citations omitted)), McCarthy, 80 F.3d at 855 (3d Cir. 1996) ("The precepts taught by Illinois Brick
and Utilicorp apply to RICO claims, thereby denying RICO standing to indirect victims." (citations omitted)), Carter
V. Berger, 777 F.2d 1173 (7th Cir. 1985) ("The Hanover Shoe-Illinois Brick [direct purchaser] rule promotes
enforcement and therefore applies to RICO, too.").


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 with the bright-line rule at issue here, the identical language of the statutes dictates that courts

apply the same requirement in both contexts .

        The proximate-cause requirement fer a plaintiff to proceed with a civil RICO claim,

recognized by the Supreme Court and the Second Circuit, does not conflict with the direct-

purchaser requirement. These requirements "address two analytically distinct aspects" of

standing. McCarthy, 80 F.3d at 851 n.14.7 Proximate-cause analysis concerns whether a

plaintiffs injury is too far removed from the defendant's violation of the statute at issue to

warrant a remedy.           By contrast, the direct-purchaser rule concerns whether a plaintiff, having

satisfied the proximate-cause requirement, "falls within the group of private attorneys general

that Congress created to enforce" the statute.             (internal quotation marks and quotation

omitted). Many cases only address the proximate-cause requirement, and not the direct-

purchaser requirement, because there is no purchasing relationship at issue between the parties.

See, e.g., Bridge v. Phoenix Bond & Indent. Co., 553 U.S. 639 (2008) (competitors sued

petitioner for violating the rules of an auction, no buyer- seller relationship), Empire Merchs.,

 LLC v. Reliable Churchill LLLP, 902 F.3d 132 (2d Cir. 2018) (alcohol distributor sued other

distributors for conspiring with retail liquor stores to smuggle liquor from Maryland to New

York, no buyer-seller relationship). Other cases do not address the direct-purchaser requirement

because the plaintiff is clearly a direct purchaser, vitiating the need for such analysis. See, e.g.,

 Horn v. Med. Marijuana, Inc., 80 F. 4th 130, 133 (Zd Cir. 2023) (plaintiff purchased a product

 undisputably "produced, marketed, and sold by [defendants]"), cert. granted, 144 S. Ct. 1454



7 Alternatively, some courts have explained that proximate cause analysis is completely separate from the question
of standing. See, e.g., Trollinger, 370 F.3d at 612 (6th Cir. 2004) ("Like the antitrust laws, RICO's civil-suit
provision imposes two distinct but overlapping limitations on claimants - standing and proximate cause....
Proximate cause poses a merits question involving common-law and prudential limitations on the consequences for
which the law will hold a defendant accountable, regardless of the plaintiffs standing to sue." (citation omitted)).
The role of proximate cause in relation to the question of standing does not affect the analysis here.


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(2024). Plaintiffs' argument that the direct-purchaser requirement would usurp the proximate

cause standard is not supported by the caselaw. Applying the direct-purchaser rule to plaintiffs '

civil RICO claim, I dismiss plaintiffs' claim for lack of standing.

                                         CONCLUSION

       For the foregoing reasons, defendants' motion to dismiss the streamlined complaint is

GRANTED .



 S0 ORDERED.

                                                                U.s.D.J.

Dated: Brooklyn, New York
       October 29, 2024




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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


  In re: Oral Phenylephrine Marketing and
  Sales Practices Litigation                             Case No. 1:23-md-03089-BMC

  This document relates to:                               Hon. Brian M. Cogan

  All actions .


      [(pR)9pl9(s@ED(»1 ORDER GOVERNING PLAINTIFFS' INITIAL STREAMLINED
    CONSOLIDATED COMPLAINT AND DEFENDANTS' MOTION TO DISMISS IN
                                             RESPONSE

         1.       By May 3, 2024, Interim Class Counsel will file an Initial Streamlined Consolidated

 Complaint under New York law alleging representative examples of the conduct and claims they

 allege to be at issue in this Multidistrict Litigation relating, among ether things, to the marketing

 and labeling of oral phenylephrine products .

         2.       By June 3, 2024, all named and served Defendants will file a single joint motion to

 dismiss raising arguments solely on preemption and/or primary jurisdiction. Plaintiffs' response

 will be due July 15, 2024, and Defendants' reply will be due August 5, 2024. For purposes of this

 motion only, the parties are excused from complying with the Court's requirement to request a pre-

 motion conference.

         3.       Regardless of when Plaintiffs file their Full Master Consolidated Complaint,

 Defendants shall not be obligated to answer or otherwise respond to the Full Master Consolidated

 Complaint until 45 days after the Court rules on Defendants' motion to dismiss the Initial

 Streamlined Consolidated Complaint. For the avoidance of doubt, Defendants shall not be

 obligated to raise any arguments fer dismissal of either the Initial Streamlined Complaint or a Full

 Master Consolidated Complaint with respect to any issues other than preemption and/or primary


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 jurisdiction until their deadline to answer or otherwise respond to the Full Master Consolidated

 Complaint, a deadline that shall be set by the Court.

         4.     The Parties agree that to the extent the Court grants or denies Defendants' motion

 to dismiss based on preemption and/or primary jurisdiction, the order will apply to all cases in this

 Multidistrict Litigation or otherwise subject to transfer into this Multidistrict Litigation.

 Parties' Reservation of Rights

        5.      Plaintiffs. In filing the Initial Streamlined Complaint, Plaintiffs will not be

 prejudiced by failure to (1) allege every single instance of the conduct they allege to be wrongful

 relating to the marketing and labeling of oral phenylephrine cold medicines, (2) identify all

 products at issue, (3) file on behalf of every named plaintiff in this litigation, or (4) refer to the

 laws of any state other than New York. Plaintiffs hereby commit to filing sufficient representative

 examples of the conduct and claims that they allege to be wrongful that a motion to dismiss based

 on preemption and/or primary jurisdiction will, if such arguments prevail, resolve this litigation in

 its entirety, regardless of additional specific examples of wrongful conduct, additional products

 named, additional Plaintiff-related allegations, or additional state-law claims that are pled or could

 be pled in a future Full Master Consolidated Complaint.

        6.      Defendants. In moving to dismiss the Initial Streamlined Complaint based only

 on preemption and/or primary jurisdiction, Defendants will not be prejudiced by failure to raise

 additional arguments for dismissal under Federal Rule of Procedure 12 unrelated to preemption

 and/or primary jurisdiction if, in the event the Court denies the motion to dismiss based on

 preemption and/or primary jurisdiction, a subsequent Full Master Consolidated Complaint is filed.

 Plaintiffs agree that, in the event the Court denies the motion to dismiss based on preemption

 and/or primary jurisdiction, Defendants shall be permitted to move to dismiss any subsequent Full


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 Master Consolidated Complaint based on any ground under Federal Rule of Civil Procedure l2(b)

 other than those issues that shall have already been briefed and addressed by the Court in ruling

 on the motion to dismiss the Initial Streamlined Complaint. Nothing about this stipulation, or the

 filing of any motion to dismiss the Initial Streamlined Complaint, waives any Defendants' personal

 jurisdiction defense.



                                                     SO ORDERED.

           Brooklyn, NY
           April 16, 2024
 Dated:
                                                     THE HONORABLE BRIAN M. COGAN
                                                     UNITED STATES DISTRICT JUDGE




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                              FORM c, ADDENDUM B

Issue 1:

            Whether the district court erred by finding Plaintiffs' state-law

consumer protection, false advertising, warranty, and unjust enrichment

claims "different from or in addition to" federal law and SO preempted by the

FDA's approval of phenylephrine as a "safe and effective" nasal

decongestant, notwithstanding federal law that pharmaceutical labels not be

"false or misleading

Standard of review: de novo

Issue 2:

            Whether the district court erred by grafting onto RICO a policy rule

barring suits by indirect purchasers, when the text of the statute allows

lawsuits by "[a]ny person injured in his business or property" and the

Supreme Court has explained courts should not impose limitations in civil

RICO not present in the statutory text.

Standard of review: de novo




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